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              ORAL ARGUMENT SCHEDULED JANUARY 27, 2023

                                 No. 20-1335


                  UNITED STATES COURT OF APPEALS
                FOR THE DISTRICT OF COLUMBIA CIRCUIT


               NATURAL RESOURCES DEFENSE COUNCIL,
                            Petitioner,

                                       v.

          U.S. ENVIRONMENTAL PROTECTION AGENCY, et al.,
                          Respondents.


   Petition for Review of Action of the U.S. Environmental Protection Agency


                     EPA’S FINAL RESPONSE BRIEF


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    CERTIFICATE AS TO PARTIES, RULINGS, AND RELATED CASES

      A.    Parties and Amici

      All parties, intervenors, and amici appearing are listed in the Brief for

Petitioner NRDC.

      B.    Rulings Under Review

      References to the rulings at issue appear in the Brief for Petitioner NRDC.

      C.    Related Cases

      The undersigned is not aware of any related cases within the meaning of

Circuit Rule 28(a)(1)(C).

                                           /s/ Sarah A. Buckley
                                           SARAH A. BUCKLEY

                                           Counsel for Respondents




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                                GLOSSARY

 EPA             Environmental Protection Agency

 IQ              Intelligence Quotient

 NRDC            Natural Resources Defense Council

 SDWA            Safe Drinking Water Act

 UCMR            Unregulated Contaminant Monitoring Rule




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                                  INTRODUCTION

       This case concerns EPA’s authority to reevaluate a regulatory determination

 in light of new facts. In 2011, EPA determined that perchlorate, a contaminant

 linked to neurodevelopmental health effects, occurred in drinking water with

 sufficient frequency and at levels of public health concern to warrant regulation

 under the Safe Drinking Water Act (“SDWA”). After developing a new, “state-of-

 the-science” model for measuring perchlorate’s effects in the most sensitive

 subpopulation, however, EPA determined that perchlorate does not present a

 public health concern until individuals are exposed at higher concentrations than

 the Agency had previously thought. Considering that level and updated data about

 perchlorate’s occurrence in drinking water, EPA concluded in 2020 that

 perchlorate did not in fact meet the SDWA’s criteria for regulation and withdrew

 its 2011 determination to regulate.

       That withdrawal was within EPA’s well-established authority to change

 course when a new look at the best available science supports a different approach.

 In the Final Action on Perchlorate, EPA provided a reasoned explanation for

 reversing its prior regulatory determination in light of an updated analysis of the

 best available science. That analysis, undertaken at the direction of the Science

 Advisory Board and supported by two independent peer review panels, rationally

 addressed complex, highly technical scientific and methodological issues. The



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 resulting regulatory conclusion was reasonable and supported by the record. EPA

 also reasonably accounted for a substantial decline in perchlorate contamination

 due to state regulation and cleanup actions. The Court should defer to EPA’s

 reasoned scientific analysis and deny the petition for review.

                          STATEMENT OF JURISDICTION

       This Court has jurisdiction under 42 U.S.C. § 300j-7(a)(1), which provides

 for a petition for review of any action pertaining to the establishment of national

 primary drinking water regulations. The petition was timely filed because the Final

 Action on Perchlorate was published on July 21, 2020, see 85 Fed. Reg. 43,990,

 and the petition for review was filed on September 3, 2020.

                            STATEMENT OF THE ISSUES

       This petition presents three questions:

       1.     Whether, once EPA initially determines that a contaminant meets the

 criteria for regulation under the SDWA, the statute requires the Agency to regulate

 even if it finds after further study that those criteria are not met.

       2.     Whether EPA acted arbitrarily and capriciously by evaluating the

 level of public health concern presented by perchlorate in drinking water based on

 a dose that would avoid a 1% IQ decrease for the population most sensitive to

 perchlorate exposure, as recommended by applicable technical guidance, in light of




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 the difficulty associated with identifying the precise IQ effect representing an

 adverse impact for this contaminant.

       3.     Whether, in evaluating the frequency of perchlorate occurrence, EPA

 acted arbitrarily or capriciously by eliminating redundant samples and updating

 others to account for state regulation and remediation efforts that decreased

 perchlorate detections in drinking water after EPA’s national monitoring data was

 collected.

                 PERTINENT STATUTES AND REGULATIONS

       Except for those included in the attached addendum, all applicable statutes

 and regulations are contained in the Brief for Petitioner Natural Resources Defense

 Council, Inc. (“NRDC”).

                           STATEMENT OF THE CASE

       A.     Statutory and regulatory background

       The SDWA, 42 U.S.C. §§ 300f–300j-27, was enacted in 1974 and

 substantially amended and reauthorized in 1986, 1996, 2016, and 2018. SDWA

 programs, among other things, establish standards and treatment requirements for

 public water systems and protect underground sources of drinking water. A “public

 water system” is “a system for the provision to the public of water for human

 consumption through pipes or other constructed conveyances, if such system has at




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 least fifteen service connections or regularly serves at least twenty five

 individuals.” 42 U.S.C. § 300f(4)(A).

       Congress amended the SDWA in 1996 to establish a process for EPA to

 identify unregulated contaminants and assess whether they are appropriate for

 regulation under the Act. Beginning 18 months after August 6, 1996, and every

 five years thereafter, the SDWA directs EPA to publish a list of contaminants that

 are not subject to national primary drinking water standards. 42 U.S.C. § 300g-

 1(b)(1)(B)(i)(I). This is known as the “Contaminant Candidate List.”

       Then, every five years, EPA must assess at least five contaminants on the

 Contaminant Candidate List and, “after notice of the preliminary determination and

 opportunity for public comment,” make a regulatory determination “whether or not

 to regulate such contaminants.” Id. § 300g-1(b)(1)(B)(ii)(I). EPA’s determination

 to regulate must be based on findings that three criteria are met:

       (i)     the contaminant may have an adverse effect on the health of
               persons;

       (ii)    the contaminant is known to occur or there is a substantial
               likelihood that the contaminant will occur in public water
               systems with a frequency and at levels of public health concern;
               [and]

       (iii)   in the sole discretion of the Administrator, regulation of such
               contaminant presents a meaningful opportunity for health risk
               reduction for persons served by public water systems.

 Id. §§ 300g-1(b)(1)(A), 300g-1(b)(1)(B)(ii)(II).



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       If EPA determines these criteria are not met, that decision not to regulate is

 considered final agency action subject to judicial review. Id. § 300g-

 1(b)(1)(B)(ii)(IV). If EPA instead determines that these criteria are met, the

 Agency’s determination is not final action, but triggers further administrative

 process.

       If EPA finds that regulation is warranted, it must “publish a maximum

 contaminant level goal and promulgate a national primary drinking water

 regulation” for that contaminant. Id. §§ 300g-1(b)(1)(A), 300g-1(b)(1)(E). EPA

 must propose the goal and regulation within 24 months of its final regulatory

 determination, and finalize those actions within 18 months after the proposal,

 subject to a 9 month extension. Id. § 300g-1(b)(1)(E).

       Maximum contaminant level goals are non-enforceable health objectives set

 at a level at which “no known or anticipated adverse effects on the health of

 persons occur and which allows an adequate margin of safety.” 42 U.S.C. § 300g-

 1(b)(4)(A). EPA must generally also include an enforceable “maximum

 contaminant level” in its national primary drinking water regulations for that

 contaminant, set at a level that is as close to the maximum contaminant level goal

 “as is feasible,” as defined in the SDWA. Id. §§ 300g-1(b)(4)(B), 300g-1(b)(4)(D).

 The Act provides exceptions, however, such as when the costs associated with the

 maximum contaminant level outweigh the health risk reduction benefits, id.



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 § 300g-1(b)(6), or when “the Administrator finds that it is not economically or

 technologically feasible to ascertain the level of the contaminant,” id. § 300g-

 1(b)(7). In those cases, EPA may issue alternative standards.

       EPA’s actions carrying out the standard-setting provisions of the SDWA

 must be based on “the best available, peer-reviewed science and supporting studies

 conducted in accordance with sound and objective scientific practices; and (ii) data

 collected by accepted methods or best available methods.” Id. § 300g-1(b)(3)(A).

       B.        Factual background

       Perchlorate is an inorganic ion that occurs naturally within certain mineral

 deposits and is also produced by industrial processes. 85 Fed. Reg. at 43,991. Most

 commonly, perchlorate compounds are used as oxidizers in solid fuels to power

 rockets, missiles, and fireworks. Id. Perchlorate associated with the production of

 these oxidizers and perchlorate found in certain fertilizers are the largest

 anthropogenic contributors of perchlorate to the food chain. Perchlorate

 Occurrence and Monitoring Report (“Occurrence Report”) at 9, JA435; see also

 Technical Support Document at 3-2, JA379 (describing environmental release of

 perchlorate).

       People are typically exposed to perchlorate through the ingestion of

 contaminated food or drinking water. Id. Above certain levels, perchlorate can




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 inhibit iodide 2 absorption in the thyroid gland, which can affect thyroid hormone

 production. Id. Sufficient changes in thyroid hormone levels can cause changes in

 brain development, particularly in fetuses and preterm newborns. Id. These

 changes can affect a number of neurodevelopmental outcomes, including effects on

 neurocognitive function. Id.; see 84 Fed. Reg. 30,524, 30,527 (June 26, 2019)

 (describing evidence of adverse neurodevelopmental effects from decreased

 maternal thyroid hormone levels during pregnancy).

       EPA included perchlorate on its 1998, 2005, and 2009 Contaminant

 Candidate Lists. 85 Fed. Reg. at 43,992. In its first Unregulated Contaminant

 Monitoring Rule, published in 1999, EPA required all large public water systems

 (those that serve more than 10,000 people) and a representative sample of small

 water systems to monitor for perchlorate and 25 other contaminants. 85 Fed. Reg.

 at 43,993. Those data, known as the UCMR 1 data, were collected from 2001 to

 2005. Id.

       Following the collection of the UCMR 1 data, at the request of EPA and

 other federal agencies, the National Research Council issued a report evaluating

 the health implications of perchlorate ingestion. 84 Fed. Reg. at 30,525–26. The

 report concluded that perchlorate exposure inhibits the transport of iodide into the



 2
  In EPA’s decision and this brief, “iodine” refers to dietary intake of the mineral;
 “iodide” refers to the ionic form once in the body. See 85 Fed. Reg. at 43,993 n.1.

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 thyroid, which may then lead to decreases in the production of two thyroid

 hormones. It identified the fetuses of pregnant women who might have

 hypothyroidism or iodide deficiency as the most sensitive population to perchlorate

 exposure. Id. at 30,526. The report further recommended a reference dose—“the

 estimate of a daily exposure to humans that is likely to be without an appreciable

 risk of adverse effects”—of 0.7 µg per kilogram of bodyweight per day. Id.

       In January 2009, EPA published a non-regulatory interim health advisory for

 perchlorate of 15 µg/L, based on chronic exposure to the National Research

 Council-derived reference dose. Id. at 30526.

       C.     Agency proceedings

       In 2008, EPA published its first preliminary regulatory determination not to

 regulate perchlorate in drinking water. Applying the 15 µg/L Health Reference

 Level based on the reference dose recommended by the National Research Council

 to the UCMR 1 data on perchlorate occurrence in public water systems, EPA

 estimated that less than 1% of drinking water systems serving approximately 1

 million people had perchlorate levels above levels of concern. EPA proposed to

 determine that perchlorate did not occur with a frequency and at levels of public

 health concern, and that there was not meaningful opportunity for drinking water

 regulation to reduce health risks. Drinking Water: Preliminary Regulatory

 Determination on Perchlorate, 73 Fed. Reg. 60,262 (Oct. 10, 2008).



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       In response to comments that EPA should consider potential alternative

 Health Reference Levels, in 2009 EPA published a supplemental request for

 comment with new analysis proposing a range of between 1 µg/L and 47 µg/L as

 potential Health Reference Levels. Drinking Water: Perchlorate Supplemental

 Request for Comments, 74 Fed. Reg. 41,883 (Aug. 19, 2009). Using that range as

 levels of concern, EPA then published a determination to regulate perchlorate on

 February 11, 2011. Drinking Water: Regulatory Determination on Perchlorate, 76

 Fed. Reg. 7,762. EPA found that as many as 4% of public water systems serving

 up to 16.6 million people could potentially be exposed to perchlorate at those

 levels. Id. at 7,765. EPA next began work to establish a maximum contaminant

 level goal and drinking water regulations under 42 U.S.C. § 300g-1(b)(1)(E).

              1.    Developing Levels of Health Concern for Perchlorate

       To develop a proposed maximum contaminant level goal and drinking water

 regulations, and as required by 42 U.S.C. § 300g-1(d), EPA requested guidance

 from EPA’s Science Advisory Board in 2012. 84 Fed. Reg. at 30,527. In May

 2013, the Board recommended changes to the reference dose approach used by the

 National Research Council that would precisely model perchlorate’s mode of

 action and its effect on sensitive life stages. Id. Whereas the prior approach looked

 to perchlorate’s effect on iodide uptake, the Board advised EPA to expand its




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 modeling approach to account for the changes in thyroid hormone levels that result

 from iodide insufficiency. Id.; see Technical Support Document at 1-3, JA375.

       Responding to these recommendations, EPA developed a new biologically

 based dose-response model that predicts changes in thyroid hormone levels as a

 result of iodine intake and perchlorate exposure in women prior to pregnancy and

 early gestation. 84 Fed. Reg. at 30,528; Technical Support Document at 1-3,

 JA375. Although the effects of perchlorate on iodide uptake were well understood,

 and the link between decreased maternal thyroid hormone levels on

 neurodevelopmental outcomes in offspring was well documented, the reference

 dose model did not directly connect iodide uptake inhibition caused by perchlorate

 to changes in thyroid hormone levels. The model recommended by the Science

 Advisory Board allowed EPA to make that connection, which then allowed EPA to

 connect perchlorate exposure to adverse neurodevelopmental outcomes. 84 Fed.

 Reg. at 30,527–28; Technical Support Document at 1-3, JA375.

       EPA convened an independent peer review panel in 2017 to review its new

 model. 85 Fed. Reg. at 43,994. EPA revised the model further to incorporate the

 panel’s suggestions. Id. EPA then sought input from a second independent peer

 review panel in 2018 on the revised model and several approaches for linking the

 thyroid hormone changes predicted by the model to neurodevelopmental effects

 using existing epidemiological literature. Id. That peer review panel stated that



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 EPA’s model was “a highly innovative state-of-the-science set of quantitative tools

 to evaluate neurodevelopmental effects that could arise from drinking water

 exposure to perchlorate.” Id. at 43,999.

       After thoroughly reviewing the relevant scientific literature, EPA identified

 a 2016 study that evaluated the effect of maternal thyroid hormone levels on her

 offspring’s cognition, measured as intelligence quotient (“IQ”) effects, as

 representing the most rigorous data applicable to the new model. 84 Fed. Reg. at

 30,534–35; Technical Support Document at 9-15, JA413. At the recommendation

 of the peer review panel, EPA reanalyzed the data to exclude certain unrelated

 variables and other data that were not as directly measured. 84 Fed. Reg. at 30,535;

 Technical Support Document at 9-15, JA413. EPA then took the maternal thyroid

 hormone levels from its perchlorate-hormone model and assessed the

 neurodevelopmental impacts of those levels based on the reanalyzed hormone-

 neurodevelopmental outcome data. 84 Fed. Reg. at 30,536. EPA calculated the

 concentration of perchlorate that would avoid a 1, 2, or 3 percent IQ decrease—or

 a 1, 2, or 3 IQ point decrement—in the most sensitive subpopulation, the offspring

 of thyroid-deficient mothers. Id. EPA determined that those perchlorate levels were

 18, 56, and 90 µg/L, respectively. Id. at 30,540.




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              2.    Assessing the Frequency of Perchlorate Occurrence

       EPA next assessed how frequently perchlorate occurs in public water

 systems at those levels. To do so, EPA relied on the UCMR 1 occurrence data,

 updated to address two issues.

       First, EPA eliminated 199 data points where data from source water

 sampling was superseded by samples taken from the entry point of the drinking

 water distribution system. 84 Fed. Reg. at 30,542. The UCMR 1 monitoring

 required all large systems and a representative sample of small systems to monitor

 for perchlorate and 25 other contaminants at the entry points to the drinking water

 distribution system. Id. at 30,525; see Revisions to the Unregulated Contaminant

 Monitoring Regulation for Public Water Systems, 64 Fed. Reg. 50,556, 50,570

 (Sept. 17, 1999). In some cases, EPA allowed monitoring at source or “raw” water

 sampling points—the untreated water a system draws from. Id. However, any

 system that reported perchlorate detection in source water was required to

 undertake follow-up sampling at the system entry point associated with that source

 water sample detection. Occurrence Report Appx. B at B-1, JA496.

       After reviewing records on the follow-up monitoring, EPA identified 65

 systems that collected both source water and entry point samples concurrently and

 134 systems that collected follow-up entry point samples that had reported both

 source water and entry point results. Id. at B-2–B-3, JA497–98. EPA then excluded



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 the source water samples from these 199 systems in favor of the more precise entry

 point samples that had already been reported. Id. at B-3, JA498. This eliminated 99

 detections and 102 non-detections. Id.

       Second, EPA substituted updated perchlorate values for systems in

 Massachusetts and California where more recent compliance monitoring sampling

 data from the same entry points was available. 85 Fed. Reg. at 43,993. EPA

 explained that California and Massachusetts had both enacted enforceable state

 maximum contaminant level regulations that had significantly decreased the

 occurrence and concentration of perchlorate in drinking water in those states. Id.;

 see also 84 Fed. Reg. at 30,542. 3 For California sample points where there was a

 detection of perchlorate in the UCMR 1 data but no detection of perchlorate in

 more recent state compliance sampling, EPA substituted a value of 4 µg/L for the

 UCMR 1 detection value, equal to UCMR 1’s minimum reporting level.

 Occurrence Report Appx. B at B-7, JA502. In other words, the new value would

 indicate that perchlorate had been detected, but at UCMR 1’s lowest level. For

 sample points where there was a detection of perchlorate in the UCMR 1 data and

 for which more recent compliance records were available, EPA assigned the

 average result of the most recent compliance sampling.


 3
   Although other states have promulgated health advisory levels or other non-
 enforceable standards, only Massachusetts and California have enacted enforceable
 standards. Occurrence Report at 4, JA430.

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         EPA also updated the state data based on federally mandated Consumer

 Confidence Reports. Where that Report indicated compliance with state standards,

 EPA assigned a numerical value consistent with compliance levels in the state

 regulation: 6 µg/L for California and 2 µg/L for Massachusetts. Id. For any

 sampling point for which EPA could not find updated information that could be

 matched with the UCMR 1 dataset, the original value from UCMR 1 was retained.

         The updated UCMR 1 data showed very low levels of perchlorate

 occurrence at all of the perchlorate levels EPA proposed to evaluate.

 Table 1: Perchlorate Occurrence and Exposure (Updated UCMR1 Data Set) 4




               3.     EPA’s Proposed and Final Actions on Perchlorate

         In compliance with a deadline established by a consent decree to resolve a

 citizen suit in the Southern District of New York (1:16-cv-01251-ER), EPA

 published a proposed action on perchlorate on May 23, 2019. In the proposal, EPA

 proposed to set a maximum contaminant level goal at 56 µg/L, the level associated

 with a 2 IQ point decrement in the most sensitive subpopulation and requested




 4
     85 Fed. Reg. 43,995.

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 comment on the 18 and 90 µg/L alternative levels associated with a 1 and 3 IQ

 point decrement, respectively. 84 Fed. Reg. at 30,524.

       Alternatively, EPA proposed to withdraw its 2011 determination that

 perchlorate met Section 300g-1(b)(1)(A)’s three criteria for regulation under the

 SDWA. Id. EPA explained its analysis that even at the most conservative

 maximum contaminant level goal proposed, 18 µg/L, only 0.03% of public water

 systems, 15 total, serving approximately 620,000 people would exceed that

 regulatory threshold. 84 Fed. Reg. at 30,543–44.

       Following public notice and comment, EPA published the Final Action on

 Perchlorate on July 21, 2022. Drinking Water: Final Action on Perchlorate, 85 Fed.

 Reg. 43,990. The Final Action withdrew the determination to regulate perchlorate

 under the SDWA given EPA’s conclusion that perchlorate did not meet the second

 and third statutory criteria for regulation. Id. at 43,990–91. EPA explained that it

 could consider relisting perchlorate on the Contaminant Candidate List and

 proceed to regulation in the future if occurrence or health risk information

 changed.

                           SUMMARY OF ARGUMENT

       1.     The determination to regulate under the SDWA is a preliminary, non-

 reviewable step that EPA appropriately revisited when new information

 demonstrated that perchlorate did not meet the SDWA’s criteria for regulation. The



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 SDWA does not abrogate EPA’s inherent authority to reevaluate its regulatory

 decision or provide an alternate procedure for withdrawing determinations to

 regulate. Nor does the Act impose any time limitation on EPA’s reconsideration.

 EPA’s withdrawal action, undertaken after public notice and comment,

 acknowledged its changed position, fully explained the reasons for changing its

 assessment of the facts related to perchlorate occurrence, and articulated EPA’s

 reasonable conclusion that perchlorate does not meet the SDWA’s statutory

 criteria.

        2.    In withdrawing its determination to regulate perchlorate, EPA

 determined that the level of perchlorate exposure that would avoid a 1% IQ

 decrease in the most sensitive subpopulation was the “level[] of public health

 concern” against which to assess how frequently perchlorate occurs in drinking

 water. That scientific determination was not arbitrary or capricious. Using an

 approach recommended by the Science Advisory Board and assessed by two

 independent peer review panels, EPA calculated the perchlorate concentration

 necessary to avoid that effect using an innovative biological model applied to

 robust epidemiological data. EPA’s decision to use a 1% IQ effect followed EPA

 technical guidance and was a reasonable approach given the methodological

 difficulties with identifying a starting point for identifying risk based on IQ. EPA’s

 approach to this complex technical analysis was rational and reasonably explained.



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       3.     EPA also updated its national data on perchlorate’s occurrence in

 drinking water to remove redundant samples and to reflect substantial real-world

 changes in the extent of perchlorate contamination. Those updates were not

 arbitrary or capricious. EPA eliminated 199 samples taken from various public

 water systems’ source waters that had been superseded by subsequent samples

 from the entry point of the systems’ drinking water distribution systems. Where

 available, EPA also substituted current compliance and monitoring data from

 California and Massachusetts to account for the effect of state drinking water

 regulations on perchlorate detections in those States. EPA’s approach was a

 reasonable way to correct errors in the data and incorporate relevant new facts.

       The Court should uphold EPA’s action and deny the petition for review.

                              STANDARD OF REVIEW

       Because the SDWA does not prescribe a standard of review of EPA’s

 decision not to regulate a contaminant, that decision is reviewed under the

 Administrative Procedure Act’s narrow arbitrary and capricious standard of

 review. 5 U.S.C. § 706(2). Under that standard, courts “review only to ensure that

 the agency ‘examine[d] the relevant data and articulate[d] a satisfactory

 explanation for its action” and will not “substitute [their] judgment for that of the

 agency.” Huls Am. Inc. v. Browner, 83 F.3d 445, 452 (D.C. Cir. 1996) (quoting

 Motor Vehicle Mfrs. Ass’n v. State Farm Mut Auto. Ins. Co., 463 U.S. 29, 43



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 (1983)). Courts give an “extreme degree of deference to the agency when it is

 evaluating scientific data within its technical expertise.” City of Waukesha v. EPA,

 320 F.3d 228, 247 (D.C. Cir. 2003) (cleaned up).

                                     ARGUMENT

 I.    EPA Has the Authority to Withdraw its Determination to
       Regulate Perchlorate.

       A determination to regulate perchlorate is a necessary, but necessarily

 preliminary, step on the road to regulation. The challenged Final Action is EPA’s

 “withdrawal” of such a non-final determination. NRDC argues that once that

 preliminary step is taken, EPA must inexorably continue down that road,

 regardless of whether information discovered along the route indicates that

 regulation is not warranted. NRDC’s position must be rejected.

       To begin, a determination to regulate under the SDWA is an interlocutory

 step that does not itself “create[] enforceable rules for regulated parties in future

 proceedings.” California v. EPA, 940 F.3d 1342, 1352 (D.C. Cir. 2019). In such

 circumstances, this Court has recognized the Agency’s authority to decline to

 regulate. See id.; Idaho Conservation League v. Wheeler, 930 F.3d 494, 504 (D.C.

 Cir. 2019) (holding that EPA’s decision to undertake a rulemaking does not

 remove its discretion to determine that the rule should not issue). The SDWA’s

 text and structure do not dictate a different result. Whereas the statute provides that

 a determination not to regulate is immediately judicially reviewable, 42 U.S.C.


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 § 300g-1(b)(1)(B)(ii)(IV), a determination to regulate is not. Consistent with

 Congress’s admonition that EPA base its standards on the best available health

 information, id. § 300g-1(b)(1)(B)(ii)(II), the SDWA does not prevent EPA from

 revisiting, prior to regulating a contaminant, whether regulation is warranted at all.

 Further, whereas Congress expressly circumscribed EPA’s ability to remove or

 make less stringent national primary drinking water standards once they are

 promulgated, see id. § 300g-1(b)(9), Congress did not prohibit withdrawing a

 regulatory determination once made.

       Even setting this statutory structure aside, it is a foundational principle of

 administrative law that agencies are permitted to change course when presented

 with new facts and to reevaluate “which policy would be better in light of the

 facts.” Nat’l Ass’n of Home Builders v. EPA, 682 F.3d 1032, 1037–38 (D.C. Cir.

 2012) (citing FCC v. Fox Television Studios, 556 U.S. 502, 514–15 (2009)). When

 changing positions, an agency must provide “a reasoned explanation . . . for

 disregarding facts and circumstances that underlay or were engendered by the prior

 policy.” Fox, 556 U.S. at 516. But so long as the agency supplies that explanation

 and acknowledges it is changing course, “it suffices that the new policy is

 permissible under the statute, that there are good reasons for it, and that the agency

 believes it to be better.” Fox, 556 U.S. at 515 (emphasis in original); see also

 Encino Motorcars, LLC v. Navarro, 579 U.S. 211, 221 (2016) (stating that



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 agencies are “free to change their existing policies” and need not provide

 additional justification beyond “what would suffice for a new policy created on a

 blank slate”).

       In the Final Action on Perchlorate, EPA did just that. After determining in

 2011 that perchlorate met the SDWA’s criteria for regulation, EPA developed a

 new biological model to determine the threshold perchlorate exposure that

 presented a risk of adverse health effects. That new analysis indicated the threshold

 was higher than that which EPA had considered in the 2011 determination: 18

 µg/L–90 µg/L, as opposed to 1 µg/L–47 µg/L. 85 Fed. Reg. at 43,995. That, along

 with a reanalysis of how frequently perchlorate occurs in drinking water, led EPA

 to conclude that perchlorate no longer met two of the criteria for regulation: (1) it

 did not occur with a frequency and at levels of public health concern; and (2)

 regulation did not present a meaningful opportunity for health risk reduction for

 persons served by public water systems. 42 U.S.C. § 300g-1(b)(1)(A)(ii)–(iii); see

 85 Fed. Reg. at 43,998. EPA accordingly determined it lacked the authority to

 regulate perchlorate and withdrew the 2011 determination.

       EPA’s reevaluation and withdrawal of its determination to regulate was

 “well within [the] agency’s discretion.” Nat’l Ass’n of Home Builders, 682 F.3d at

 1038. EPA provided full notice and opportunity for public comment on its

 reevaluation and reasonably explained the new factual findings that contradicted



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 the 2011 determination’s conclusion. See 85 Fed. Reg. at 43,995; Fox, 556 U.S. at

 515. EPA’s action was reasonably explained and adequately justified and should

 be upheld for the reasons described in greater detail below. State Farm, 463 U.S. at

 43; see infra Parts II & III.

       Disregarding these established principles, NRDC insists that once EPA has

 identified a contaminant for regulation under the SDWA, it must continue on the

 path to regulation no matter how dramatically the circumstances underlying the

 initial determination may have changed. See Pet. Br. at 30. NRDC’s argument,

 however, is belied by the SDWA’s text and structure, which provide EPA ample

 discretion to change course where, as here, the best available health information

 warrants. See Nat’l Ass’n of Home Builders, 682 F.3d at 1038.

       A.     Withdrawing a regulatory determination when EPA
              determines a contaminant does not in fact meet the SDWA’s
              criteria for regulation is consistent with the statute.

       EPA’s authority to withdraw a determination to regulate a contaminant

 before regulations are issued is consistent with the SDWA’s text, structure, and

 history. EPA may only regulate a contaminant when all three statutory criteria have

 been satisfied. 42 U.S.C. §§ 300g-1(b)(1)(B)(ii)(II). If EPA determines a

 contaminant no longer meets those criteria, it lacks authority to issue drinking

 water regulations for that contaminant. See 85 Fed. Reg. at 43,992.




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        EPA’s inherent authority to withdraw a determination to regulate is

 consistent with Congress’s intention to enable EPA to allocate scarce resources to

 the most pressing dangers to public health. See 85 Fed. Reg. at 43,992 (citing

 legislative history and discussing purpose). Whereas, prior to 1996, EPA was

 required to issue drinking water regulations for 25 new contaminants every three

 years, the 1996 amendments to the SDWA removed that requirement in favor of

 the current process. S. Rep. No. 104-169 (1995) at 12. Congress found that that

 requirement unreasonably required EPA to regulate contaminants that “occur so

 infrequently in public water systems that the costs of monitoring . . . far outweigh

 any health benefit that could be realized at the few systems that may detect the

 contaminant.” Id. That requirement to regulate was “the quintessential example of

 an arbitrary Federal law imposing burdens on consumers and the taxpayers of other

 governments with no rational relationship to the public benefits that might be

 realized.” Id. at 13.

        To address these unnecessary costs, Congress amended the SDWA to

 require that EPA consider five contaminants for regulation every five years, but

 granted EPA authority to determine whether or not regulation is warranted given

 the statutory criteria. Significantly, Congress provided that the EPA Administrator,

 in her “sole discretion,” must determine that regulation “presents a meaningful

 opportunity for health risk reduction.” 42 U.S.C. § 300g-1(b)(1)(A)(iii).



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       EPA’s authority to withdraw a regulatory determination is critical to allow

 the Agency to account for changed circumstances presented by new and up-to-date

 science. EPA’s determination that a contaminant meets the criteria for regulation

 must “be based on the best available health information.” Id. § 300g-

 1(b)(1)(B)(ii)(II). Elsewhere, the SDWA provides all of EPA’s actions “[i]n

 carrying out” the Act’s standard-setting requirements must be based on the “best

 available, peer-reviewed science and supporting studies” and “data collected by . . .

 best available methods.” 42 U.S.C. § 300g-1(b)(3)(A). NRDC can hardly dispute

 that the best available information and science can change over time. When that

 information changes, EPA must have the authority to respond by changing course.

 NRDC’s position that EPA must be stuck with an earlier determination to regulate

 based on a stale record conflicts with EPA’s duty to “consider[] the relevant matter

 presented” during the rulemaking process. 5 U.S.C. § 553(c).

       Indeed, the process of determining an appropriate maximum contaminant

 level goal can very well reveal new information that refines EPA’s understanding

 of whether a contaminant meets the criteria for regulation. The regulatory

 determination standard requires EPA to determine the “level” at which a

 contaminant may present “public health concern.” 42 U.S.C. § 300g-1(b)(1)(A)(ii).

 EPA typically makes a determination whether a contaminant is found “at levels of

 public health concern” based on health reference levels. 76 Fed. Reg. at 7,764.



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 Those health reference levels “are not final determinations about the level of a

 contaminant in drinking water that is necessary to protect any particular

 population,” but are “benchmarks” that provide information on whether a

 contaminant meets the criteria for regulation under the SDWA. Id.; accord 85 Fed.

 Reg. at 43,995 (“These [health reference levels] were not final decisions about the

 level of perchlorate in drinking water that is without adverse effects.”).

       After conducting a more refined analysis to determine its maximum

 contaminant level goal, EPA may discover that the less precise assumptions made

 in the regulatory determination were not correct. That is what happened here: after

 applying a more refined model and analysis and new data that became available

 after the regulatory determination, EPA found that perchlorate does not present a

 health concern until a higher level than it had considered during the earlier step in

 the regulatory process. See 85 Fed. Reg. at 43,995.

       As EPA reasoned, “Congress could not have intended that the EPA’s

 regulatory decision-making be hamstrung by older data when newer, more accurate

 scientific and public health data are available.” 85 Fed. Reg. at 43,992. That is

 especially true “when those data demonstrate that regulation of a new contaminant

 would not present a meaningful opportunity for health risk reduction.” Id.; see

 also, e.g., Nat’l Cable & Telecomms Ass’n v. Brand X Internet Servs., 545 U.S.

 967, 981 (2005) (explaining that an agency “must consider . . . the wisdom of its



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 policy on a continuing basis, for example, in response to changed factual

 circumstances”).

       B.     The SDWA does not abrogate EPA’s inherent authority to
              withdraw its determination to regulate perchlorate.

       Contrary to NRDC’s contention, see Pet. Br. at 29–30, the SDWA need not

 expressly grant EPA authority to reconsider or withdraw its determination to

 regulate perchlorate for EPA to possess that authority. To be sure, a statute can

 expressly limit an agency’s inherent authority to change its mind. But, unlike in the

 cases NRDC cites, nothing in the SDWA unambiguously limits EPA’s authority to

 withdraw the determination.

       First, NRDC’s suggestion that EPA lacks inherent authority to reconsider or

 withdraw its determination to regulate perchlorate absent express statutory

 authorization is incorrect. As discussed above, the Supreme Court in Fox and other

 cases has made clear that agencies are permitted to change positions. And this

 Court has repeatedly held that agencies possess the authority and, indeed, the

 obligation, to reverse course where the facts so warrant. See, e.g., Ivy Sports Med.,

 LLC v. Burwell, 767 F.3d 81, 86 (D.C. Cir. 2014) (“[A]dministrative agencies are

 assumed to possess at least some inherent authority to revisit their prior

 decisions[.]”); Nuclear Energy Inst., Inc. v. EPA, 373 F.3d 1251, 1296 (D.C. Cir.

 2004) (“[W]e expect that an[] agency may well change its past practices with

 advances in knowledge in its given field or as its relevant experience and expertise


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 expands.”). The case NRDC cites, HTH Corp. v. NLRB, 823 F.3d 668, 679 (D.C.

 Cir. 2016), says as much, citing Ivy Sports Medicine for the proposition that

 agencies possess the inherent “power to reconsider prior decisions” even where not

 “expressly enumerated by Congress.”

       Second, withdrawing the regulatory determination does not “contravene”

 any express statutory command. Pet. Br. at 33–34. The SDWA provides no

 “mechanism capable of rectifying” a mistaken determination that a contaminant

 occurs with a frequency and at levels such that regulation presents a meaningful

 opportunity for health risk reduction. Ivy Sports Med., 767 F.3d at 86 (quoting Am.

 Methyl Corp. v. EPA, 749 F.2d 826, 835 (D.C. Cir. 1984)). The provisions NRDC

 identifies as “allow[ing] EPA to adjust to changing circumstances,” Pet. Br. at 35,

 do not perform the same function as withdrawing a regulatory determination.

 NRDC contends that EPA may simply set less stringent regulations and monitoring

 requirements for that contaminant or authorize variance and exemptions from those

 regulations. See Pet. Br. at 35. But setting less stringent regulation is different in

 kind from declining to regulate. Regardless of the stringency, regulation inevitably

 imposes costs on water systems across the country, such as for monitoring and

 reporting. That result would be inconsistent with the concern animating the 1996

 SDWA amendments: Congress’s desire for EPA to avoid the needless expenditure




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 of federal and state resources on regulations that would not produce meaningful

 public benefits. See S. Rep. No. 104-169 at 12.

       That the SDWA provides no equivalent process for reconsidering a

 regulatory determination makes it unlike the Clean Air Act provision at issue in

 New Jersey v. EPA, 517 F.3d 574, 579 (D.C. Cir. 2008). In that case, EPA had

 determined, pursuant to 42 U.S.C. § 7412(n)(1)(A), that it was “appropriate and

 necessary” to regulate mercury from certain coal- and gas-fired electric generating

 units. It then listed those units as sources of hazardous air pollutants under 42

 U.S.C. § 7412(c). See New Jersey, 517 F.3d at 579. EPA later reconsidered and

 removed those electric generating units from that list, arguing that it had the

 authority to do so “at any time that it makes a negative appropriate and necessary

 finding.” Id. at 580. This Court explained that, in the usual course, an agency has

 discretion to “change its position and reverse a decision,” but that Congress

 “undoubtedly can limit” that discretion. Id. at 582–83. Because, under 42 U.S.C.

 § 7412(c)(9), the Clean Air Act provided an express mechanism for removing

 sources from the source list, the Court held that EPA could not avoid the statutory

 delisting process by invoking inherent reconsideration authority. Id. at 583.

       Here, EPA’s action does not avoid any otherwise applicable statutory

 process. EPA’s action was based on the statutory criteria applicable to regulatory

 determinations under the SDWA. NRDC’s argument that EPA’s ability to



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 withdraw a regulatory determination is limited by the SDWA’s deadlines for

 promulgating drinking water regulations is not consistent with the SDWA’s overall

 structure. See supra 18–19. Additionally, the anti-backsliding provisions that

 NRDC points to, Pet. Br. at 40, apply only once a maximum contaminant level

 goal and national primary drinking water standards have been finalized. See 42

 U.S.C. § 300g-1(b)(9). Before those regulations issue, EPA is not bound to a

 determination to regulate when the best available science indicates the statutory

 criteria are not in fact met.

        The Ninth Circuit’s decision in NRDC v. EPA, 542 F.3d 1235, 1239 (9th Cir.

 2008), is not to the contrary. That case concerned section 304(m) of the Clean

 Water Act, 33 U.S.C. § 1314(m), which requires EPA to establish a schedule for

 promulgating effluent guidelines for water pollutant source categories identified by

 EPA that discharged toxic or nonconventional pollutants and that lacked such

 guidelines. Id. § 1314(m)(1). The statute also set a three-year deadline for

 promulgating those guidelines. NRDC sought review of EPA’s final action

 withdrawing proposed guidelines for a source category that had been identified

 pursuant to section 304(m). NRDC, 542 F.3d at 1239–40. After that action, EPA

 removed the source category from that Section 304(m) list.

        Two pivotal factors distinguish that NRDC case from this one. First, in the

 Ninth Circuit’s case, EPA “unilaterally delist[ed]” the source category “with no



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 process.” Id. at 1252. There was no notice and comment or other formal

 proceedings to remove the disputed category from the 304(m) list. That is in

 contrast to EPA’s action here, where the proposed withdrawal action was subject to

 public notice and comment. In fact, the NRDC court expressly noted that it did not

 “reach the question of whether the EPA could avoid promulgating [effluent

 limitation guidelines]” for a source category “if the EPA formally amended the

 § 304(m) plan that triggered the duty to promulgate or undertook some other

 formal process to delist the point-source category.” Id. at 1252 n.10. That principle

 is consistent with FCC v. Fox, 556 U.S. at 515, which affirmed agencies’ inherent

 authority to change their mind when they provide a reasoned explanation and

 acknowledge the change in position. Id. (“An agency may not, for example, depart

 from a prior policy sub silentio.”).

       Second, whereas the Court interpreted the Clean Water Act to require

 effluent guidelines for new point source categories identified by EPA, the SDWA

 expressly provides EPA discretion in determining which drinking water pollutants

 warrant regulation. As the Ninth Circuit explained, the Clean Water Act “does not

 contemplate that the EPA might never promulgate the requirements referenced in

 [33 U.S.C. § 1342(a)(1)(A)].” NRDC, 542 F.3d at 1251. By contrast, although the

 SDWA requires EPA to evaluate five contaminants every five years, it is

 ultimately a matter of the Administrator’s “sole judgment” to determine whether a



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 contaminant “presents a meaningful opportunity for health risk reduction” and thus

 whether to promulgate drinking water regulations. EPA’s withdrawal of its

 determination to regulate perchlorate, taken after public notice and comment and

 hewing closely to the statutory text, was a permissible exercise of agency

 authority.

       C.       EPA’s reconsideration authority is not time-limited.

       Finally, EPA’s power to change course as to whether it should regulate a

 contaminant under the SDWA is not time-limited. NRDC contends that EPA’s

 authority evaporated when its statutory deadlines to propose and finalize drinking

 water regulations expired. Pet. Br. at 39. But this Court has held in other contexts

 that, absent a clear statutory direction to the contrary, agencies retain their

 authority to act even when they miss a statutory deadline. See Nat’l Petrochemical

 & Refiners Ass’n v. EPA, 630 F.3d 145, 154 (D.C. Cir. 2010) (“[W]here there are

 less drastic remedies available for an agency’s failure to meet a statutory deadline,

 courts should not assume Congress intended for the agency to lose its power to

 act.”). The same principle applies here: the fact that EPA missed its statutory

 deadline to promulgate drinking water regulations for perchlorate does not divest it

 of its inherent authority to reconsider its initial finding that such regulation was

 appropriate.




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       Unlike this case, this Court’s decisions stating agencies’ reconsideration

 authority is time-limited concern adjudications conferring an individual benefit. In

 those cases, concerns about individual reliance interests in administrative repose or

 in the result of the agency determination animated the outcomes. See, e.g., Ivy

 Sports Med., 767 F.3d at 86 (concerning the FDA’s classification of an individual

 applicant’s medical device); 5 California Metro Mobile Comm’cns, Inc. v. FCC,

 365 F.3d 38, 45 (D.C. Cir. 2004) (noting the individual licensee’s “strong and

 legitimate interest in administrative repose”); Mazaleski v. Treusdell, 562 F.2d

 701, 719–20 (D.C. Cir. 1977) (involving time for correcting agency error in an

 employee termination proceeding, where “scrupulous compliance” with procedural

 regulations “is required to avoid any injustice”). Those concerns are not present

 here, where EPA decided not to issue regulations of general applicability. Notably,

 there is no mention of any time-limitation in the FCC v. Fox, 556 U.S. at 514–15,

 line of cases concerning agency authority to change course in such circumstances.

       Nor is this a case like New York v. NHTSA, 974 F.3d 87, 100 (2d Cir. 2020),

 where the Second Circuit held that the National Highway and Transit Safety

 Authority could not, in 2019, reconsider a 2016 fuel standards penalty interim rule.

 The “highly circumscribed schedule” applicable in that case required annual


 5
   Notably, when stating that agencies have a limited time in which to “revisit their
 prior decisions,” the court in Ivy Sports Med., cites only cases concerning
 individual adjudications, not rulemaking. 767 F.3d at 86.

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 penalty increases that “would necessarily build on” the initial 2016 rule. Id. at 100–

 01. The court’s conclusion that the Authority’s reconsideration authority was time-

 limited was thus driven by the particular statutory structure, not any inherent

 limitation on agency authority. As the SDWA does not contain a similar escalating

 structure or express limitations on EPA’s authority to withdraw a determination,

 New York does not apply.

       Finally, NRDC’s argument (at 40) that, “if EPA had promulgated timely

 regulations,” the SDWA’s anti-backsliding provision, 42 U.S.C. § 300g-1(b)(9),

 would prevent eliminating such regulations, only reinforces EPA’s authority to

 withdraw the determination here. That provision emphasizes that where Congress

 wanted to circumscribed EPA’s authority, it has generally done so expressly.

       The Court should reject NRDC’s argument and deny the petition for review.

 II.   EPA Reasonably Used a “State-of-the-Science” Approach to
       Determine the Levels at Which Perchlorate Presents a Public
       Health Concern.

       In its Final Action on Perchlorate, EPA employed an “‘innovative state-of-

 the-science’” analysis to model the most sensitive subpopulations’ thyroid

 response to perchlorate. 85 Fed. Reg. at 43,999 (quoting 2018 External Peer

 Review Report). EPA then linked the results of that model to epidemiological data

 on thyroid hormone levels and neurodevelopmental outcomes to determine the

 level at which perchlorate in drinking water presents a public health concern.



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 EPA’s approach was developed at the recommendation of the Science Advisory

 Board—which EPA is required to consult prior to proposing a drinking water

 standard, 42 U.S.C. § 300g-1(e)—and refined in response to comments from two

 independent peer review panels. The design of EPA’s modeling approach and the

 Agency’s selection of the best epidemiological data applicable to that model were

 reasonable and well within EPA’s scientific and technical expertise.

       NRDC objects to EPA’s approach for three main reasons. First, NRDC

 contends that EPA inappropriately based its analysis on the concentration of

 perchlorate that would avoid a 1 IQ point decrement in the most sensitive

 subpopulation. Second, NRDC contends that EPA erred in analyzing only IQ loss

 rather than other neurodevelopmental effects. Finally, NRDC suggests that EPA

 should not have used its proposed maximum contaminant level goals as indicators

 of “levels of public health concern.” For the reasons below, the Court should reject

 these arguments and defer to EPA’s reasonable application of its technical

 expertise to the available data. See City of Waukesha, 320 F.3d at 252 (holding that

 courts defer to EPA’s choice of scientific model in setting drinking water

 standards).




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       A.     EPA’s determination that perchlorate was not present at
              “levels of public health concern” was consistent with
              technical guidance.

       EPA’s decision to consider the level of perchlorate that avoids a 1% IQ

 decrease in the most sensitive population as the “level of public health concern” for

 its regulatory determination analysis was reasonable and supported by the record.

 The SDWA does not provide a particular technical approach for determining what

 constitutes “a level of public health concern.” As EPA explained, it has used “a

 variety of science policy approaches to select points of departure for developing

 regulatory values.” 85 Fed. Reg. at 43,999. Here, given the difficulty in identifying

 a precise IQ decrement representing an adverse health impact, EPA ultimately

 “looked to its Benchmark Dose Guidance,” which supported using a 1% effect as a

 starting point for assessing the level of perchlorate contamination that presents

 “public health concern.” Id. The Court should defer to EPA’s reasonable selection

 of that level of health concern.

       EPA’s Benchmark Dose Technical Guidance provides approaches for using

 dose-response modeling to calculate a benchmark dose—the dose level that leads

 to a specific biological response level. Benchmark Dose Guidance at 1, JA269.

 EPA explained that in other contexts, it has used a 5%, 10%, or one half to one

 standard deviation from the mean to define the point at which toxicological effects

 constitute an adverse health outcome. 85 Fed. Reg. at 43,999; Technical Support



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 Doc. at 10-1, JA415; see also Benchmark Dose Guidance at 20, JA271 (stating that

 “a response level of 10% extra risk has been commonly used to define [benchmark

 doses]”). For the type of data available for EPA’s perchlorate analysis (“quantal

 human data from epidemiological studies”), the Guidance provides that “1% extra

 risk is often used as a [benchmark response].” Id. at 21, JA272; see 85 Fed. Reg. at

 43,999.

       Using a 1% IQ decrease to define the level of public health concern was

 consistent with this guidance and was a reasonable—and reasonably explained—

 exercise of EPA’s scientific policy and risk management judgment. As EPA

 explained, there are scientific challenges to “evaluating a continuous outcome such

 as IQ” where there is natural variability in the human population. See Technical

 Support Document at 10-1, JA415; 85 Fed. Reg. at 43,999; 84 Fed. Reg. at 30,537.

 Unlike non-continuous outcomes, where it is clear that an individual either has or

 does not have the adverse effect (for example, acute gastrointestinal illness), a

 continuous response in an outcome like IQ is often reported as a relative change

 from some control point. See Benchmark Dose Guidance at ix, JA266 (explaining

 “dichotomous” versus “continuous” response); see also 84 Fed. Reg. at 30,536

 (discussing the array of tests and tasks used to measure diverse IQ-related skills,

 and research suggesting that children’s IQ scores can change by several points

 based on their rearing environments). The Benchmark Dose Technical Guidance is



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 meant to help identify the level of observable variation that can be attributed to

 exposure to the contaminant. Given that “there are no robust population studies” or

 otherwise a consensus scientific definition of a biologically significant level of IQ

 change, EPA reasonably used the Guidance’s recommendation to define

 perchlorate’s level of public health concern. See Benchmark Dose Guidance at 22,

 JA273; see also 85 Fed. Reg. at 43,999; Response to Comments at 8-25, JA730. 6

       EPA also built many conservative assumptions into its biologically-based

 dose response model to account for uncertainties and ensure protectiveness. First,

 EPA’s model focused on the thyroid response within a specific, sensitive

 population—offspring of iodide-deficient pregnant mothers in the first trimester of

 pregnancy—as recommended by the SAB and independent peer reviewers. See 84

 Fed. Reg. at 30,528. Second, EPA applied conservative assumptions about the

 hypothetical iodide-deficient pregnant mother: the model assumes very low iodine

 intake levels, Technical Support Document at 9-7, JA405; low baseline levels of

 the key fT4 thyroid hormone, id. at 9-8–9-9, JA406–07; and reduced “TSH

 feedback”—the compensatory increase of thyroid stimulating hormone in response


 6
  EPA noted that its approach was based on the particular “challenges associated
 with identifying a[ maximum contaminant level goal] for perchlorate,” and that
 “[b]y selecting this approach, the EPA is not establishing a precedent for future
 Agency actions on other contaminants, since this approach might not be
 appropriate for conducting risks assessments or informing Agency policy for other
 contaminants and associated health effects.” Technical Support Document at 10-1,
 JA415.

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 to decreases in the fT4 hormone, see id. at 6-1, JA381—to a level approximately

 60 percent less effective than for the median individual, id. at 9-8, JA406. See also

 84 Fed. Reg. at 30,529. Finally, to account for uncertainties and provide an

 additional margin of safety, EPA applied an “uncertainty factor” to the model

 calculation. 85 Fed. Reg. at 44,000. These measures further bolster the

 reasonableness of EPA’s assessment of perchlorate’s “levels of public health

 concern” within the meaning of the statute.

       NRDC conflates the standard for deriving a maximum contaminant level

 goal—“the level at which no known or anticipated adverse effects on the health of

 persons occur[s],” 42 U.S.C. § 300g-1(b)(4)(A)—with the criteria that must be met

 for EPA to promulgate a national primary drinking water regulation. Contrary to

 NRDC’s suggestion, EPA is not required to set the “levels of public health

 concern” for determining whether to regulate at the level at which there are “no . . .

 adverse effects.” Rather, determining “levels of public health concern” is a science

 policy and risk management judgment. Here, EPA reasonably exercised that

 judgment, using the Guidance to define a starting point for estimating risk. EPA’s

 judgment in this complicated technical area is entitled to deference. See City of

 Waukesha, 320 F.3d at 247.

       NRDC does not contend that that Guidance is unsuitable or identify any

 record evidence supporting a lower “level of public health concern.” Citing the



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 preamble of an advanced notice of proposed rulemaking for regulations under the

 Toxic Substances Control Act related to lead, see Pet. Br. at 46 (citing 75 Fed.

 Reg. 24,848 (May 6, 2010)), NRDC highlights the distinction between population

 and individual risk as it relates to IQ. 75 Fed. Reg. at 24,853. That preamble,

 however, does not suggest a smaller than 1% quantum of extra risk for measuring

 adverse IQ effects, and does not provide any alternate method for characterizing

 those effects. 7

        The other evidence NRDC turns to is extra-record documents that should be

 disregarded for the reasons articulated in EPA’s Response to NRDC’s Motion to

 Supplement. See Doc. No. 1957926. But even if those documents are considered,

 they do not indicate that EPA’s approach was unreasonable. Dr. Solomon’s extra-

 record declaration merely opines that even a 1 IQ point loss across a population

 can have significant effects. But she does not counter EPA’s observation that there

 are not robust population studies to guide its effort to define the IQ impact that

 represents an adverse health effect, or show that EPA’s Benchmark Dose Guidance

 should have been disregarded. Regardless, the “presence of disputing expert

 witnesses offers a classic example of a factual dispute the resolution of which


 7
  EPA addressed the significance of population-level IQ changes versus individual
 IQ changes in its Response to Comments at 8-83–8-84, JA743–44. There, EPA
 also noted one study, Carlisle et al (2009), that “identified a one IQ point
 decrement at the population level as a de minimus change in IQ[.]” Id. at 8-84,
 JA744.

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 implicates substantial agency expertise and requires that [the Court] defer to the

 informed discretion of the responsible federal agencies.” Am. Forest & Paper

 Ass’n Inc. v. EPA, 294 F.3d 113, 121 (D.C. Cir. 2002) (cleaned up).

         NRDC’s argument boils down to a misguided attack on the sufficiency of

 EPA’s proposed maximum contaminant level goals, arguing that “IQ loss is, by

 definition, evidence of functional impairment.” Pet. Br. at 45. But that is beside the

 point: EPA is not issuing a maximum contaminant level goal in the challenged

 action, so the question of whether the perchlorate levels EPA analyzed would have

 “no known or anticipated adverse effect” is not relevant here. Contrary to NRDC’s

 suggestion, EPA did not conclude in its Final Action that IQ loss below 1% does

 not represent an adverse health effect. Rather, EPA reasonably determined the

 perchlorate level that would avoid a 1% IQ effect in the most sensitive populations

 was an appropriate “level[] of public health concern” against which to evaluate

 how frequently perchlorate occurs in drinking water. 42 U.S.C. § 300g-

 1(b)(1)(A)(i)–(ii). That EPA also used a 1% IQ effect in setting its lowest proposed

 maximum contaminant level goal does not change the statutory standard applicable

 here.




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       B.     EPA reasonably evaluated IQ effects as a surrogate for
              other neurodevelopmental effects in assessing the levels at
              which perchlorate would present a public health concern.

       EPA also reasonably used effects on IQ as a surrogate for the potential

 neurodevelopmental effects of perchlorate exposure in withdrawing its regulatory

 determination. Following the Science Advisory Board’s recommendation, EPA

 looked to epidemiological studies that showed the effects of very low thyroid

 hormones in early pregnancy on the risk of adverse neurodevelopmental outcomes

 in the pregnant person’s offspring. 84 Fed. Reg. at 30,531. To connect the data on

 neurodevelopmental effects to the model of perchlorate’s effects on key thyroid

 hormones, EPA looked for data that would allow it to develop “a dose-response

 function that estimates incremental changes in a neurodevelopmental endpoint

 based on a given change in thyroid hormone concentration.” Id. at 30,352. After

 identifying and screening 71 epidemiological studies, EPA ultimately determined

 that a 2016 study by Korevaar et al. that measured IQ effects associated with low

 maternal thyroid hormone levels provided the most robust data that allowed EPA

 to create the function necessary to fit its model. Id. at 30536; see also Response to

 Comments at 8-3, JA724; Technical Support Document at 9-15, JA413.

       NRDC is simply wrong that EPA did not explain why it did not evaluate

 other neurodevelopmental effects. See Pet. Br. at 51. The preamble for the

 Proposed Action explained that “EPA selected IQ decrements because this was the



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 endpoint evaluated in the Korevaar et al. (2016) study,” which EPA determined

 “was the most rigorous analysis that examined the relationship between decreased

 thyroid hormones and neurodevelopmental effects.” 84 Fed. Reg. at 30,536.

 Specifically, EPA explained that the Korevaar study (1) provides “sufficient

 quantitative data to derive a health impact function for the sensitive population of

 interest”; (2) its “analysis adjusts for an appropriate set of confounders”; and

 (3) “the neurodevelopmental endpoint—intelligence quotient (IQ)—is more

 straightforward to interpret because there is more national and cross-national data

 available.” Id. at 30,534. The preamble walks through the methodology for the

 literature review that ultimately led EPA to that conclusion in great detail. See id.

 at 30,531–37.

       Further, in its Response to Comments, EPA explained that the Korevaar

 study “provided the most robust data available with a clear measure of

 neurodevelopment that could be expressed as a function of changing maternal

 fT4.” Response to Comments at 8-37, JA735; see also id. at 8-57, JA740

 (explaining that the Korevaar data “lent itself to the development of the model”).

 “Continuous variables,” like those in the Korevaar study, “are more informative to

 dose-response evaluations than categorical variables,” and thus “studies with

 continuous measures of fT4 were more useful in model development.” Id. at 8-92,

 JA752. EPA reanalyzed the Korevaar data based on feedback from an independent



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 peer review panel. Technical Support Document at 9-15, JA413; see also Response

 to Comments 8-4–8-5, JA725–26.

       In contrast, other studies analyzing different effects were not adequately

 robust or well-suited to EPA’s model. For instance, the 1999 and 2003 Pop studies

 have “small sample sizes (n<50) which made the generalizability of their results

 questionable” and failed to adjust for “confounders,” that is, unmeasured variables

 that could distort the variables and outcome EPA was concerned with. See

 Technical Support Document at 9-15, JA413; Response to Comments at 8-3,

 JA724. Additionally, the authors did not respond to “[m]ultiple requests for raw

 data from the study” that would have allowed EPA to better assess the data. Id.

 Similarly, neither the 2017 Endendijk study that evaluated anxiety and depression

 scores nor the 2013 Finken study that evaluated reaction times focused on the low-

 end of thyroid hormone levels that fit the sensitive life stage for which EPA’s

 model was designed. Id.; Technical Support Document at 9-15, JA413.

       EPA also explained that using the IQ effects derived from the Korevaar data

 would be a surrogate for other types of neurodevelopmental effects. 84 Fed. Reg.

 at 30,536. Given the strength of the Korevaar data, as contrasted with the other

 options, EPA reasonably accepted the recommendation of its independent peer

 review panel that “indicated IQ was preferred.” Response to Comments at 8-27,

 JA732. EPA reasonably concluded that other critical outcomes associated with



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 perchlorate would be captured by the Agency’s IQ endpoint approach, particularly

 given the many conservative assumptions built into its model. See Response to

 Comments at 8-57–8-58, JA740–41; supra pp. 36–37.

       NRDC suggests that IQ is not an appropriate surrogate for other

 neurodevelopmental effects because the Pop (1999), Pop (2003), and Endendijk

 studies showed 1–3% adverse effects to the non-IQ neurodevelopmental endpoints

 they evaluated at lower perchlorate doses than the Korevaar reanalysis. Pet. Br. at

 54. (The Finken study on reaction times had higher exposure levels). But there is

 no reason to believe that the reason these studies observed an effect at lower

 exposure levels is due any greater sensitivity of those types of health rather than

 the reasons EPA eliminated those studies from consideration: the significantly

 smaller study size and failure to adjust for confounders in the two Pop studies, or

 the difficulty of interpreting anxiety and depression scores in Endendijk. See 84

 Fed. Reg. at 30,534–35.

       In the end, EPA’s focus on IQ effects to determine what perchlorate levels

 present public health concern resulted from its reasonable selection of the most

 rigorous data that best fit its model. Given that EPA’s explanation demonstrates a

 “rational relationship” between the model and the study that provided data best

 suited for that modeling exercise, its reasoned determination should be upheld. City

 of Waukesha, 320 F.3d at 247.



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       C.     EPA reasonably concluded that perchlorate was not present
              in drinking water at levels of public health concern.

       NRDC suggests that EPA arbitrarily relied on the proposed maximum

 contaminant level goals to reassess the level at which perchlorate presents a public

 health concern. NRDC’s concern is misplaced. In its Proposed Action, EPA

 considered whether perchlorate concentrations between 18 µg/L–90 µg/L would be

 levels “at which no known or anticipated adverse effects on the health of persons

 occur[s],” for the purpose of proposing a maximum contaminant level goal. 42

 U.S.C. § 300g-1(b)(4)(A). But EPA’s ultimate conclusion was that those levels

 represented the “levels of public health concern” for assessing perchlorate’s

 frequency of occurrence for determining whether to regulate perchlorate under the

 SDWA. 42 U.S.C. § 300g-1(b)(2); see 85 Fed. Reg. at 43,995. That is the relevant

 determination here, and the relevant standard under which to review EPA’s action.

       NRDC provides no reason that levels proposed as maximum contaminant

 level goals could not also be “levels of public health concern.” The “levels of

 public health concern” standard for making the regulatory determination is not

 defined in the statute and is more flexible than the “no known or anticipated

 adverse effects” standard for maximum contaminant level goals. In its initial

 regulatory determination, EPA analyzed perchlorate’s occurrence and effects based

 on health reference levels that are “benchmarks” to determine whether a

 contaminant meets the criteria for regulation under the SDWA. 76 Fed. Reg. at


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 7,764. EPA reasonably reassessed that regulatory determination with the more

 precise analysis developed to support the proposed maximum contaminant level

 goal. And, for the reasons explained above, EPA reasonably assessed perchlorate

 at the level that would avoid a 1% IQ decrease in the most sensitive population.

 EPA’s determination is entitled to deference and should be upheld.

 III.   EPA Reasonably Updated Its Perchlorate Occurrence Data to
        Account for Methodological Discrepancies and Regulatory
        Developments Significantly Affecting Real-World Conditions.

        To evaluate whether perchlorate occurs with sufficient frequency at levels of

 public health concern, EPA reasonably relied on UCMR 1 monitoring data updated

 to address data inconsistencies and to reflect substantial real-world changes in the

 fifteen years between UCMR 1 sampling and EPA’s ultimate regulatory decision.

        A.    EPA reasonably removed data points from source water
              samples where the system had concurrently or in follow-up
              sampling taken superseding samples from entry points.

        The first of EPA’s two “updates” to the UCMR 1 data set was excluding

 redundant, less-meaningful samples. The UCMR 1 data collection was aimed at

 evaluating the contaminant occurrence in public drinking water systems, that is, “a

 system for the provision to the public of water for human consumption.” 40 C.F.R.

 § 142.2. EPA’s UCMR 1 guidelines accordingly required that any public water

 system that reported detecting perchlorate in source water was to take follow-up

 samples from the entry point to the distribution system, which provides a closer



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 measure of the contaminant levels to which drinking water consumers are actually

 exposed. Occurrence Report Appx. B at B-1, JA496. After reviewing the UCMR 1

 dataset, EPA identified 199 source water samples for which there was already

 concurrent or follow-up sampling from the system entry point already in the

 dataset. Id. EPA then excluded those redundant 199 source water samples in favor

 of the entry point samples.

       EPA’s decision to exclude those source water samples was reasonable.

 Removing the 199 source water samples is consistent with EPA’s pre-existing

 guidelines for the UCMR 1 sampling effort. Occurrence Report Appx. B at B-1,

 JA496. Furthermore, EPA’s correction was limited to source water samples that

 could be paired with a second concurrent or follow-up sample taken from where

 water enters the distribution system. 84 Fed. Reg. at 30,542. Excluding those

 samples provided a more accurate description of consumers’ true exposure to the

 contaminant.

       Moreover, eliminating source water samples in favor of entry point samples

 for the same system provides a more accurate picture of perchlorate’s incidence

 and concentration in actual drinking water. Water systems may mix source waters,

 diluting potentially contaminated sources, or apply treatments that remove

 contaminated solids. See, e.g., Occurrence Report at 14, Appx. A at A-10, JA440,

 JA475. That may explain why a disproportionate number of the 199 source water



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 samples—48.7% (97 of 199), compared with 1.58% (540 of 34,132) of the full

 UCMR 1 dataset—were detections. The fact that eliminating those 199 eliminated

 15.2% (97 of 637) of the UCMR 1’s original detections is a function of the low

 overall number of detections. Although NRDC tries to paint the exclusion of the

 199 source water samples as biased, EPA applied neutral criteria: whether the

 samples were from source waters, and whether there were samples from the

 distribution entry point of the very same system already included in the dataset.

 NRDC provides no reason to believe that eliminating such superseded source water

 samples would create an inaccurate picture of actual perchlorate contamination in

 drinking water systems.

       Additionally, the exclusion of these samples from EPA’s updated

 perchlorate occurrence evaluation does not, as NRDC contends, reverse any prior

 decision. See Pet. Br. at 65–66. NRDC suggests that a letter to the U.S. Chamber of

 Commerce in which EPA wrote that the UCMR 1 data “were appropriate for use in

 the context of the regulatory determination for perchlorate” represents a decision

 that the 199 samples were “consistent with its data quality guidelines.” Pet. Br. at

 66.

       That reads far too much into the Chamber of Commerce letter. In that letter,

 EPA stated that it would “further evaluate available information on the occurrence

 of perchlorate in public water systems, including data provided in [the Chamber’s



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 Request for Correction].” Letter from EPA to William L. Kovacs, U.S. Chamber of

 Commerce (February 28, 2013) at 1, JA290. Indeed, EPA explicitly stated that it

 would “reassess” the UCMR 1 data and “carefully consider your comments.” Id.

 EPA further noted that UCMR 1 guidelines did allow source water sampling under

 some circumstances. Id. EPA then stated, “Notwithstanding the fact that some

 public water systems with source-water positives did not also collect samples at the

 entry point to the distribution system, as provided for in UCMR1, the EPA believes

 that the source water results serve as an indicator of likely perchlorate occurrence

 in drinking water.” Id. at 1–2, JA290–91.

       That statement is consistent with the approach that EPA took here: Where

 EPA identified samples taken from source waters where there was not follow-up

 sampling at the system entry point, EPA retained those samples. See Occurrence

 Report Appx. B at B-3, JA498. But where the system had conducted the more

 accurate follow-up sampling, EPA eliminated the redundant and less meaningful

 source water sample from the data set. Id.

       But even if eliminating the 199 redundant samples could be characterized as

 a change in position, EPA adequately explained why it did so. See 84 Fed. Reg. at

 30,541–42; Occurrence Report Appx. B at B-1–B-3, JA496–98. EPA’s action, and

 the reasons given for that action, were reasonable.




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       B.     EPA reasonably accounted for state regulation that
              dramatically changed the national perchlorate
              contamination landscape.

       EPA’s second update to its perchlorate occurrence data was a reasonable

 way to address state regulatory changes that indisputably had a dramatic effect on

 the incidence and level of perchlorate contamination. After the UCMR 1 data was

 collected between 2001 and 2005, Massachusetts and California each implemented

 state drinking water standards that require public water systems to keep perchlorate

 levels in drinking water below state limits of 2 µg/L and 6 µg/L, respectively. 84

 Fed. Reg. at 30,542. These actions, in addition to remediation and treatment at two

 major sources of perchlorate contamination on the Lower Colorado River, which

 provides drinking water to Southern California, led to decreased perchlorate

 contamination after the UCMR 1 data were collected. Although EPA concluded

 that the UCMR 1 data still was the best, most representative data from which to

 make a determination about national perchlorate occurrence, there was

 nevertheless convincing evidence that circumstances on the ground—particularly

 in California, a state with an outsized effect on the number and concentration of

 perchlorate detections in the UCMR 1 dataset—had changed. EPA’s decision to

 update the data was a reasonable response to the evidence of that change, and its

 methodology for doing so was sound.




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              1.     There is convincing evidence that perchlorate
                     contamination has declined since the UCMR 1 data
                     were collected.

       Faced with substantial record evidence that perchlorate contamination in key

 areas of the country has declined in the last 15 years, EPA reasonably determined it

 should find a way to address those changed circumstances in its regulatory

 determination. As EPA explained, the Agency “recognized that the promulgation

 of State . . . perchlorate standards represented a significant action that needed to be

 considered to adequately estimate perchlorate occurrence.” Response to Comments

 at 6-18, JA717. The evidence in the record tells a convincing story of declining

 contamination.

       First, perchlorate remediation efforts in the Lower Colorado River upstream

 of Lake Mead have led to sustained decreases in perchlorate concentrations. See 85

 Fed. Reg. at 43,995; Response to Comments at 6-1, JA700; Occurrence Report

 Appx. A at A-8, JA473. Lake Mead is the main source of drinking water for

 Southern California and a major source for public water systems in Arizona. Id.

 The primary sources of perchlorate contamination in the Lower Colorado River are

 manufacturing facilities in Nevada. Id. Following successful remediation efforts at

 two industrial sites in that area, water sampling from several downstream locations

 around Lake Mead have showed “a consistent decreasing trend in perchlorate




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 concentrations,” with most samples from three different locations showing

 concentrations at or below 2 µg/L. Id.

       Second, state regulation has led to dramatic declines in perchlorate

 contamination in California and Massachusetts. 85 Fed. Reg. at 43,995;

 Occurrence Report Appx. A at A-8, JA473. Since the UCMR 1 sampling between

 2001 and 2005, Massachusetts (in 2006) established an enforceable drinking water

 standard for perchlorate of 2 µg/L and California (in 2007) set an enforceable

 standard of 6 µg/L. Id. These regulations have had a significant impact on

 perchlorate contamination in those states. Monitoring data from these states

 demonstrates that perchlorate contamination has decreased since the standards

 were implemented. In California, the percentage of small systems detecting

 perchlorate over the state standard of 6 µg/L dropped from 11.7% from 1997–2006

 to 6.6% from 2007–2018; for large systems, that proportion dropped from 13.0%

 to 11.4%. 8 Furthermore, of the 43 systems where perchlorate had been detected

 during UCMR 1 sampling had no or lower perchlorate detection; only two had

 higher detections, although those still met the 6 µg/L state standard. See

 Occurrence Report Appx. B. at B-7–B-9, JA502–04. State monitoring in



 8
   EPA explained the methodological limitations of this monitoring dataset,
 including that it includes detections in “finished” drinking water and raw source
 water, in Appendix A of the Occurrence Report. Occurrence Report Appx. A at A-
 25–A-26, JA490–91.

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 Massachusetts shows that, in 2019, no large systems and only 0.8% of small

 systems detected perchlorate above 4 µg/L. Occurrence Report Appx. A at A-20,

 JA485.

       The effect of state regulation, particularly in California, is significant to the

 national perchlorate contamination picture because California represented a

 disproportionate share of the perchlorate contamination observed in the UCMR 1

 results. In the original UCMR 1 dataset, after the elimination of the 199 redundant

 samples addressed in Part III.A, supra, 320 of 540 samples in which perchlorate

 was detected were in California. Occurrence Report Appx. D at D-3, JA523.

 California represents 50 of 149 public water systems where perchlorate was

 detected. Id. at D-1, JA521. The 8,387,543 people served by those 50 systems

 represents more than 50% of the total population served by public water systems

 with perchlorate detections in the UCMR 1 data. Id. at D-5, JA525.9

       In contrast, there is no similarly significant story indicating that perchlorate

 contamination elsewhere in the country has increased. NRDC contends that “the

 fireworks industry . . . has grown more than 300%,” Pet. Br. at 63, but it cites only

 its extra-record expert declaration. That declaration should be disregarded for the

 reasons set out in EPA’s response to NRDC’s Motion to Supplement the



 9
  Massachusetts had one detection in one public water system serving
 approximately 13,000 people. Id. at D-3, D-5, JA523, 525.

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 Administrative Record. Nevertheless, the declaration states only that “fireworks

 industry revenue increased by 300%” between 2001 and 2020, and does not

 address whether that growth has contributed to additional environmental releases.

 Solomon Decl. ¶ 16.

       In sum, EPA was confronted with compelling evidence of a substantial

 change in circumstances between the time the UCMR 1 data were collected and the

 time of its proposed action. EPA’s decision to address these circumstances with a

 limited update of the UCMR 1 data, described further below, was reasonable.

              2.    EPA’s method for incorporating more recent
                    California and Massachusetts perchlorate monitoring
                    data was sound.

       EPA decided to address the real-world changes described above with limited

 data substitutions to better reflect current conditions in Massachusetts and

 California. Because of the regulations, both States had robust state compliance

 monitoring data available. Using that data, EPA identified all systems and

 corresponding entry points that had reported perchlorate detections in UCMR 1. 84

 Fed. Reg. at 30,542. EPA then used available data from annual reports required by

 the SDWA and state compliance monitoring data to match current data to the

 corresponding water systems and entry points sampled during UCMR 1. Id. If

 there was not more recent data, EPA retained the original UCMR 1 data. Id.




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          To account for different minimum reporting levels between the state

 compliance monitoring and UCMR 1, EPA developed a convention. If a system

 reported that perchlorate was not detected in the more recent data, EPA still noted

 that system as a detection, but substituted 4 µg/L—the minimum reporting level

 for the method used in the UCMR 1 sampling—for the concentration previously

 detected. 84 Fed. Reg. at 30,542; Occurrence Report Appx. B at B-7, JA502. If a

 system reported that it detected perchlorate within state standards, EPA substituted

 2 µg/L (for Massachusetts) or 6 µg/L (for California) for the concentration

 previously detected. Id. And if the system reported a concentration above state

 standards, EPA substituted in that reported concentration. Id.

          This substitution exercise did not change the number of detections—540,

 following the elimination of the 199 redundant sampling points discussed in Part

 III.A, above.10 The substitution for more recent data changed only the

 concentration of perchlorate for those California and Massachusetts sample points

 where more recent data was available. Moreover, the limited substitution did not

 dramatically change the number of systems affected at levels of public health

 concern. Notably, EPA’s 2019 analysis that 15 public water systems (0.03%) had

 perchlorate detection over 18 µg/L is not significantly different from its 2008

 preliminary determination not to regulate perchlorate, which, using the UCMR 1


 10
      Of those 540, 320 detections were in California and 1 was in Massachusetts.

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 database and a 15 µg/L Health Reference Level, indicated that perchlorate

 occurred at levels of health concern in only 0.8% of public water systems serving

 less than one million people. 85 Fed. Reg. at 43,996. EPA’s approach, which

 substituted perchlorate concentration values only where recent data could be

 reliably matched to an existing UCRM 1 entry point result, reasonably

 incorporated new facts on the ground while retaining the benefits of the

 methodological rigor and national representativeness of the UCMR 1 data.

 Occurrence Report Appx. B at B-7, JA502; see also Response to Comments at 6-

 18, JA717.

       EPA’s approach appropriately balanced two conflicting but valid concerns:

 that UCMR 1 was the only dataset providing a nationally representative picture of

 perchlorate contamination across the country, but also that UCMR 1 would not

 reflect reductions in perchlorate contamination from more recent remediation and

 state regulation. See Response to Comments at 6-1, JA700. EPA’s limited update

 was a reasonable compromise to account for current conditions. Id.

              3.    EPA’s data update is consistent with other record
                    evidence that perchlorate contamination has declined.

       Other sources of water quality monitoring data also support the view that

 perchlorate contamination has declined in the last fifteen years. For instance, EPA

 contacted the 15 water systems at which perchlorate had been detected at or above

 18 µg/L based on the updated UCMR 1 data and found that many systems had


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 conducted monitoring after the UCMR 1 collection and had found decreased levels

 or had taken mitigation efforts to address perchlorate. 85 Fed. Reg. at 43,996.

 Some systems had addressed contamination by removing perchlorate-contaminated

 wells from service, e.g. Oconee County Georgia, Deming Municipal Water

 System, New Mexico, and City of Levelland, Texas, or had installed perchlorate

 treatment, e.g., City of Aberdeen and Chapel Hill-Aberdeen Proving Grounds,

 Maryland. Id.

       Similarly, other monitoring data shows a declining trend. As discussed

 above, sampling in the Lower Colorado River, which contributes drinking water to

 a number of public water systems, significantly decreased between 1997 and 2016,

 following remediation efforts at two industrial sites. Occurrence Report Appx. A at

 A-8, JA473. A U.S. Geological Survey’s study of ambient ground and surface

 waters—not finished drinking water—has showed a general decline in detected

 perchlorate concentrations. Id. at A-3, JA468.

       Although NRDC contends that this survey shows that the overall number of

 perchlorate detections has increased between 2003–2012 and 2013–2016, Pet. Br.

 at 69, EPA explained that minimum reporting levels for a perchlorate detection

 varied over time, meaning that “in some cases the minimum concentration reported

 as a detection could be lower than the highest reporting level.” Occurrence Report

 Appx. A at A-2, JA467. Regardless, even the maximum perchlorate concentrations



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 reported in the survey were below the 18 µg/L level that EPA concluded could

 present public health concerns. Id. at A-3, JA468.

       NRDC also mischaracterizes other data in EPA’s Occurrence Report. For

 instance, NRDC contends that 2017 data from the U.S. Geological Survey’s

 National Water Information System showed that 72.22% of drinking water samples

 detected perchlorate with a median concentration of 15 µg/L. Pet. Br. at 68. But

 that number represents only 13 total samples; the vast majority of the sampling in

 that survey was of ambient water, where the median concentration of perchlorate

 detection was 1.5 µg/L for groundwater and 0.248 µg/L for surface water.

 Occurrence Report at A-4–A-5, JA469–70. Similarly, although ambient water

 samples in an EPA dataset showed perchlorate detections in 88% of sampled

 groundwater and surface waters, see Pet. Br. at 68, the median concentration for all

 sites was 2.9 µg/L. Occurrence Report Appx. A at A-6, JA471. And although

 Petitioners point to a 2005–2006 survey by the Centers for Disease Control

 detected perchlorate in 83% of tapwater samples, even the 95th percentile

 detection concentration was just 1.89 µg/L. Id. at A-15, JA480.

       Finally, NRDC contends that sampling in Texas around the same time as the

 UCMR 1 showed more perchlorate detections, indicating that UCMR 1

 underestimated perchlorate contamination. Pet. Br. at 60. That state sampling used

 a much lower minimum reporting level than the UCMR 1—1 µg/L rather than 4



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 µg/L—so comparing detection rates is comparing apples to oranges. See

 Occurrence Report Appx. A at A-24, JA489. Moreover, EPA already

 acknowledged that the UCMR 1 data could underestimate actual perchlorate

 occurrence in Texas because a substantial portion of Texas’s large public water

 systems (12 of 32) failed to report their perchlorate results. Occurrence Report at

 17, JA443. EPA noted, however, that all non-responsive large systems across the

 country, including those in Texas, serve only about 0.7% of the country’s total

 population. Id.

       In sum, available information supports EPA’s decision to update the UCMR

 1 dataset to account for new information showing declining perchlorate

 contamination. NRDC’s petition for review should be denied.

                                   CONCLUSION

       For the foregoing reasons, the court should deny the petition for review.

                                           Respectfully submitted,

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                                           TODD KIM
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 U.S. Environmental Protection Agency      U.S. Department of Justice

 December 6, 2022




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                       CERTIFICATE OF COMPLIANCE

       1.    This document complies with the type-volume limit of Federal Rule

 of Appellate Procedure 32(a)(7)(B) because, excluding the parts of the document

 exempted by Federal Rule of Appellate Procedure 32(f) this document contains

 12,945 words.

       2.    This document complies with the typeface requirements of Federal

 Rule of Appellate Procedure 32(a)(5) and the type-style requirements of Federal

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 a proportionally spaced typeface using Microsoft Word 2016 in 14-point Times

 New Roman font.

                                          /s/ Sarah A. Buckley
                                          SARAH A. BUCKLEY

                                          Counsel for Respondents




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                              CERTIFICATE OF SERVICE

       I hereby certify that on this 6th day of December, 2022, the foregoing EPA’s

 Final Response Brief has been served on all registered counsel through the Court’s

 electronic filing systems.

                                          /s/ Sarah A. Buckley
                                          SARAH A. BUCKLEY

                                          Counsel for Respondent




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      STATUTORY AND
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  Code of Federal Regulations
    Title 40. Protection of Environment
      Chapter I. Environmental Protection Agency (Refs & Annos)
         Subchapter D. Water Programs
            Part 142. National Primary Drinking Water Regulations Implementation (Refs & Annos)
               Subpart A. General Provisions

                                                       40 C.F.R. § 142.2

                                                      § 142.2 Definitions.

                                                          Currentness


As used in this part, and except as otherwise specifically provided:

Act means the Public Health Service Act.

Administrator means the Administrator of the United States Environmental Protection Agency or his authorized representative.

Agency means the United States Environmental Protection Agency.

Approved State primacy program consists of those program elements listed in § 142.11(a) that were submitted with the initial
State application for primary enforcement authority and approved by the EPA Administrator and all State program revisions
thereafter that were approved by the EPA Administrator.

Contaminant means any physical, chemical, biological, or radiological substance or matter in water.

Federal agency means any department, agency, or instrumentality of the United States.

Indian Tribe means any Indian Tribe having a Federally recognized governing body carrying out substantial governmental
duties and powers over a defined area.

Interstate Agency means an agency of two or more States established by or under an agreement or compact approved by the
Congress, or any other agency of two or more States or Indian Tribes having substantial powers or duties pertaining to the
control of pollution as determined and approved by the Administrator.

Maximum contaminant level means the maximum permissible level of a contaminant in water which is delivered to the free
flowing outlet of the ultimate user of a public water system; except in the case of turbidity where the maximum permissible level
is measured at the point of entry to the distribution system. Contaminants added to the water under circumstances controlled
by the user, except for those resulting from corrosion of piping and plumbing caused by water quality are excluded from this
definition.

Municipality means a city, town, or other public body created by or pursuant to State law, or an Indian Tribe which does not
meet the requirements of subpart H of this part.

National primary drinking water regulation means any primary drinking water regulation contained in part 141 of this chapter.




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§ 142.2 Definitions., 40 C.F.R. § 142.2
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Person means an individual; corporation; company; association; partnership; municipality; or State, federal, or Tribal agency.

Primary enforcement responsibility means the primary responsibility for administration and enforcement of primary drinking
water regulations and related requirements applicable to public water systems within a State.

Public water system or PWS means a system for the provision to the public of water for human consumption through pipes or,
after August 5, 1998, other constructed conveyances, if such system has at least fifteen service connections or regularly serves
an average of at least twenty-five individuals daily at least 60 days out of the year. Such term includes:

Any collection, treatment, storage, and distribution facilities under control of the operator of such system and used primarily
in connection with such system; and any collection or pretreatment storage facilities not under such control which are used
primarily in connection with such system. Such term does not include any “special irrigation district.” A public water system
is either a “community water system” or a “noncommunity water system” as defined in § 141.2.

Sanitary survey means an onsite review of the water source, facilities, equipment, operation and maintenance of a public water
system for the purpose of evaluating the adequacy of such source, facilities, equipment, operation and maintenance for producing
and distributing safe drinking water.

Service connection, as used in the definition of public water system, does not include a connection to a system that delivers
water by a constructed conveyance other than a pipe if:

(1) The water is used exclusively for purposes other than residential uses (consisting of drinking, bathing, and cooking, or other
similar uses);

(2) The Administrator or the State exercising primary enforcement responsibility for public water systems, determines that
alternative water to achieve the equivalent level of public health protection provided by the applicable national primary drinking
water regulation is provided for residential or similar uses for drinking and cooking; or

(3) The Administrator or the State exercising primary enforcement responsibility for public water systems, determines that the
water provided for residential or similar uses for drinking, cooking, and bathing is centrally treated or treated at the point of
entry by the provider, a pass-through entity, or the user to achieve the equivalent level of protection provided by the applicable
national primary drinking water regulations.

Special irrigation district means an irrigation district in existence prior to May 18, 1994 that provides primarily agricultural
service through a piped water system with only incidental residential or similar use where the system or the residential or similar
users of the system comply with the exclusion provisions in section 1401(4)(B)(i)(II) or (III).

State means one of the States of the United States, the District of Columbia, the Commonwealth of Puerto Rico, the Virgin
Islands, Guam, American Samoa, the Commonwealth of the Northern Mariana Islands, the Trust Territory of the Pacific Islands,
or an eligible Indian tribe.

State primary drinking water regulation means a drinking water regulation of a State which is comparable to a national primary
drinking water regulation.

State program revision means a change in an approved State primacy program.

Supplier of water means any person who owns or operates a public water system.




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Treatment technique requirement means a requirement of the national primary drinking water regulations which specifies for
a contaminant a specific treatment technique(s) known to the Administrator which leads to a reduction in the level of such
contaminant sufficient to comply with the requirements of part 141 of this chapter.


Credits
[53 FR 37410, Sept. 26, 1988; 54 FR 52137, Dec. 20, 1989; 59 FR 64344, Dec. 14, 1994; 63 FR 23367, April 28, 1998]


SOURCE: 41 FR 2918, Jan. 20, 1976; 52 FR 20674, June 2, 1987; 52 FR 41550, Oct. 28, 1987; 53 FR 37410, Sept. 26, 1988;
54 FR 27537, June 29, 1989; 54 FR 52137, Dec. 20, 1989; 63 FR 44535, Aug. 19, 1998, unless otherwise noted.


AUTHORITY: 42 U.S.C. 300f, 300g–1, 300g–2, 300g–3, 300g–4, 300g–5, 300g–6, 300j–4, 300j–9, and 300j–11.


Current through Sept. 16, 2022, 87 FR 57135, except for 40 CFR § 52.220, which is current through Sept. 1, 2022. Some
sections may be more current. See credits for details.

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                                         64 FR 50556-01, 1999 WL 719398(F.R.)
                                              RULES and REGULATIONS
                                       ENVIRONMENTAL PROTECTION AGENCY
                                              40 CFR Parts 9, 141 and 142
                                                     [FRL-6433-1]
                                                   RIN 2040-AD15

                 Revisions to the Unregulated Contaminant Monitoring Regulation for Public Water Systems

                                                  Friday, September 17, 1999


*50556 AGENCY: Environmental Protection Agency.


ACTION: Final rule.

SUMMARY: The Safe Drinking Water Act (SDWA), as amended in 1996, requires the U.S. Environmental Protection Agency
(EPA) to establish criteria for a program to monitor unregulated contaminants and, by August 6, 1999, to publish a list of
contaminants to be monitored. To conform to the Amendments, today EPA is promulgating the Unregulated Contaminant
Monitoring Regulation (UCMR) for Public Water Systems (PWSs), which revises substantially the existing regulations for
unregulated contaminant monitoring.

This final rule includes a list of contaminants to be monitored, procedures for selecting a representative nationwide sample of
small PWSs that will be required to monitor, the frequency and schedule for monitoring, the sampling points, the approved
analytical methods to be used, and procedures for entering the monitoring data in the National Drinking Water Contaminant
Occurrence Database (NCOD), as required under section 1445 of SDWA, as amended. The data in the database will be used to
identify contaminants on the Drinking Water Contaminant Candidate List (CCL), to support the Administrator's determination
of whether or not to develop drinking water standards for a particular contaminant, and to develop standards for the contaminants
that the Administrator selects.

DATES: Effective Date: The final rule is effective January 1, 2001.
For purposes of judicial review, this final rule is promulgated as on 1 p.m. Eastern time on October 1, 1999 as provided in
40 CFR 23.7.

The incorporation by reference of the publications listed in today's rule is approved by the Director of the Federal Register
as of January 1, 2001.


ADDRESSES: Documents relevant to this action are available for inspection from 9 a.m. to 4 p.m. Monday through Friday,
excluding legal holidays, at the Water Docket, East Tower Basement, U.S. EPA, 401 M Street, SW, Washington DC. For access
to docket (Docket No. W-98-02) materials, please call (202) 260-3027 between 9 a.m. and 3:30 p.m, Eastern Time, Monday
through Friday, to schedule an appointment. A reasonable fee may be charged for copying.

FOR FURTHER INFORMATION CONTACT: Charles Job, Standards and Risk Management Division, Office of Ground Water
and Drinking Water (MC-4607), U.S. Environmental Protection Agency, 401 M Street, SW, Washington, D.C. 20460, (202)
260-7084. General information may also be obtained from the EPA Safe Drinking Water Hotline. Callers within the United
States may reach the Hotline at (800) 426-4791. The Hotline is open Monday through Friday, excluding federal holidays, from
9:00 a.m. to 5:30 p.m. Eastern Time.

SUPPLEMENTARY INFORMATION:


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Abbreviations and Acronyms Used in the Preamble and Final Rule

2,4-DNT—2,4-dinitrotoluene

2,6-DNT—2,6-dinitrotoluene

4,4′-DDE—4,4′-dichloro dichlorophenyl ethylene, a degradation product of DDT

Alachlor ESA—alachlor ethanesulfonic acid, a degradation product of alachlor

AOAC—Association of Official Analytical Chemists

APHA—American Public Health Association

ASDWA—Association of State Drinking Water Administrators

ASTM—American Society for Testing and Materials

BGM—Buffalo Green Monkey cells, a specific cell line used to grow viruses

CAS—Chemical Abstract Service

CASRN—Chemical Abstract Service Registry Number

CCL—Contaminant Candidate List

CCR—Consumer Confidence Reports

CERCLA—Comprehensive Environmental Response, Compensation & Liability Act

CFR—Code of Federal Regulations

CFU—colony forming unit




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CFU/mL—colony forming units per milliliter

CWS—community water system

DCPA—dimethyl tetrachloroterephthalate, chemical name of the herbicide dacthal

DCPA mono- and di-acid degradates—degradation products of DCPA

DDE—dichloro dichlorophenyl ethylene, a degradation product of DDT

DDT—dichloro diphenyl trichloroethane, a general insecticide

DNA—deoxyribonucleic acid

EDL—estimated detection limit

EPA—Environmental Protection Agency

EPTC—s-ethyl-dipropylthiocarbamate, an herbicide

EPTDS—Entry Point to the Distribution System

ESA—ethanesulfonic acid, a degradation product of alachlor

FACA—Federal Advisory Committee Act

FTE—full-time equivalent

GC—gas chromatography, a laboratory method

GLI method—Great Lakes Instruments method

GW—ground water

GWUDI—ground water under the direct influence (of surface water)

HPLC—high performance liquid chromatography, a laboratory method

ICR—Information Collection Request/Rule

IRFA—initial regulatory flexibility analysis

IMS—immunomagnetic separation

IRIS—Integrated Risk Information System

IS—internal standard

LLE—liquid/liquid extraction, a laboratory method

MAC—Mycobacterium avium complex

MOA—Memorandum of Agreement

MCL—maximum contaminant level




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MDL—method detection limit

MRL—minimum reporting level

MS—mass spectrometry, a laboratory method

MSD—sample matrix spike duplicate

MTBE—methyl-tertiary-butyl-ether, a gasoline additive

NAWQA—National Water Quality Assessment Program

NCOD—National Drinking Water Contaminant Occurrence Database

NDWAC—National Drinking Water Advisory Council

NERL—National Environmental Research Laboratory

NPS—National Pesticide Survey

NTIS—National Technical Information Service

NTNCWS—non-transient non-community water system

NTTAA—National Technology Transfer and Advancement Act

OGWDW—Office of Ground Water and Drinking Water

OMB—Office of Management and Budget

PAH—Poly-aromatic hydrocarbon

PB—particle beam

PBMS—Performance-Based Measurement System

pCi/L—picocuries per liter

PCR—polymerase chain reaction *50557

210
      Pb—Lead-210 (also Pb-210), a lead isotope and radionuclide; part of the uranium decay series

210
      Po—Polonium-210 (also Po-210), a polonium isotope and radionuclide; part of the uranium decay series

PWS—Public Water System

PWSF—Public Water System Facility

QA—quality assurance

QC—quality control

RDX—royal demolition explosive, hexahydro-1,3,5-trinitro-1,3,5-triazine

RFA—Regulatory Flexibility Act



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RPD—relative percent difference

RSD—relative standard deviation

SBREFA—Small Business Regulatory Enforcement Fairness Act

SD—standard deviation

SDWA—Safe Drinking Water Act

SDWIS—Safe Drinking Water Information System

SDWIS FED—the Federal Safe Drinking Water Information System

SM—Standard Methods

SMF—Standard Compliance Monitoring Framework

SMS—sample matrix spike

SOC—synthetic organic compound

SPE—solid phase extraction, a laboratory method

SRF—State Revolving Fund

STORET—Storage and Retrieval System

SW—surface water

TBD—to be determined

TNCWS—transient non-community water system

UCMR—Unregulated Contaminant Monitoring Regulation/Rule

UCM—Unregulated Contaminant Monitoring

UMRA—Unfunded Mandates Reform Act of 1995

USEPA—United States Environmental Protection Agency

UV—ultraviolet

VOC—volatile organic compound

MUg/L—micrograms per liter

Preamble Outline

I. Statutory Authority

II. Major Program Revisions

III. Regulatory Background




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(b) Regulatory Approach for the UCMR (1999) List

(c) Analytical Methods Applicable to the UCMR (1999) List

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(ii) Microbiological Analytical Methods

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(ii) Microbiological Contaminants.

(b) Systems Serving 10,000 or Fewer Persons




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2. To whom must I report?

3. When do I report monitoring results?

4. What information must I report?

5. How must I report this information?

6. Can the laboratory to which I send samples report the results for me?

7. Can I report previously collected data to meet the testing and reporting requirements for the contaminants in §141.40(a)(3)?

B. §141.40—Monitoring Requirements for Unregulated Contaminants

1. Requirements for Owners and Operators of Public Water Systems

(a) Do I have to monitor for unregulated contaminants?

(b) How would I be selected for the monitoring under the State Monitoring Plan, the screening survey, or the pre-screen testing?

(c) For which contaminants must I monitor?

(d) What general monitoring requirements must I follow for List 1 monitoring?

(e) What specific sampling and quality control requirements must I follow for monitoring of List 1 contaminants?

(i) All systems

(ii) Large systems

(A) Timeframe

(B) Frequency

(C) Location

(D) Sampling instructions

(E) Testing and analytical methods

(F) Sampling deviations

(G) Testing




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(iii) Small systems that are part of the State Monitoring Plan

(A) Frequency

(B) Location

(C) Sampling deviations

(D) Sample kits

(E) Sampling instructions

(F) Duplicate samples

(G) Sampling forms

(H) Sample submission

(f) What additional requirements must I follow if my system is selected as an Index system?

(g) What must I do if my system is selected for the Screening Survey or Pre-Screen Testing?

(h) What is a violation of this rule?

2. Requirements for State and Tribal Participation

(a) How can I as the director of a State or Tribal drinking water program participate in unregulated contaminant monitoring,
including the State Monitoring Plan for small systems, and the Screening Survey and Pre-Screen Testing of all systems?

(b) What if I decide not to enter into an MOA?

(c) Can I add contaminants to the Unregulated Contaminant Monitoring List?

(d) Can I waive monitoring requirements?

C. Appendix A—Quality Control Requirements for Testing All Samples Collected

D. §142.15—Reports by States

E. §142.16—Special primacy requirements

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B. EPA Funding for Small System Testing

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E. Regulation Format

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A. Implementation of the Rule

1. Setting an Effective Date.

2. Analytical Methods for the Testing Program.

3. Testing Program for Large Systems.

4. Testing Program for Small Systems.

5. Continued Development of Analytical Methods.

6. Determining the Representative National Sample and State Monitoring Plans. *50558

7. Specifying the Vulnerable Monitoring Period.

8. Conducting the Sampling.

9. Establishing Sampling Points.

10. Large Systems.

11. Systems in State Monitoring Plans.

12. Screening Survey.

13. Pre-Screen Testing.

14. Testing.

15. Reporting Requirements.

16. Record Keeping.

17. Previously Collected Data.

18. Modifying the Monitoring List.

B. Implementation in Indian Country

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X. Guidance Manuals

XI Costs and Benefits of the Rule

A. Program Cost Estimates

1. Assumptions: Assessment Monitoring

2. Estimated Average Annual Cost for 5-Year Program: Assessment Monitoring Only

B. Estimated Net Costs

C. Benefits




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XII. Administrative Requirements

A. Executive Order 12866—Regulatory Planning and Review

B. Executive Order 13045—Protection of Children From Environmental Health Risks and Safety Risks

C. Unfunded Mandates Reform Act

D. Paperwork Reduction Act

E. Regulatory Flexibility Act

1. Full Assessment Monitoring Implementation Scenario

2. Limited Implementation Scenario

F. National Technology Transfer and Advancement Act

G. Executive Order 12898—Federal Actions to Address Environmental Justice in Minority Populations and Low-Income
Populations

H. Federalism Executive Orders

I. Executive Order 13084—Consultation and Coordination with Indian Tribal Governments

J. Congressional Review Act

XIII. Public Involvement in Regulation Development

XIV. References

Potentially Regulated Entities
The regulated entities are public water systems. All large community and non-transient non-community water systems serving
more than 10,000 persons are required to monitor. A community water system (CWS) means a public water system which serves
at least 15 service connections used by year-round residents or regularly serves at least 25 year-round residents. Non-transient
non-community water system (NTNCWS) means a public water system that is not a community water system and that regularly
serves at least 25 of the same persons over 6 months per year. Only a national representative sample of community and non-
transient non-community systems serving 10,000 or fewer persons would be required to monitor. Transient non-community
systems (i.e., systems that do not regularly serve at least 25 of the same persons over six months per year) would not be required
to monitor. States, Territories, and Tribes, with primacy to administer the regulatory program for public water systems under
the Safe Drinking Water Act sometimes conduct analyses to measure for contaminants in water samples and are regulated by
this action. Categories and entities potentially regulated by this action include the following:


                        Category                                 Examples of potentially regulated entities              SIC

 State, Territorial and Tribal Governments                  States, Territories, and Tribes that analyze water             9511
                                                            samples on behalf of public water systems required to
                                                            conduct such analysis; States, Territories, and Tribes
                                                            that themselves operate community and non-transient
                                                            non-community water systems required to monitor

 Industry                                                   Private operators of community and non-transient non-          4941
                                                            community water systems required to monitor



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 Municipalities                                               Municipal operators of community and non-transient               9511
                                                              non-community water systems required to monitor

This table is not intended to be exhaustive, but rather provides a guide for readers regarding entities likely to be regulated by
this action. This table lists the types of entities that EPA is now aware of that could potentially be regulated by this action. Other
types of entities not listed in the table could also be regulated. If you have questions regarding the applicability of this action to
a particular entity, consult the person listed in the preceding FOR FURTHER INFORMATION CONTACT section.


I. Statutory Authority
SDWA section 1445(a)(2), as amended in 1996, requires EPA to establish criteria for a program to monitor unregulated
contaminants and to publish, by August 6, 1999, a list of contaminants to be monitored. To meet these requirements, today's
rule EPA substantially revises the existing Unregulated Contaminant Monitoring (UCM) Program, which is codified at 40 CFR
141.40. This final rule revises the regulations at 40 CFR 9.1, 141.35, 141.40, 142.16 and deletes and reserves 142.15(c)(3).
The rule covers: (1) the frequency and schedule for monitoring, based on PWS size, water source, and likelihood of finding
contaminants; (2) a new, shorter list of contaminants for which systems will monitor; (3) procedures for selecting and monitoring
a nationally representative sample of small PWSs (those serving 10,000 or fewer persons), and; (4) procedures for entering the
monitoring data in the National Drinking Water Contaminant Occurrence Data Base (NCOD), as required under section 1445.


II. Major Program Revisions
Since its inception in 1988, the UCM Program has collected occurrence data to help EPA determine which contaminants EPA
should regulate based on contaminant concentrations in PWSs and the contaminants' adverse health effects levels. Today's rule
is designed to improve and enhance this program in several important ways:

(1) A statistical approach to select only 800 representative systems for monitoring from the national total of 65,600 small systems
reduces the monitoring burden of the water supply industry; the burden on small systems is significantly further reduced in that
EPA will pay for virtually all of the costs associated with monitoring for the small systems that are part of the representative
sample;

(2) A smaller number of contaminants to be monitored also reduces the testing and reporting burden of the water industry overall;

(3) The required information to be reported about each contaminant has been refined to improve the data quality for regulatory
decisions; and

(4) Direct reporting of data for regulatory determination and development from systems to EPA reduces State reporting burden,
and the opportunity for electronic reporting reduces the potential for data entry and submission.

A three-tier monitoring approach allows monitoring to start promptly for contaminants with approved analytical methods,
while accommodating the need to delay implementation for contaminants needing further methods development. The rule also
allows use of a State-EPA Memorandum of *50559 Agreement, providing direct implementation in each State rather than
implementation through primacy revisions, to address the three-tiered approach of the UCMR.

This program is a cornerstone of the “sound science” approach to future drinking water regulations, which is a goal of the
1996 SDWA Amendments. Data generated by this final rule will be used to: (1) evaluate and prioritize contaminants on the
Contaminant Candidate List (CCL) and refine the CCL; (2) support the Administrator's determination of whether to regulate a
contaminant under the drinking water program; and, (3) support the development of drinking water regulations.




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In a related, cost-savings action, EPA published a Direct Final Rule (64 FR 1494) on January 8, 1999, suspending the monitoring
requirements in effect for small systems serving 10,000 or fewer persons. The third round of monitoring by small systems
under the existing list of unregulated contaminants would have overlapped with the monitoring required under this final rule.
The Direct Final Rule saved small systems and States the cost of unnecessary monitoring. EPA believes it obtained sufficient
data from the previous monitoring rounds to make decisions concerning the occurrence of the unregulated contaminants on
its prior monitoring list for these systems. Large systems were not included in this Direct Final Rule since they had already
begun the third round of monitoring in January 1998. This large system monitoring will provide confirming information on the
occurrence of those contaminants. However, this final regulation cancels further monitoring by large systems for the existing
list of contaminants effective January 1, 2001. Until that date, large systems must continue to monitor for the 48 contaminants
listed in 40 CFR 141.40 (and also listed in Table 1 of “Revisions to the Unregulated Contaminant Monitoring Regulation for
Public Water Systems,” Federal Register, vol. 64, no. 83, April 30, 1999, p. 23401 (64 FR 23401)).


III. Regulatory Background
The requirements for unregulated contaminant monitoring were first established by the 1986 SDWA Amendments. Under this
law, EPA implemented the drinking water standards in phases, with each phase having a set of contaminants for which maximum
contaminant levels in drinking water were established. The phases also included unregulated contaminants for which more
information was needed before decisions could be made regarding regulation of the contaminants. EPA included unregulated
contaminant monitoring requirements in the Phase I chemical regulation, under 40 CFR 141.40(a)-(e). The Phase II regulation
later superceded the Phase I rule, and some of the Phase I unregulated contaminants became regulated under Phase II. Additional
contaminants were also added to the list of unregulated contaminants. The Phase V chemical regulation further modified the
list of contaminants, as additional unregulated contaminants became regulated.

The basic monitoring and reporting requirements for unregulated contaminants were the same under the Phase I, Phase II, and
Phase V regulations. PWSs were required to report their monitoring results to the primacy agencies (either the State or EPA),
with States, in turn, reporting to EPA. Only systems serving fewer than 150 service connections were exempt from monitoring
—provided they made their facilities available for monitoring by the States. Repeat monitoring was required every 5 years.

Section 125 of the 1996 SDWA Amendments substantially revised unregulated contaminant monitoring program. The new
program includes: (1) a new list of contaminants (i.e., the Unregulated Contaminant Monitoring Regulation (UCMR) (1999)
List; (2) a representative sample of PWSs serving 10,000 or fewer persons to monitor; (3) placement of the monitoring data in
the NCOD, and; (4) notification of consumers that the monitoring results are available.

The 1996 amendments limit the number of contaminants to be monitored on the UCMR list to a maximum of 30. The
amendments specify that only a representative sample of small systems are required to monitor, and that EPA must pay the
reasonable costs of analyzing the samples taken by those systems. EPA will use the data generated by this monitoring effort in
the development of future drinking water regulations.

Today's final rule will completely replace the requirements of the existing rule on the final rule's effective date of January 1,
2001. The existing requirements of 40 CFR 141.35 and 141.40 still apply to large systems serving more than 10,000 persons,
(since their third round of monitoring had begun in January 1998) until January 1, 2001, as noted above in II. Major Program
Revisions.


IV. Process of Preparing the Final Rule
EPA has been developing the final revisions to the Unregulated Contaminant Monitoring Regulation (UCMR) for public water
systems since 1997. In December, 1997, EPA's UCMR development workgroup held a stakeholders meeting to obtain input
from the public on major issues and options affecting the program and emanating from the Safe Drinking Water Act, as amended
in 1996. EPA held a second stakeholders meeting in May 1998, on options under serious consideration for the UCMR. EPA
engaged eleven external expert reviewers from March 1 through April 22, 1999 to examine and comment on the technical aspects


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of the proposed rule. These technical reviewers evaluated and commented on the chemical and microbiological contaminant
analytical methods and reporting requirements, the statistical approach for the representative sample of small systems, and the
sampling and monitoring approach. The comments of the technical reviewers were available to the public through the official
docket and on the Internet through EPA's Office of Ground Water and Drinking Water electronic homepage.

EPA published the proposed rule in the Federal Register on April 30, 1999, for public comment. The comment period closed
on June 14, with submissions from 39 commenters meeting the deadline and addressing all major aspects of the proposed
regulation. EPA received one hundred sixteen comments after the public comment period closed, principally concerning the
inclusion of perchlorate on the UCMR monitoring list. EPA considered and addressed all comments in the process of developing
this final regulation.


V. Concise Description of Today's Action

A. Which Systems Must Monitor
Owners and operators of community and non-transient noncommunity water systems must monitor for unregulated
contaminants if they serve more than 10,000 persons or if they are part of the representative sample of small systems serving
10,000 or fewer persons that will be randomly selected to monitor for these contaminants. Transient systems are not required
to monitor for unregulated contaminants. Only purchased water systems that are identified by EPA or the State to sample at
locations of low disinfectant residual or longest residence time are required to monitor for distribution system contaminants.
 *50560


B. System Monitoring Requirements
The contaminants included in this action are: 2,4-dinitrotoluene, 2,6-dinitrotoluene, DCPA mono acid degradate, DCPA di acid
degradate, 4,4′-DDE, EPTC, molinate, MTBE, nitrobenzene, terbacil, acetochlor, and perchlorate. Systems must also analyze
for water quality parameters including, for chemical contaminants: pH; and for microbiological contaminants: pH, temperature,
turbidity, free disinfectant residual and total disinfectant residual. Surface water systems must monitor during four consecutive
quarters. Ground water systems must monitor two times five to seven months apart. One sampling event for surface and ground
water systems must be during the vulnerable time of May 1 to July 31, or during an alternate vulnerable time selected by the
State. Monitoring must be conducted at the entry point to the distribution system, or at other sampling locations previously
specified by the State for compliance monitoring, for sampling points representative of each principal, non-emergency water
source in use over the one year of monitoring. Large and small systems must monitor according to the quality control procedures
described. Laboratories that are certified to use the indicated methods for the contaminants listed are automatically certified
to analyze for unregulated contaminants. Small systems that are part of the representative sample which become part of State
Monitoring Plans must follow instructions given them for unregulated contaminant sampling and shipment to the designated
laboratory.


C. System Reporting Requirements
After testing for the contaminants on the monitoring list, the systems must report the results electronically to, or in an alternate
format previously arranged with, EPA within 30 days following the month they receive the results. EPA will report the results for
the small systems that are selected to be part of the State Monitoring Plans. EPA will hold the data for 60 days to allow for quality
control review by systems and States before placing the data in the National Drinking Water Contaminant Occurrence Database.

Data required to be reported include: Public Water System (PWS) Identification Number; Sample Identification Number;
Sample Collection Date; Contaminant/Parameter; Analytical Results—Sign; Analytical Result—Value; Analytical Result—
Unit of Measure; Analytical Method Number; Public Water System Facility Identification Number—Source, Treatment Plant
and Sampling Point; Sample Analysis Type; Detection Level; Detection Level Unit of Measure; Batch Identification Number;
Spiking Concentration; Analytical Precision; Analytical Accuracy; Presence/Absence.



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A system can have a laboratory report the results for it, but the system retains the responsibility for reporting. A system can report
previously collected data as long as the data meet the requirements specified in 40 CFR 141.40(a) (3), (4), (5) and Appendix A
and include the applicable water quality parameters and data listed previously that are required to be reported.


D. State and Tribal Participation
States and Tribes can enter into a Memorandum of Agreement (MOA) with the EPA concerning the implementation of the
monitoring program. The MOA must address the following: accepting or modifying the State Monitoring Plan for small systems,
determining an alternate vulnerable time, modifying the timing of monitoring, identifying sampling points for small systems,
notifying small and large systems of their monitoring responsibilities, and providing instructions to systems. A State can remove
a system from the State Monitoring Plan, after EPA review, as long as removal is not based on prior information on the occurrence
or non-occurrence of contaminants at the system or the vulnerability of the system to the contaminants. States can decide not to
participate in an MOA, in which case the EPA will establish a State Monitoring Plan. The governors of seven or more States can
petition EPA to add contaminants to the monitoring list. States can apply to EPA to waive monitoring for large systems if they
can demonstrate that the contaminants for which a monitoring waiver is sought have not occurred in the State in the past 15 years.


VI. Final Changes in the Unregulated Contaminant Monitoring Program

A. Revised List of Unregulated Contaminants To Be Monitored

1. Criteria for Selecting Contaminants for the UCMR

(a) Revising the UCMR (1999) List
Section 1445(a)(2)(B) requires EPA to list not more than 30 unregulated contaminants to be monitored by public water systems.
EPA used the 1998 Contaminant Candidate List (CCL), established under section 1412(b)(1)(B) of SDWA, as the primary basis
for selecting contaminants for future monitoring under the UCMR. Development of the CCL is discussed in the preamble to
the proposed rule at 64 FR 23402. EPA believes, and nearly all public commenters addressing the use of the CCL as the basis
for the UCMR List indicated, that the CCL process already uses the best available information on contaminants of concern and
emerging contaminants that may need regulation. SDWA section 1445 (a)(2)(B)(ii) provides for the governors of seven or more
States to petition the Agency to add contaminants to the UCMR List. This petition process allows for the flexibility to include
contaminants that are emerging as concerns between the five-year listing cycles.

The CCL lists 26 chemical and 8 microbiological contaminants as occurrence priorities because additional data on their
occurrence in drinking water are needed to help decide whether they should be regulated. The proposed rule did not address
the two contaminants identified in the preparation of the CCL as highly localized in occurrence: perchlorate and RDX
(hexahydro-1,3,5-trinitro-1,3,5-triazine). EPA now has information indicating that the occurrence of these contaminants is more
widespread than originally thought. In response to this information, some of which was provided in public comments, EPA
has added perchlorate and RDX to the final UCMR (1999) List. Perchlorate was added to the UCMR (1999) List because
EPA feels that there is enough information on its occurrence in public water systems to warrant its inclusion in a national
monitoring program. Since it was not included on the proposed UCMR (1999) List, EPA did not take comment on its analytical
method, minimum reporting level, or sampling location. EPA is currently engaged in final validation of an analytical method
for perchlorate. This validation is important because earlier analytical methods did not make adjustments for interferences from
sulfate and chloride, thus reducing or eliminating detected concentrations. EPA feels that with this validation, the analytical
method should be sufficiently ready for monitoring, and thus EPA has included perchlorate on the UCMR List 1. EPA plans to
publish, for public comment, the analytical method, minimum reporting level, and sampling location for perchlorate shortly after
the promulgation of this final rule. RDX now appears on UCMR (1999) List 2, indicating that additional information is available,
and initial monitoring of occurrence in public water systems should occur but that its method needs further refinement. *50561




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Additionally, based on technical peer review and public comments, EPA moved Aeromonas from UCMR (1999) List 1 to
UCMR (1999) List 2 in Table 1, because its analytical method is not expected to be validated until 2000 or 2001. Also, in
response to public comments that the Agency include as many contaminants that could be tested under the same multi-analyte
method as possible in Assessment Monitoring, EPA moved acetochlor to List 1 from List 2. This action is based on information
that only minor refinements are needed in the method and those can be resolved before the effective date of today's rule. As a
result, the analytical method is reserved until the details of the method are resolved. EPA plans to publish a revision to this final
rule to approve an analytical method for acetochlor shortly after this rule's promulgation. EPA will likely publish a joint request
for public comment on the analytical methods for perchlorate and acetochlor. EPA intends to approve and publish the methods
as early as possible to allow monitoring to begin on January 1, 2001, and to allow for the reporting of any data obtained prior
to January 1, 2001 to meet the requirements of this final Rule.

For the remaining contaminants on the CCL Occurrence Priorities List, EPA has evaluated the availability of analytical
methods published by EPA or voluntary consensus standards organizations, such as the American Society for Testing and
Materials (ASTM) and Standard Methods (SM). In addition, EPA prioritized analytical methods development activities for those
compounds and microorganisms for which suitable analytical methods are not currently available. As listed in List 1 of Table 1,
EPA identified 10 of the 12 listed chemical contaminants for which analytical methods are now available. UCMR (1999) List 1
contaminants are those for which monitoring is required under today's Rule, with the added note that analytical methods have
yet to be approved for perchlorate and acetochlor. UCMR (1999) List 2 of Table 1 lists 16 contaminants for which analytical
methods are being refined: 14 chemical contaminants, Aeromonas (a microorganism), and polonium-210 (discussed in Table 1).
UCMR (1999) List 3 of Table 1 identifies seven microbiological contaminants and lead-210 for which analytical methods are
being researched. Monitoring for contaminants on UCMR (1999) Lists 2 and 3 is not required until EPA promulgates revisions
to this rule to specify analytical methods and related sampling requirements for them.

EPA requested comment on the addition to the UCMR (1999) List of two naturally occurring radionuclides with health concerns
at low levels, lead-210 (pb-210), and polonium-210 (po-210). Both nuclides are in the uranium decay series, which also includes
radium-226 and radon-222. Lead-210, with a half-life of 22 years, and one of its degradates, polonium-210, with a half-life
of 138 days, have been found in drinking water. EPA is aware of the occurrence of these contaminants in shallow aquifers in
Florida (Harada, et al., 1989; Upchurch, 1991), and in at least two other States. Because of potential occurrence, consequent
health risks, and in response to public comments, EPA has added polonium-210 and lead-210 to the UCMR (1999) List and
has placed them on Lists 2 and 3 respectively.


(b) Regulatory Approach for the UCMR (1999) List
EPA establishes in §141.40(a)(3) that the contaminants listed in Lists 1-3 comprise the UCMR (1999) List, categorized based on
the availability of analytical methods. UCMR (1999) List 1 is the basis for Assessment Monitoring. Assessment Monitoring will
occur at all 2,774 large community and non-transient non-community public water systems serving more than 10,000 persons
and at a representative sample of approximately 800 systems serving 10,000 or fewer persons identified in State Monitoring
Plans. UCMR (1999) List 2 will be the basis for two Screening Surveys of approximately 300 systems each, statistically selected
from those systems required to conduct Assessment Monitoring. UCMR (1999) List 3 will be used for Pre-Screen Testing at up to
200 systems selected because of their potential vulnerability to the specific contaminants. This monitoring approach is described
in detail under Section VI.C, “Type of Monitoring Required of Public Water Systems Based on Listing Group.” Assessment
Monitoring (and associated “Index system” monitoring) is the only monitoring that would be required by today's action. This
includes contaminants for which EPA expects to have developed analytical methods before implementation: perchlorate and
acetochlor.

For contaminants on UCMR (1999) List 2 for which analytical methods are developed by the time of initial monitoring in 2001,
EPA will amend this rule to require the first Screening Survey to be conducted at selected systems. For those contaminants on
List 2 and List 3 that do not have well developed methods by the time of initial monitoring in 2001, EPA will issue a revision to
this regulation to activate monitoring for them at the time when the methods are considered implementable, up to the limit of 30
contaminants to be monitored within the five-year contaminant listing cycle. Monitoring for those contaminants will then begin


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at a date specified in that prospective regulation. Therefore, monitoring of contaminants on UCMR (1999) Lists 2 and 3 is not
required by today's action. Monitoring of these contaminants will only occur when EPA publishes a revision to this regulation
specifying the analytical methods to be used and the period during which monitoring is to be completed.


(c) Analytical Methods Applicable to the UCMR (1999) List
The UCMR (1999) List development process focuses primarily on the availability of analytical methods for the listed
contaminants and the level of information available for them at the time of its development. The discussion below highlights
analytical method considerations in listing the contaminants for monitoring. Only the contaminants identified on UCMR (1999)
List 1, will be monitored as a result of today's action, with the exceptions of perchlorate and acetochlor, for which analytical
methods have yet to be approved. Contaminants on UCMR (1999) Lists 2 and 3 are included on the final UCMR (1999) List,
but will not be activated for monitoring until EPA proposes and promulgates analytical methods that can be used to reliably
measure their occurrence in drinking water. At that time, EPA will propose regulations for the monitoring of UCMR (1999)
List 2 and 3 contaminants.


(i) Chemical Analytical Methods
The ability to correctly identify a chemical contaminant is directly related to the type of chemical and the analytical method
used. Compounds such as disinfection byproducts are far less likely to be misidentified than pesticides because they are typically
present at relatively high concentrations in disinfected waters, while pesticides are much less likely to occur, or occur at lower
concentrations. The analytical method selected will determine the accuracy of the qualitative identification. In general, the most
reliable qualitative identifications will come from methods that use mass spectral data for contaminant identification. However,
these methods are typically less sensitive than methods that rely on less selective detectors.

 *50562 Before EPA establishes a Maximum Contaminant Level (MCL), the Agency relies on an analytical method suitable
for routine monitoring. It is likely that analytical methods in general use by laboratories performing drinking water analyses
may not exist for some of the final compounds to be measured in the UCMR program. Complex analytical methods or methods
requiring special handling often require more experienced laboratories than the laboratories performing routine compliance
monitoring. Even when analytical methods that are in general use by analytical laboratories are available, limiting the analyses
to a small number of laboratories operating under strict quality control requirements improves the precision and accuracy of
the analyses, thereby increasing the usefulness of the data.

The option favored by many stakeholders for conducting the chemical laboratory analyses and made final today by EPA is
the following:

For PWSs serving more than 10,000 people, the PWS is responsible for sample collection and analyses for Assessment
Monitoring. This monitoring may be conducted at the same time as the required compliance monitoring, to the extent possible.
For Assessment Monitoring, however, EPA requires in §141.40(a)(3) and §141.40 Appendix A, quality control procedures for
both sampling and testing to ensure that the data collected under this regulation are of sufficient quality to meet the requirements
of the related regulatory decisions. Thus, today's action specifies the analytical methods and procedures to be used in obtaining
these data. The sampling and associated quality control requirements cover time frame, frequency, sample collection and
submission, and review and reporting of results. The laboratory analytical quality control requirements address the use of a
certified laboratory, sample collection/preservation, analytical methods, method detection limits, calibration, quality control
samples, method performance tests, detection confirmation, and reporting. PWSs serving 10,000 or fewer persons must send
their Assessment Monitoring samples to laboratories designated by EPA, since the Agency must pay for the reasonable costs
of testing.

The purpose of the quality control requirements is to ensure that, since EPA will only be able to obtain results from 3,574
systems (2,774 large systems and a representative sample of 800 systems from 65,600 systems serving 10,000 or fewer persons),
the Agency obtains the most reliable data possible. EPA is specifying the use of certain analytical methods that are currently


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available for monitoring (see Table 3, UCMR (1999) List, column 3). While these methods are routinely used by commercial
and public water system laboratories (including some that are currently used for compliance monitoring), they have not been
routinely used for the contaminants on the UCMR (1999) List. Note that, as shown in §141.40(a)(3), Table 1, methods other
than those that EPA has developed may be approved for use, but quality control procedures must also be followed, as specified
in §141.40(a)(3), (4) and (5), and Appendix A.

For the compounds included in this regulation, the following summary, Table 1, Status of Analytical Methods for Chemical
Contaminants on the UCMR (1999) List, presents a brief overview of methods availability for each chemical contaminant.


              Table 1.—Status of Analytical Methods for Chemical Contaminants on the UCMR (1999) List

                                        CAS No.              Analytical methods                 Status of availability

                                       UCMR (1999) List 1—Chemical Contaminant

 2,4-dinitrotoluene                        121-14-2 EPA 525.2                             Method is adequate for
                                                                                          monitoring.

 2,6-dinitrotoluene                        606-20-2 EPA 525.2                             Method is adequate for
                                                                                          monitoring.

 4,4'-DDE                                   72-55-9 EPA 508                               Methods are adequate for
                                                                                          monitoring.

                                                      EPA 508.1

                                                      EPA 525.2

                                                      D5812-96

                                                      AOAC 990.06

 Acetochlor                             34256-82-1 In validation process                  EPA anticipates that this
                                                                                          compound can be added to the
                                                                                          scope of EPA Method 525.2.

 DCPA di acid degradate                   2136-79-0 EPA 515.1                             No method is available to
                                                                                          measure the mono and di acid
                                                                                          forms separately. All of the
                                                                                          approved methods identify total
                                                                                          mono and di acid forms.

                                                      EPA 515.2

                                                      D5317-93

                                                      AOAC 992.32

 DCPA mono acid degradate                  887-54-7 EPA 515.1                             No method is available to
                                                                                          measure the mono and di acid
                                                                                          forms separately. All of the
                                                                                          approved methods identify total
                                                                                          mono and di acid forms.

                                                      EPA 515.2



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                                                  D5317-93

                                                  AOAC 992.32

 EPTC                                  759-94-4 EPA 507                             Methods are adequate for
                                                                                    monitoring.

                                                  EPA 525.2

                                                  D5475-93

                                                  AOAC 991.07

 Molinate                             2212-67-1 EPA 507                             Methods are adequate for
                                                                                    monitoring.

                                                  EPA 525.2

                                                  D5475-93

                                                  AOAC 991.07

 MTBE                                 1634-04-4 EPA 524.2                           Methods are adequate for
                                                                                    monitoring.

                                                  D5790-95

                                                  SM6210D

                                                  SM6200B

 Nitrobenzene                           98-95-3 EPA 524.2                           Methods are adequate for
                                                                                    monitoring.

                                                  D5790-95

                                                  SM6210D

                                                  SM6200B

 Perchlorate                         14797-73-0 In validation process               EPA is currently conducting
                                                                                    analytical methods development
                                                                                    to support the analyses of
                                                                                    perchlorate. This new method
                                                                                    will be based on the currently
                                                                                    available ion chromatography
                                                                                    methods, but will include
                                                                                    a criteria detailing when a
                                                                                    laboratory must perform a
                                                                                    sample clean-up procedure to
                                                                                    minimize the impact of elevated
                                                                                    concentrations of chloride,
                                                                                    sulfate or other dissolved solids.

 Terbacil                             5902-51-2 EPA 507                             Methods are adequate for
                                                                                    monitoring.



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                                                       EPA 525.2

                                                       D5475-93

                                                       AOAC 991.07

     UCMR (1999) List 2—
     Chemical Contaminant

 1,2-diphenylhydrazine                   122-66-7 In development                           Some methods evaluated but
                                                                                           inadequate for monitoring.
                                                                                           Priority for analytical method
                                                                                           development. EPA anticipates
                                                                                           that contaminant will be added to
                                                                                           the scope of EPA Method 525.2.

 2,4,6-trichlorophenol                     88-06-2 In development                          EPA Method 552 evaluated but
                                                                                           subject to false positives from
                                                                                           interferences of the derivitized
                                                                                           byproduct of the contaminant.
                                                                                           EPA anticipates that contaminant
                                                                                           will be included in a new SPE/
                                                                                           GC/MS method currently under
                                                                                           development.

 2,4-dichlorophenol                      120-83-2 In development                           EPA Method 552 evaluated
                                                                                           but subject to quantitative
                                                                                           uncertainty due to inadequate
                                                                                           derivatization of the contaminant.
                                                                                           EPA anticipates that contaminant
                                                                                           will be included in a new SPE/
                                                                                           GC/MS method currently under
                                                                                           development.

 2,4-dinitrophenol                         51-28-5 In development                          Some methods evaluated but
                                                                                           inadequate for monitoring. EPA
                                                                                           anticipates that contaminant
                                                                                           will be included in a new SPE/
                                                                                           GC/MS method currently under
                                                                                           development.

 2-methylphenol                            95-48-7 In development                          Some methods evaluated but
                                                                                           inadequate for monitoring. EPA
                                                                                           anticipates that contaminant
                                                                                           will be included in a new SPE/
                                                                                           GC/MS method currently under
                                                                                           development.

 Alachlor ESA and degradation   ............................ To be determined              EPA is evaluating which specific
 byproducts of acetanilide                                                                 contaminants will be included
 pesticides                                                                                within this group of compounds.
                                                                                           Analytical methods will be
                                                                                           determined for the targeted
                                                                                           contaminants.

 Diazinon                                333-41-5 In development                           Diazinon is listed as a
                                                                                           contaminant in several EPA and
                                                                                           voluntary consensus standard


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                                                                                    organization methods but it
                                                                                    is subject to rapid aqueous
                                                                                    degradation. Preservation
                                                                                    research currently being
                                                                                    conducted to develop a
                                                                                    preservation technique that
                                                                                    would permit adding this
                                                                                    compound to EPA Method 525.2.

 Disulfoton                            298-04-4 In development                      Disulfoton is listed as a
                                                                                    contaminant in several EPA and
                                                                                    voluntary consensus standard
                                                                                    organization methods but it
                                                                                    is subject to rapid aqueous
                                                                                    degradation. Preservation
                                                                                    research currently being
                                                                                    conducted to develop a
                                                                                    preservation technique that
                                                                                    would permit adding this
                                                                                    compound to EPA Method 525.2.

 Diuron                                330-54-1 In development                      While this compound is included
                                                                                    in the scope of NPS Method
                                                                                    4 (LLE/HLPC/UV) and EPA
                                                                                    Method 553 (SPE/HPLC/MS),
                                                                                    these methods are not adequate
                                                                                    for this monitoring. EPA
                                                                                    anticipates that this compound
                                                                                    can be included in a new SPE/
                                                                                    HPLC/UV method currently
                                                                                    being developed.

 Fonofos                               944-22-9 In development                      Fonofos is listed as a
                                                                                    contaminant in several EPA and
                                                                                    voluntary consensus standard
                                                                                    organization methods but it
                                                                                    is subject to rapid aqueous
                                                                                    degradation. Preservation
                                                                                    research is currently being
                                                                                    conducted to develop a
                                                                                    preservation technique that
                                                                                    would permit adding this
                                                                                    compound to EPA Method 525.2.

 Linuron                               330-55-2 In development                      While this compound is included
                                                                                    in the scope of NPS Method
                                                                                    4 (LLE/HLPC/UV) and EPA
                                                                                    Method 553 (SPE/HPLC/MS),
                                                                                    these methods are not adequate
                                                                                    for this monitoring. EPA
                                                                                    anticipates that this compound
                                                                                    can be included in a new SPE/
                                                                                    HPLC/UV method currently
                                                                                    being developed.

 Polonium-210 ( 210 Po)              13981-52-7 In development                      Radiochemistry laboratory
                                                                                    capacity is limited.



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 Prometon                                  1610-18-0 In development                         Prometon is listed as a
                                                                                            contaminant in several EPA and
                                                                                            voluntary consensus standard
                                                                                            organization methods but it
                                                                                            is subject to rapid aqueous
                                                                                            degradation in non-acidified
                                                                                            samples and is not readily
                                                                                            extracted in acidified samples.
                                                                                            Preservation research is
                                                                                            currently being conducted to add
                                                                                            neutralizing the pH of acidified
                                                                                            samples just prior to extraction.
                                                                                            This would permit adding this
                                                                                            compound to EPA Method 525.2.

 RDX                                        121-82-4 In development                         No EPA or consensus methods
                                                                                            organization analytical methods
                                                                                            for the analysis of RDX in water
                                                                                            are currently available.

 Terbufos                                13071-79-9 In development                          Terbufos is listed as a
                                                                                            contaminant in several EPA and
                                                                                            voluntary consensus standard
                                                                                            organization methods but it
                                                                                            is subject to rapid aqueous
                                                                                            degradation. Preservation
                                                                                            research is currently being
                                                                                            conducted to develop a
                                                                                            preservation technique that
                                                                                            would permit adding this
                                                                                            compound to EPA Method 525.2.

     UCMR (1999) List 3—
     Chemical Contaminant

 Lead-210 ( 210 Pb)                      14255-04-0 In development                          Method is time-consuming and
                                                                                            expensive. Radiochemistry
                                                                                            laboratory capacity is limited.


 *50564 (ii) Microbiological Analytical Methods
The discussion of data quality for chemical analytical methods also applies to microbiological testing when analytical methods
are developed for CCL microorganisms. When microorganisms were proposed for the CCL, EPA recognized that analytical
methods were not well developed for the majority of them. Because of the lack of available analytical methods, some of the
CCL microorganisms were grouped either into one category where information was available about methodologies indicating a
need to further refine them, or another category where more research, including research on detection methods and occurrence,
was needed. At the present time, and based on technical peer review and public comment, Aeromonas is the only one of the
microorganisms for which more occurrence data are needed that also has an analytical method likely to be sufficiently developed
for monitoring in time for implementation of the Screening Surveys. Three other microorganisms have methods available, but
are in need of further methods development. These microorganisms (Cyanobacteria, Echoviruses, and Coxsackieviruses) may
be candidates for the Screening Surveys if methods development proceeds expeditiously (§141.40(a)(3), Table 1, List 2), but
are currently identified for Pre-Screen Testing (Table 1, List 3). The remaining four microorganisms currently lack satisfactory
methods and will be evaluated for Pre-Screen Testing.




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Several microorganisms on the CCL are actually groups of microorganism taxa. In some cases, the taxa have so many members
that, given the limited resources available for UCMR monitoring, EPA may have to prioritize which strains, species, or serotypes
are the most important to consider and target those for monitoring or further study. Decisions will have to be made on the
basis of health risk, disinfection resistance, occurrence in water, and other factors. To address the need to prioritize which
microorganisms should be targeted for monitoring, EPA's Office of Research and Development is assisting the Office of Ground
Water and Drinking Water in establishing a research program for health effects, treatment, and analytical methods.


         Table 2.—Status of Analytical Methods for Microbiological Contaminants on the UCMR (1999) List

                                              Availability of analytical method                Status of availability

 List 2—Microbiological Contaminant

 Aeromonas                                 Analytical method likely to be             Current modification and evaluation
                                           available for monitoring                   of a published membrane filtration
                                                                                      method (Havelaar et al., 1987)
                                                                                      indicates that this method will be
                                                                                      suitable for the monitoring program.

 List 3—Microbiological Contaminant

 Cyanobacteria (blue-green algae, other    Methods available but not standardized     Methods are available for counting
 freshwater algae and their toxins)                                                   cyanobacteria but new, standardized
                                                                                      methods are needed for direct counts
                                                                                      of targeted species with filtration
                                                                                      methods or a counting chamber.
                                                                                      Standardized analytical methods
                                                                                      are also needed to detect the more
                                                                                      important cyanobacterial toxins.

 Echoviruses                               Methods available but not standardized     Echoviruses can be cultured on BGM
                                                                                      cells and detected by the ICR method
                                                                                      but require supplemental methods such
                                                                                      as serological typing to distinguish
                                                                                      echoviruses from other viruses. Cost of
                                                                                      cell culture assays plus serotyping can
                                                                                      be high. RT/PCR methods are subject
                                                                                      to interferences and do not demonstrate
                                                                                      infectivity. Combined cell culture and
                                                                                      PCR, which demonstrates infectivity,
                                                                                      may be considered.

 Coxsackieviruses                          Methods available but not standardized     Group B coxsackieviruses are easy
                                                                                      to grow in tissue culture but group A
                                                                                      coxsackievirus detection in cell culture
                                                                                      is variable. Culturable coxsackieviruses
                                                                                      can be detected with the ICR method
                                                                                      but serological typing is needed to
                                                                                      distinguish coxsackieviruses from
                                                                                      other viruses. RT/PCR methods
                                                                                      are subject to interferences and do
                                                                                      not demonstrate infectivity. New,
                                                                                      standardized methods are needed.
                                                                                      Combined cell culture and PCR
                                                                                      methods may be considered.



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 Helicobacter pylori                    No suitable method currently available   Helicobacter pylori is difficult to
                                                                                 cultivate because of its slow growth
                                                                                 rate and the need for a low oxygen
                                                                                 environment. No selective medium
                                                                                 exists that will discriminate H. pylori
                                                                                 from background bacteria. A culture-
                                                                                 based method that demonstrates
                                                                                 viability is preferred. Methods are
                                                                                 needed for selective growth and
                                                                                 identification. IMS has been used
                                                                                 to concentrate Helicobacter pylori.
                                                                                 Methods using PCR alone have been
                                                                                 used but have not been validated by
                                                                                 EPA. In general, PCR methods are
                                                                                 not preferred due to interferences and
                                                                                 their inability to demonstrate viability.
                                                                                 A combined cultural and molecular
                                                                                 method may be considered.

 Microsporidia                          No suitable method currently available   No methods are available for the
                                                                                 monitoring of the two species of
                                                                                 human microsporidia which may have
                                                                                 a waterborne route of transmission
                                                                                 [Enterocytozoon bienuesi and
                                                                                 Encephalitozoon (formerly Septata)
                                                                                 intestinalis]. Spores could possibly be
                                                                                 detected by methods similar to those
                                                                                 being developed for Cryptosporidium
                                                                                 parvum. Potential methods may utilize
                                                                                 water filtration, clean-up with IMS,
                                                                                 and detection using microscopy with
                                                                                 either fluorescent antibody or gene
                                                                                 probe procedures. Provided that
                                                                                 procedures are validated by EPA,
                                                                                 reverse-transcriptase (RT)—PCR
                                                                                 techniques may be considered for
                                                                                 monitoring, although PCR methods in
                                                                                 general are not preferred at this time
                                                                                 due to interferences and their inability
                                                                                 to demonstrate viability. Due to the
                                                                                 small size of microsporidia, problems
                                                                                 could be encountered during filtration.

 Adenoviruses                           No suitable method currently available   Adenoviruses serotypes 1 to 39
                                                                                 and 42 to 47 can be grown in tissue
                                                                                 culture but enteric adenoviruses 40
                                                                                 to 41 are difficult to grow. Several
                                                                                 selective tissue culture methods and
                                                                                 detection methods have been reported.
                                                                                 A selective, standardized method is
                                                                                 needed for monitoring. PCR methods
                                                                                 are not preferred, as they are subject to
                                                                                 interferences and do not demonstrate
                                                                                 infectivity. A combined cell culture and
                                                                                 PCR method may be considered.

 Caliciviruses                          No suitable method currently available   No tissue culture methods exist for the
                                                                                 two genogroups of caliciviruses on the


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                                                                                        CCL (the Norwalk-like and the Snow
                                                                                        Mountain-like agents). No sensitive
                                                                                        or fully developed detection methods
                                                                                        exist. PCR methods are not preferred,
                                                                                        as they are subject to interferences
                                                                                        and do not demonstrate infectivity. A
                                                                                        combined cell culture and PCR method
                                                                                        may be considered if a suitable cell line
                                                                                        is found.


*50565 2. List of Contaminants To Be Monitored

(a) Final UCMR (1999) List
Section 141.40 (a)(3) Table 1, Unregulated Contaminant Monitoring Regulation (1999) List, presents EPA's list of unregulated
contaminants for monitoring under Section 1445(a)(2)(B)(i) of the 1996 Amendments for the first five-year listing cycle. The
monitoring program for these contaminants is a three-tiered approach based on the availability of information about each
contaminant and the availability of analytical methods for each contaminant. This approach is described in Section C., Type
of Monitoring Required of Public Water Systems Based on Listing Group. The final monitoring program divides the listed
unregulated contaminants into three lists: List 1, for which Assessment Monitoring will be required, List 2, designated for the
Screening Surveys; and List 3, designated for Pre-Screen Testing. Today's final regulation only requires Assessment Monitoring
for UCMR (1999) List 1 contaminants beginning on January 1, 2001, with the exceptions of perchlorate and acetochlor, for
which analytical methods have not yet been approved (but are planned to have monitoring begin on that date, also, after
rulemaking to specify their analytical methods). The monitoring for contaminants on Lists 2 and 3 will only be required after
EPA promulgates further rules.

Technical peer review and public comments strongly supported the three-tier approach of the UCMR program. As a result, EPA
requires in today's action Assessment Monitoring for the contaminants on UCMR (1999) List 1, because analytical methods
for these contaminants currently exist or will shortly be validated. EPA will shortly publish a request for public comment on a
revision to this final rule to implement the analytical methods and other sampling requirements for perchlorate and acetochlor.
Also, by future rulemaking, EPA plans to implement the Screening Survey (List 2) monitoring in groups of contaminants, rather
than one contaminant at a time, to minimize sampling and testing costs since some of the contaminants may be tested by the
 *50566 same method. EPA intends to take a similar approach with the contaminants on List 3, the Pre-Screen Testing. EPA
plans to require, through future rulemaking, Pre-Screen Testing for contaminants for which EPA determines that new analytical
methods can measure their existence in locations where they are most likely to be found. All analytical methods for contaminants
on Lists 2 and 3 would be peer reviewed, following EPA's policy for peer review, before the Agency proposes regulations which
would require public water systems to monitor for them.

In §141.40 (a)(3), Table 1, UCMR (1999) List 1 contaminants, for Assessment Monitoring, are chemical contaminants for which
analytical methods capable of generating the quantity and quality of data required under the UCMR are currently available,
or expected to be available shortly after today's final rule. Monitoring for these contaminants is required under today's final
UCMR, with the exceptions of perchlorate and acetochlor, as noted.

UCMR (1999) List 2 contaminants (14 organic chemicals, one radiochemical and one microorganism), for the Screening
Surveys, are those for which EPA is currently refining analytical methods. Development of these methods should be sufficient
for Screening Surveys to be conducted in the first three years of the listing cycle, but may occur in the later years of the cycle.
These contaminants are characterized in today's final rule at §141.40(a)(3), Table 1, Unregulated Contaminant Monitoring
Regulation (1999) List, List 2.

UCMR (1999) List 3 contaminants (seven microbiological contaminants or contaminant groups and one inorganic chemical),
for Pre-Screen Testing, are those for which EPA has begun or shortly will begin analytical methods development, but completion



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of those efforts is not expected prior to the Assessment Monitoring required under implementation of this regulation. Instead,
these contaminants will be tested for in Pre-Screen Testing. These contaminants are listed in today's final rule at §141.40(a)(3)
as Table 1, Unregulated Contaminant Monitoring List, List 3.

Tables 3 and 4, in IV.A.1.(c), Analytical Methods Applicable to the UCMR (1999) List, present a summary of the status of the
methods for all the contaminants on this list.

EPA believes that this three-tiered approach to the UCMR, which was recommended by stakeholders, reflects a balance between
the implementability of current analytical methods and the need to obtain data in time frames that are useful for responding to
concerns about the contaminants identified.


(b) Number of Contaminants on the UCMR (1999) List
Thirty-six contaminants are on today's final UCMR (1999) List. SDWA Section 1445 (a)(2)(B)(i) states that in August 1999
and every five years thereafter “the Administrator shall issue a list of * * * not more than 30 unregulated contaminants to be
monitored by public water systems and to be included in the national drinking water occurrence data base * * *” EPA interprets
this to mean that the UCMR list may contain more than 30 contaminants, as long as monitoring is not required for more than 30
contaminants during a five-year listing cycle. Public comments were split on whether the monitoring list should have more than
30 contaminants. EPA believes that maintaining a monitoring list with more than 30 contaminants, while requiring monitoring
for no more than 30, is responsive to public concerns about contaminants in drinking water. This interpretation and approach
also supports EPA's efforts to respond to and encourage analytical methods development for emerging contaminants.

Any PWS may voluntarily submit data to EPA, including data for contaminants that a PWS may monitor that are on the UCMR
(1999) List of 36 contaminants, but that are not on the final list of 30 contaminants actually required for UCMR monitoring.
EPA is preparing a guidance document specifying the procedures for future voluntary submission of such data to the National
Drinking Water Contaminant Occurrence Database (NCOD).


B. Public Water Systems Subject to the UCMR
The monitoring in this final rule focuses ultimately on determination of, on a national basis, the occurrence or likely occurrence
of contaminants in drinking water delivered by community water systems (CWS) and non-transient non-community water
systems (NTNCWS). For regulatory purposes, public water systems are categorized as “community water systems,” or “non-
community water systems.” Community water systems (CWSs) are specifically defined as “public water systems which serve
at least 15 service connections used by year-round residents or regularly serve at least 25 year-round residents.” (40 CFR 141.2)
A “non-community water system” means any other public water system. Non-community water systems include nontranisent
non-community water systems (NTNCWSs) and transient non-community water systems. Non-community water systems are
available to serve the public, but are not used on a year-round basis in most cases. Non-transient systems regularly serve at least
25 of the same persons over six months per year (e.g., schools). Transient systems do not regularly serve at least 25 of the same
persons over six months per year. Additionally, some community water systems purchase all or part of their water supply from
other water systems. Purchased water systems may be at the end of a distribution system from the water system selling the water.

One of the factors considered in establishing the UCMR program is the number of persons served by a system. With respect
to size, about 2,774 large systems (each serving more than 10,000 persons) provide drinking water to about 80 percent of the
U.S. population served by public water systems. Under today's final regulation, all large systems will be required to monitor the
unregulated contaminants specified in §141.40(a)(3), List 1 of Table 1, UCMR (1999) List, with the exception of perchlorate
and acetochlor for which analytical methods have not been promulgated. In response to public comment on purchased water
systems representing the end of a distribution system, purchased water systems are also included in this monitoring requirement
for microbiological contaminants that occur primarily in distribution systems with maximum residence times or low disinfectant
residuals which may allow microorganisms that have human health effects to survive and reproduce.




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Section 1445(a)(2)(A) requires that the UCMR ensure that only a representative sample of systems serving 10,000 or fewer
persons (small systems) monitor for unregulated contaminants. Small community water systems and small non-transient,
non-community water systems total 65,636 systems. From this total number of small systems, EPA will select a national
representative sample of 800 small systems. EPA is excluding transient non-community systems from UCMR requirements.
The variation in the 97,000 transient systems would be difficult to reflect in a national representative sample and would be very
costly to monitor. Furthermore, projecting contaminant exposure results from such systems would be complex and inconclusive
because of the transient nature of the population that uses them. The results from the very small community and non-transient
non-community systems (NTNCWS) can be extrapolated to the transient non-community systems. Public comments *50567
supported not including these systems in the representative sample. One commenter suggested that transient systems be the
subject of a special survey since they may be a pathway of exposure for a specific segment of the population. At this time, EPA
is not planning any special surveys of transient systems because they are such a large and diffuse category and it is difficult to
compile and evaluate population exposure information for this category of water systems.

EPA will pay for the reasonable costs of monitoring by the small systems selected for the representative sample, as long as
the systems are part of a State Monitoring Plan. The EPA will select systems to monitor through the use of a random number
generator according to a national representative sample selection plan developed primarily on the basis of population served by
PWSs in each State. This detailed selection plan is necessary to ensure that the sample is statistically valid and representative
of all small water systems nationally. This plan is also necessary because EPA typically has the least information about these
systems and needs a consistent base of data for regulation development. EPA will use a national sample of approximately 800
systems serving 10,000 or fewer persons which the EPA will statistically draw from all small CWSs and NTNCWSs nationally.
Section F, “Representative Sample of Systems Serving 10,000 or Fewer Persons,” provides the details of the sample selection
plan, including the sample size. The number of systems selected within each size category of systems will be based on the
proportion of population served by that size category. System selection will be further allocated across water source type and
distributed across all states.

The State-based component of this national representative sample, called a State Monitoring Plan (or State Plan), will include
the list of systems statistically selected for UCMR monitoring. Other state responsibilities will be defined in the Memorandum
of Agreement issued between the States and EPA. The State can review, and modify if necessary, the list of systems in the State
Plan. The resulting State Plans will then be part of a national sample framework, providing the representative national sample
requisite to drawing national conclusions for contaminant exposure.

To provide a more capable understanding of contaminants and conditions affecting small systems, and to provide additional
quality assurance, EPA will randomly select up to 30 small public water systems from the systems in State Monitoring Plans as
“Index” systems. Index systems must monitor every year during the five year UCMR listing cycle. These systems will also be
required to report information on system operating conditions (such as water source, pumping rates, and environmental setting).
This information will assist EPA in more fully evaluating small system operations and future regulations of small systems.
EPA will conduct the sampling and testing for Index systems. At the time of sampling, EPA will also gather other system
information to characterize the environmental setting affecting the system including precipitation, land and water resource use,
and environmental factors (such as soil type and geology).

Also, up to 150 additional small systems might be selected for the Pre-Screen Testing. The systems for the Pre-Screen Testing
will be selected on the basis of their representativeness of systems most vulnerable to the particular UCMR (1999) List 3
contaminants for which methods have been refined. The statistical selection of the 800 systems for the national representative
sample may not include the systems determined to be most vulnerable to these contaminants, hence; the States and EPA may
need to select additional systems for this targeted testing.

External expert peer review and public comments supported the statistical approach described to select small systems for the
national representative sample and State Monitoring Plans.




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C. Type of Monitoring Required of Public Water Systems Based on Listing Group
At the UCMR Stakeholders Meeting on June 3-4, 1998, a diverse group of stakeholders suggested that the UCMR Program
be developed through a progression of monitoring levels based on contaminant group characteristics. These characteristics
reflect current information about both the occurrence of and method availability for the contaminants. Occurrence information
and methods availability will determine which phase, or tier, of monitoring the contaminants will be placed. Both EPA and
stakeholders are also concerned about contaminants that may be “emerging” as contaminants of concern. These emerging
contaminants have not been monitored before, but have the potential to be found near or in drinking water supplies or recently
have been identified as potential health problems. It is not likely that there exists approved EPA analytical methods for the
“emerging contaminants of concern”. Typically, “research” analytical methods are used to detect such emerging contaminants
and may be expensive. EPA will have to either develop an approved method for inclusion in a regulatory approach, or perhaps
substitute a regulatory approach with a study using a single laboratory and a “research” analytical method. The resources needed
to develop an approved analytical method will face competing resource demands for other contaminants on the CCL that also
require analytical method development. In recognition of these considerations, as described above, the final rule incorporates
an approach with three monitoring levels, or tiers, referred to as “Assessment Monitoring,” “Screening Survey,” and “Pre-
Screen Testing”.


1. Assessment Monitoring
The first type of monitoring in the three-tiered monitoring program of today's rule pertains to the group of contaminants for
which analytical methods are currently available and are specified in §141.40(a)(3), Table 1, UCMR (1999) List 1, Assessment
Monitoring Importantly, these contaminants are ones for which initial data for PWSs indicate that the contaminants occur in at
least two States or ten public water systems and should be monitored to assess national occurrence through the UCMR. Based
on today's rule, all contaminants in §141.40(a)(3), Table 1, List 1 must be monitored in the Assessment Monitoring tier of the
UCMR Program, except perchlorate and acetochlor, for which analytical methods are soon to be finalized.

In §141.40, EPA indicates that each system must conduct UCMR “Assessment Monitoring” of List 1 contaminants for a twelve-
month period in the first three years (i.e., 2001 through 2003) of a five-year UCMR contaminant listing cycle (i.e., 2001 through
2005). Large systems must complete this monitoring in any twelve-month period within the years 2001 to 2003. Small systems in
State Monitoring Plans must complete the monitoring according to the scheduled monitoring identified in those plans within the
period of 2001 to 2003. Section F, “Representative Sample of Systems Serving 10,000 or fewer persons,” describes in detail the
selection of the subset of small systems required to monitor. The State could specify in the State Monitoring Plans a schedule that
would correlate with compliance monitoring. This arrangement should enable systems to complete UCMR *50568 sampling
coincident with their compliance monitoring for regulated contaminants during one of the years when compliance monitoring
is required. However, EPA recognizes that some large systems may not be required to monitor for any regulated contaminants
during the five-year UCMR listing cycle. In that case, such large systems could monitor for the unregulated contaminants during
any twelve-month period within the three years they choose. This approach, as originally proposed, is responsive to public
comments that UCMR monitoring be able to be conducted in conjunction with compliance monitoring.

EPA is requiring that surface water systems monitor for four consecutive quarters in the designated, or, in the case of large
systems, selected, monitoring year, and that ground water systems monitor two times approximately five to seven months apart
in their monitoring year. Under Assessment Monitoring, systems serving more than 10,000 persons must conduct and pay for
their own sample collection and testing. Small systems included in State Monitoring Plans must collect the samples with EPA-
supplied equipment and send the samples to EPA-specified laboratories. EPA will pay for the testing and reporting. Although
the laboratory may report the information directly to EPA and provide a copy to the State, the system still has final reporting
responsibility to ensure that results are reported to EPA and copied to the State. Frequency and location of monitoring are
discussed in section D, “Monitoring Requirements under the Final UCMR.”


2. Screening Surveys



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The contaminants that EPA is considering for the Screening Survey are listed in §141.40(a)(3), Table 1, List 2. These
contaminants are those for which analytical methods are under development and for which EPA has less occurrence data than
for the contaminants on List 1. The purpose of the Screening Survey is to analyze for contaminants where the use of newly
developed, non-routine analytical methods are required. To do this and still maintain adequate quality of the occurrence data,
EPA will use only a select, controlled group of laboratories. In addition, the Screening Survey approach might allow EPA to
maximize scientifically-defensible occurrence data for emerging contaminants of concern more quickly than could be obtained
through a more standard unregulated contaminant monitoring effort. The Screening Survey could, for example, be useful where
questions concerning whether a contaminant of concern is in fact occurring in drinking water and the range of concentration
of that occurrence. The Screening Survey is also intended to allow EPA to screen contaminants to see if they occur at high
frequencies or concentrations that justify inclusion in future unregulated contaminant Assessment Monitoring or at sufficiently
low frequencies that do not require further monitoring, but allow the Agency to evaluate standard development.

The contaminants in UCMR (1999) List 2 will be monitored by a smaller, statistically selected sample from all (large and small)
community and non-transient non-community water systems (about 300 systems total). These systems will be selected through
a random number generator. Systems will not have to initiate Screening Surveys until after EPA promulgates requirements
for Screening Surveys. The sample size needed for estimating frequencies of contaminant occurrence are smaller if the actual
occurrence frequencies are close to 0 or to 100 percent. When a contaminant is consistently present or consistently absent it
requires fewer samples to determine its frequency with adequate statistical confidence than if it occurs about half the time.
Only 300 PWSs are needed to determine if a contaminant is present 5 percent of the time or less frequently, at a 99 percent
confidence level and with a 3 percent margin of error. (The same criteria require 1,844 samples when the frequency could be
any number.) If the contaminant occurrence findings are above the thresholds established for the Screening Survey, EPA will
include the contaminant in the next Assessment Monitoring round (projected to begin in 2006) of the UCMR Program. The
statistical threshold for positive results from this monitoring to determine if further monitoring is warranted might be 1 to 2
percent of systems with detections. If the contaminant occurrence were under the threshold, then no further testing would be
required, and the contaminant may be removed from the list in a future UCM rulemaking. EPA requested public comment
on whether the statistical threshold of 1 to 2 percent of systems is adequate to make a determination that further Assessment
Monitoring should be conducted to determine the extent of contaminant occurrence, and, if not, what percent should be used
as the threshold for such a determination. One commenter suggested that EPA should use a threshold of 3 to 5 percent, but did
not provide any rationale. EPA believes that 1 to 2 percent is consistent with the approach that this monitoring is a Screening
Survey to determine whether the contaminant(s) are occurring in any public water system. One to 2 percent occurrence is equal
to 3 to 6 systems for the sample, but statistically this can be extrapolated to 600 to 1,200 systems out of all small systems
that may have an occurrence of the contaminants. For a sample size of 300, occurrence of a contaminant on the monitoring
list in any system would indicate that the contaminant occurs at a frequency greater than 0 (zero). Therefore, EPA should give
further consideration to the occurrence and concentration of such a contaminant and may evaluate the extent of its occurrence
nationally. EPA considers this extent of occurrence to be significant and to warrant more extensive monitoring, perhaps even
through Assessment Monitoring. Another commenter indicated that EPA should evaluate other factors and not just the extent of
occurrence before deciding to regulate a contaminant. EPA agrees with this comment and will continue to evaluate other factors.

The anticipated analytical methods that might be used for Screening Surveys are identified in §141.40(a)(3), Table 1, List 2,
as “Analytical Methods.” These methods are being refined for the particular contaminants on List 2 and are not expected to be
ready for use in an Assessment Monitoring program. Therefore, as analytical methods are developed for groups of contaminants
on List 2, EPA will propose a rule modification for public comment and will promulgate analytical methods, minimum reporting
levels and the location and timeframe for sampling for each contaminant.

Additionally, EPA requested public comment on two potential outcomes from the Screening Survey: (1) if the contaminant is
observed at very few or no PWSs (i.e., less than the threshold of 1 to 2 percent of systems), then the contaminant may be dropped
from the UCMR (1999) List 2 and no further monitoring for it will occur; and, (2) if the contaminant is observed extensively
(i.e., in a higher percentage of PWSs, such as 5 to 10 percent) and EPA has health effects data for the contaminant that indicate a
significant concern, then that specific contaminant may move directly to the regulation development stage. In these cases, there



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may be no Assessment Monitoring tier of monitoring activity to provide additional occurrence data for that contaminant. One
commenter expressed concern that EPA would move directly to regulation development after obtaining results from Screening
Surveys for a contaminant and stated *50569 that EPA should move the contaminant up to Assessment Monitoring before
taking any action. EPA believes that an occurrence of a contaminant in 5 or 10 percent of systems, for example, in the screening
survey may be sufficient to determine whether or not to initiate regulation development. EPA may decide that it needs more
information, in which case, EPA could move the contaminant to Assessment Monitoring (List 1) for more extensive monitoring
to inform the regulatory process, but this may not always be necessary.

With respect to funding the Screening Survey, EPA will pay for the testing and reporting (as described in Preamble section V.G.,
Reporting of Monitoring Results) for systems serving 10,000 or fewer persons. Systems serving 10,000 or fewer persons will
be responsible for sample collection and preparing the samples for shipment. EPA will pay for the shipment of these samples
to an EPA-designated laboratory for testing and for reporting of monitoring results to EPA, with a copy to the State.

For large systems serving more than 10,000 persons, EPA requested public comment on whether it should set performance
standards and allow systems to conduct their own laboratory analyses in compliance with the standards, or should approve
a limited but sufficient number of laboratories to do lab analyses for large systems, providing for quality control across a
manageable number of laboratories while allowing competitive pricing of services. Most commenters, including water system
operators, favored EPA approval of a limited number of laboratories, but noted that a sufficient number of laboratories were
needed so that competitive pricing would be available.

EPA expects the Screening Surveys will occur one or two times during the five-year listing cycle of 2001 through 2005. EPA
expects that this Screening Survey monitoring will occur for groups of contaminants, rather than for one contaminant at a
time, depending on when the different methods are promulgated and the timing of their promulgation. Systems selected for the
Screening Surveys will monitor at the same frequency as for contaminants under Assessment Monitoring. Should approval and
implementation of the analytical method for a particular contaminant become delayed, the contaminant might be moved into
the category of Pre-Screen Testing, described next.


3. Pre-Screen Testing
The third tier of the final monitoring program is “Pre-Screen Testing”, which will be conducted for contaminants with analytical
methods that are in an early stage of development and at systems that are determined to be most vulnerable to the occurrence of
contaminants on the Pre-Screen Testing list. Pre-Screen Testing means sampling, testing, and reporting of the listed contaminants
that have newly emerged as drinking water concerns and, in most cases, for which methods are in an early stage of development.
Pre-Screen Testing will be performed to determine whether a listed contaminant occurs in sufficient frequency in the most
vulnerable systems or sampling locations to warrant its being included in future Assessment Monitoring or Screening Surveys.
Pre-Screen Testing will only be required after additional rulemaking.

EPA will select a limited number of systems (up to 200) to conduct Pre-Screen Testing, possibly using a random number
generator, selected from up to 25 of the most vulnerable systems identified by each State, or by EPA if a State decides not
to participate in the Pre-Screen Testing system selection process. Up to 200 systems, a smaller sample size than under the
Screening Survey or Assessment Monitoring, are considered sufficient for this type of monitoring because monitoring will occur
at systems determined to be vulnerable to occurrence of the contaminants, based on the characteristics of the contaminants,
system operation, climatic conditions, and land and water resource use. This monitoring is to determine whether the contaminant
can be found in any public water system under most likely occurrence conditions specific to the contaminant. This tier of
monitoring is not designed to determine the extent of occurrence. A portion (e.g., 100 to 150) of these 200 systems may be a
different subset of small systems serving 10,000 or fewer persons than those selected for the national representative sample. The
reason for this different subset is that States should identify the systems that are representative of the most vulnerable conditions
for the contaminants specified for Pre-Screen Testing. These most vulnerable systems may not be those conducting Assessment
Monitoring or the Screening Survey. It is possible, though, that some overlap of systems doing Assessment Monitoring and
those selected for Pre-Screen Testing could occur.


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Under Pre-Screen Testing, EPA will designate or approve a laboratory or laboratories to conduct sample analysis. The reason
for this testing approach is that the analytical methods expected to be used will be emerging from research development, and
most laboratories will not have any experience with them. For these laboratories to utilize the new methods could involve
extensive investment in equipment and training. Rather than requiring this investment for contaminants which have uncertain
occurrence in public water systems, EPA will develop and promulgate appropriate methods. EPA will also require that these
methods be used by designated or approved laboratories. Pre-Screen Testing analysis is conducted at systems most likely to
have the contaminants to determine whether further action is warranted and additional method development is needed.

Under this approach, once EPA has developed methods and promulgated the rule to test for List 3 contaminants, it will request
States to identify at least 5 and not more than 25 systems (based on the population served by PWSs in each State) most vulnerable
to the listed contaminants. States will select these systems from all community and non-transient non-community systems of all
sizes. Selection criteria for these systems include States' determination of systems most vulnerable to the specified contaminants
and numbers of systems per State based on the population served in each size category of system. The States will send the list
of systems, any modification of their State Monitoring Plans, and the reasons for their list and modifications (considering the
characteristics of the contaminants, precipitation, system operation, and environmental conditions) to the EPA. EPA will select
up to 200 PWSs nationwide, from the pool of State-identified vulnerable systems, that must submit samples of the specified
contaminants. Some small systems selected may not be part of the national representative sample of 800 small systems selected
for Assessment Monitoring. Hence, some small systems may only be required to sample for Pre-Screen Testing. States or
EPA will provide instructions to the systems for the necessary sampling and subsequent shipping to the EPA laboratory. At
this time, EPA believes that the contaminants for which Pre-Screen Testing will likely be required are those listed in the final
rule at § 141.40(a)(3) Table 1, List 3. Sampling and testing done for Pre-Screen Testing will most likely be required in the
later years of the five-year UCMR listing cycle. This approach will assist EPA in refining the methods for these contaminants.
If EPA finds any substantial frequency of occurrence of Pre-Screen Testing contaminants, the contaminants could *50570
become part of either the Screening Survey or part of Assessment Monitoring in future UCMR lists. Since the methods for these
contaminants will have to be applied under highly controlled analytical conditions, EPA will pay for the shipping and analyses
of these samples for small systems selected to participate. Large systems will pay for the shipping and testing of samples at
EPA approved laboratories.

Public comments requested that EPA provide guidance on the selection of “most vulnerable” systems and on reporting
requirements for Pre-Screen Testing. EPA plans to provide this guidance during the years 2001 and 2002, and obtain public
comment before the guidance is final.


D. Monitoring Requirements Under the Final UCMR

1. Monitoring Frequency

(a) Systems Serving More Than 10,000 Persons

(i) Chemical Contaminants.
The number of persons served affects exposure to contaminants and resources necessary to monitor. The final UCMR program
requires large systems serving more than 10,000 persons to monitor at each entry point to the distribution system, or other
representative compliance monitoring location specified by the State, whether or not the system applies treatment. If a system
applies treatment, then it must monitor after treatment. In response to public comment, EPA modified the rule to allow alternative
sampling points to be used: sampling points identified by the State for compliance monitoring under 40 CFR 141.24(f)
(1), (2), and (3), and/or source (raw) water sampling points, if the State uses source water monitoring as a more stringent
monitoring requirement. If monitoring at source (raw) water sampling points indicates detection of any of the contaminants on
the monitoring list, then the system in most cases will be required to shift its unregulated contaminant monitoring to the entry




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point to the distribution system. These flexibilities in the sampling location should enable systems and States to coordinate
compliance and unregulated contaminant monitoring more extensively.

The law requires EPA to consider the source of water relative to unregulated contaminant monitoring requirements (SDWA
Section 1445(a)(2)(A)). Over the twelve-month period of monitoring, the regulation requires that systems sample from all entry
points to the distribution system, or other sampling points specified, representing all principal, non-emergency sources of water
used over the monitoring period. Surface water-supplied systems will monitor each of these points every three months for a
twelve-month period and ground water-supplied systems will monitor each of these points two times five to seven months apart
within a twelve-month period. Today's final monitoring frequency for surface water systems is the same as in the previous
program. For ground water systems, the two sampling events must be approximately six months apart, increasing the frequency
from one sample in five years under the previous program to two. The reasons for this increase are that while ground water
typically moves slowly, one sample is insufficient to characterize water quality at any particular location and will not provide
evidence of any changes over a longer period of time. Furthermore, some ground water environments transmit water more
rapidly, potentially resulting in changes in water quality over shorter timeframes. From a statistical standpoint, one sample is
not representative and will not allow the data to be used for exposure assessment which uses an average annual value. This
frequency applied to the average of 6.2 entry points to the distribution system for systems serving more than 10,000 persons
will provide sufficient data for an adequate statistical analysis of the varied conditions in which these systems are located.

One of the monitoring events for both surface water and ground water systems must occur at the most vulnerable time of year for
the PWS. The rationale for this approach is that it provides data representing potential variation in contaminant concentration
over the course of a year. This potential variation in concentration is necessary to evaluate exposure related to contaminant
occurrence. Some systems perform compliance monitoring on a quarterly basis and can collect UCMR samples coincident with
their compliance samples, and therefore provide data on the range of variation. Other systems may only conduct compliance
monitoring once every third year and will therefore have to collect additional samples under the UCMR. While one UCMR
sample could be collected coincident with this compliance sample, EPA is requiring for ground water-supplied systems to take
a second sample five to seven months later. This requirement will provide the necessary data on seasonal variation over a year
to allow consistent exposure assessments to be done with a range of concentrations. Stakeholders supported this option. EPA
originally proposed that the second sample be collected exactly six months later. State commenters indicated a need to provide
flexibility to accommodate changes in monitoring schedules. Therefore, EPA modified the regulation to allow monitoring five
to seven months before or after the initial vulnerable period sampling event.


(ii) Microbiological Contaminants
For microbiological contaminants, the sampling frequency will be two times within one year, with samples collected each time at
two different locations after treatment in the distribution system: a site representative of water in the distribution system received
by the general population that the system serves and a site in the distribution system representing the maximum residence time
or lowest disinfectant residual, depending on the contaminant. The frequency should capture the most vulnerable time as well
as a time five to seven months later to provide an average exposure. Furthermore, precipitation patterns may be a major factor
in contaminant occurrence. Thus, frequency of sampling should be tailored to the most vulnerable times because increased
seasonal precipitation may carry these contaminants at higher concentrations than other times during the year.


(b) Systems Serving 10,000 or Fewer Persons
The final rule states that approximately one third of the small systems (serving 10,000 or fewer persons) selected through the
representative sample, be sampled each year over a three-year period at the frequencies indicated in Section D, “Monitoring
Requirements Under the Final UCMR” (1)(a) above. This allows a relatively even submission of samples to be managed
and tested by the EPA laboratory. EPA will pay for the reasonable costs of monitoring (i.e., containers, shipping, testing and
reporting) for this representative sample of systems, including Assessment Monitoring, Screening Survey, and Pre-Screen
Testing, and will conduct the analyses at its designated laboratories. EPA, therefore will need to be able to manage the number of
samples being received at any time to closely correspond to the analytical capacity of its laboratories. Some public commenters


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suggested that sampling for microbiological contaminants not occur at the maximum residence time in the distribution system,
but at the point of lowest disinfectant residual, since the *50571 monitoring of concern is for effectiveness of treatment and
booster disinfection stations that may be in use in long distribution lines. In response, EPA added another sampling point at
the “lowest disinfectant residual” in the distribution system. However, EPA maintained the original sampling point location of
“maximum residence time” because, given potential chemical degradation over long periods of time in a distribution system,
such as for disinfection byproducts, the location of maximum residence time can often be the location of lowest disinfectant
residual and, therefore, highest likelihood of microbiological contaminants.

Public comments also addressed the flexibility in monitoring schedules to allow for unforeseen events or factors in field
sampling. Specifically, States asked that system sampling schedules allow for sampling over a month within a quarter, rather
than exactly three months later. EPA modified the final rule to allow sampling by small and large surface water systems to occur
within the same month in each quarter and for small and large ground water systems, to occur any time five to seven months
before or after the initially selected month within the vulnerable time.


2. Monitoring Time for Vulnerable Period
Water quality studies and monitoring throughout the United States have clearly shown that contaminant occurrence and/
or concentration vary over time, both seasonally as well as from year to year. The seasonality of occurrence, or period of
peak concentration of contaminants, commonly varies with seasonal changes in the hydrologic cycle in relation to the source
of contaminants and their fate and transport characteristics. Particularly for land-applied or land-disposed contaminants, the
increased flux of water mobilizes the contaminants and moves them into surface or ground water flow systems. For the most
vulnerable of water systems, such as surface waters, unconfined shallow ground water and karst flow systems, for example,
higher levels of contaminant concentrations typically occur during annual runoff and recharge periods. For much of the United
States, east of the Rocky Mountains, many studies have shown that the season of greatest vulnerability for contaminant
occurrence is the late-spring, early-summer runoff-recharge period, particularly for contaminants such as pesticides and nitrate
(e.g., Larson et al., 1997; Barbash and Resek, 1996; Hallberg, 1989a,b). For deeper, more confined ground water systems,
defining vulnerable periods is much more difficult. The exact flow path and time of travel are much greater and more complex
and are dependent upon many factors unique to a particular well and aquifer setting (e.g., Hallberg and Keeney, 1993). There
is no generality that can be applied to these latter settings.

Because occurrence may vary seasonally, it is important to try to capture these vulnerable periods in a one-time survey of
contaminant occurrence such as the UCMR. Statistical studies of sampling strategies in surface water (e.g., Battaglin and
Hay, 1996) have shown that incorporating sampling during spring and early summer runoff periods provides a more accurate
representation of annual occurrence than random quarterly sampling (that can avoid these months). Ground water studies (e.g.,
Pinsky et al., 1997) suggest that the more vulnerable ground water settings also show peaks during these periods. The default
vulnerable period for sampling for the UCMR has been designated to coincide with this period of peak vulnerability for much
of the United States: one sample must be collected during May, June, or July, unless the State has better information to designate
another period. Also, for surface waters, three additional samples will be collected throughout the year, and for ground water
systems, one additional sample will be collected five to seven months before or after the vulnerable time. This additional
sampling will also capture the winter recharge and runoff period that may be more vulnerable in the western coastal regions or
warmer southern climates for some contaminants. In the case of some deeper ground water systems, States or systems may have
additional knowledge of seasonal vulnerability patterns, in which case the State can designate an alternative period for sampling.

Public comments generally supported monitoring in a vulnerable time, but desired flexibility in establishing the time and
frequency. The rule already provided flexibility in selecting a time within the May to July period for a sampling event. However,
because the statistical approach requires consistency, today's rule enables a State to determine the alternate vulnerable time
for monitoring, rather than each system using its own criteria for choosing a vulnerable time. With respect to frequency, the
statistical approach requires that systems monitor with the same frequency so that a national frequency distribution can be
developed. This precludes the State or a system from establishing its own monitoring frequency.



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                                                       NOTICES
                                       ENVIRONMENTAL PROTECTION AGENCY
                                         [EPA-HQ-OW-2009-0297; FRL-8943-9]
                                                    RIN 2040-AF08

                              Drinking Water: Perchlorate Supplemental Request for Comments

                                                 Wednesday, August 19, 2009


AGENCY: Environmental Protection Agency (EPA).


*41883 ACTION: Notice.

SUMMARY: The Agency is seeking comments on additional approaches to analyzing data related to EPA's perchlorate
regulatory determination. These additional comments are sought in an effort to ensure consideration of all the potential options
for evaluating whether there is a meaningful opportunity for human health risk reduction of perchlorate through a national
primary drinking water rule. EPA will make a final regulatory determination for perchlorate after considering comments and
information provided in the 30-day comment period following this notice.
DATES: Comments must be received on or before September 18, 2009.

ADDRESSES: Submit your comments, identified by Docket ID No. EPA-HQ-OW-2009-0297, by one of the following methods:
• http://www.regulations.gov: Follow the online instructions for submitting comments.

• Mail: Water Docket, Environmental Protection Agency, Mailcode: 2822T, 1200 Pennsylvania Ave., NW., Washington, DC
20460.

• Hand Delivery: Water Docket, EPA Docket Center (EPA/DC) EPA West, Room 3334, 1301 Constitution Ave., NW.,
Washington, DC. Such deliveries are only accepted during the Docket's normal hours of operation, and special arrangements
should be made for deliveries of boxed information.

Instructions: Direct your comments to Docket ID No. EPA-HQ-OW-2009-0297. EPA's policy is that all comments received will
be included in the public docket without change and may be made available online at http://www.regulations.gov, including
any personal information provided, unless the comment includes information claimed to be Confidential Business Information
(CBI) or other information whose disclosure is restricted by statute. Do not submit information that you consider to be CBI or
otherwise protected through http:// www.regulations.gov or e-mail. The http://www.regulations.gov Web site is an “anonymous
access” system, which means EPA will not know your identity or contact information unless you provide it in the body of
your comment. If you send an e-mail comment directly to EPA without going through http:// www.regulations.gov your e-
mail address will be automatically captured and included as part of the comment that is placed in the public docket and made
available on the Internet. If you submit an electronic comment, EPA recommends that you include your name and other contact
information in the body of your comment and with any disk or CD-ROM you submit. If EPA cannot read your comment due
to technical difficulties and cannot contact you for clarification, EPA may not be able to consider your comment. Electronic
files should avoid the use of special characters, any form of encryption, and be free of any defects or viruses. For additional
instructions on submitting comments, go to Unit I.A of the SUPPLEMENTARY INFORMATION section of this document.

Docket: All documents in the docket are listed in the http:// www.regulations.gov index. Although listed in the index, some
information is not publicly available, e.g., CBI or other information whose disclosure is restricted by statute. Certain other
material, such as copyrighted material, will be publicly available only in hard copy. Publicly available docket materials are


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available either electronically in http://www.regulations.gov or in hard copy at the Water Docket, EPA/DC, EPA West, Room
3334, 1301 Constitution Ave., NW., Washington, DC. The Public Reading Room is open from 8:30 a.m. to 4:30 p.m., Monday
through Friday, excluding legal holidays. The telephone number for the Public Reading Room is (202) 566-1744, and the
telephone number for the EPA Docket Center is (202) 566-2426.


FOR FURTHER INFORMATION CONTACT: Eric Burneson, Office of Ground Water and Drinking Water, Standards and
Risk Management Division, at (202) 564-5250 or e-mail burneson.eric@epa.gov. For general information, contact the EPA Safe
Drinking Water Hotline at (800) 426-4791 or e-mail: hotline-sdwa@epa.gov.

Abbreviations and Acronyms
>—greater than

<—less than

BW—body weight

CBI—confidential business information

CDC—Centers for Disease Control and Prevention

DWI—drinking water intake

EPA—U.S. Environmental Protection Agency

FDA—U.S. Food and Drug Administration

FR—Federal Register

HA—Health Advisory

HRL—health reference level

IRIS—Integrated Risk Information System

kg—kilogram

L—liter

mg/kg—milligram per kilogram of body weight

mg/L—milligrams per liter (equivalent to parts per million [ppm])

MRL—Method Reporting Limit

NAS—National Academy of Science

NHANES—National Health and Nutrition Examination Survey

NOAEL—no observed adverse effect level


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NOEL—no observed effect level

NRC—National Research Council

OW—Office of Water

PBPK—Physiologically-Based Pharmacokinetic

POD —point of departure

RAIU—Radioactive Iodide Uptake

RfD—reference dose

RSC—relative source contribution

SDWA—Safe Drinking Water Act

UCMR—Unregulated Contaminant Monitoring Regulation

μg—microgram (one-millionth of a gram)

US—United States

USDA—U.S. Department of Agriculture


SUPPLEMENTARY INFORMATION

I. General Information

A. What Should I Consider as I Prepare My Comments for EPA?
You may find the following suggestions helpful for preparing your comments:

1. Explain your views as clearly as possible.

2. Describe any assumptions that you used.

3. Provide any technical information and/or data you used that support your views.

4. If you estimate potential burden or costs, explain how you arrived at your estimate.

5. Provide specific examples to illustrate your concerns.

6. Offer alternatives.

7. Make sure to submit your comments by the comment period deadline.




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8. To ensure proper receipt by EPA, identify the appropriate docket identification number in the subject line on the first page
of your response. It would also be helpful if you provided the name, date, and Federal Register (FR) citation related to your
comments.


 *41884 II. Background
The statutory and regulatory background for this action is described in detail in the October 10, 2008, FR notice discussing EPA's
initial regulatory determination for perchlorate (USEPA, 2008a). Briefly, the Safe Drinking Water Act (SDWA) section 1412,
as amended in 1996, requires EPA to make a determination whether to regulate at least 5 contaminants from its contaminant
candidate list (CCL) every 5 years. Once EPA determines to regulate a contaminant in drinking water, EPA must issue a
proposed national primary drinking water regulation (NPDWR) and final NPDWR within certain set time frames. To regulate
a contaminant in drinking water, EPA must determine that it meets three criteria: (1) The contaminant may have an adverse
effect on human health, (2) the contaminant is known to occur or there is a substantial likelihood that the contaminant will
occur in public water systems with a frequency and at levels of public health concern, and (3) regulation of such contaminant
presents a meaningful opportunity for health risk reduction for persons served by public water systems. To date, EPA has made
final regulatory determinations for 20 contaminants from CCL1 and CCL2 and has not found that any of these contaminants
meet all three criteria.

On October 10, 2008, EPA published a preliminary regulatory determination for perchlorate, requesting public comment on its
determination that perchlorate did not meet the second and third criteria for regulation. The October 2008 notice describes in
detail the bases for EPA's determination (USEPA, 2008a). EPA received extensive public comment on that notice.

Today, the Agency is seeking comments on additional approaches to analyzing data related to EPA's perchlorate regulatory
determination. The EPA is requesting the additional comments in an effort to ensure that the Agency considers the potential
options for evaluating whether there is a meaningful opportunity for human health risk reduction from perchlorate through a
national primary drinking water rule. EPA's final decision may be a determination to regulate. As discussed below, the additional
alternatives under consideration could result in health reference levels which are much lower than the level identified in the
October 2008 notice. The public comments EPA received pursuant to the October 10, 2008, notice of preliminary regulatory
determination [FN1] and from the peer review of the supporting documents underscore the complexity of the scientific issues
regarding the regulatory determination for perchlorate in drinking water.

EPA received 32,795 comment letters of which 31,632 (96%) letters were from seven different apparent mass mailing
letter writing campaigns that did not support the preliminary determination. Of the remaining 1,163 comment letters that
would be considered “unique,” 30 commenters provided EPA with detailed comments. Of those 30 comment letters, six
supported EPA's preliminary determination. These comments and other docket materials are available electronically at http://
www.regulations.gov (Docket ID No. EPA-HQ-OW-2008-0692).

In its October 2008 FRN, EPA referred to a draft report entitled “Inhibition of the Sodium-Iodide Symporter by Perchlorate: An
Evaluation of Lifestage Sensitivity Using Physiologically-Based Pharmacokinetic (PBPK) Modeling” (USEPA, 2008b). This
draft report, which is described in Section III.A.1, was peer reviewed during the comment period on the regulatory determination.
The report (USEPA, 2008c) and a summary of significant comments made by the external peer reviewers and EPA's responses
(USEPA, 2008e) can be found at http://cfpub.epa.gov/ncea/cfm/recordisplay.cfm?deid=212508. The peer review comments
were complimentary and supportive of EPA's modeling analysis and support document.

On January 8, 2009, EPA issued an interim health advisory (HA) to provide guidance to state and local officials in their efforts
to address perchlorate contamination while EPA was reviewing scientific issues. A draft of the HA was peer reviewed by four
external peer reviewers. The HA peer reviewers comments are discussed in Section III.A.2 of this notice. The Interim Health
Advisory (USEPA. 2008d) can be found at http:// www.epa.gov/safewater/contaminants/unregulated/perchlorate.html and the
summary of significant comments made by the external peer reviewers (USEPA. 2008e) can be found at http:// www.epa.gov/
ogwdw/contaminants/unregulated/pdfs/perchlorate—ha—comment—response.pdf.


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In January of this year, EPA announced that we planned to seek additional input from the National Research Council (NRC)
on perchlorate. The NRC previously studied perchlorate health implications from March, 2003 until they issued their report in
January, 2005 (NRC, 2005). EPA has compiled and evaluated additional scientific studies relevant to perchlorate health effects
and exposure available since publication of the 2005 NRC report. As previously stated, EPA also has obtained peer review and
public comment on the Agency's analysis of a number of these studies. The Agency believes that further review by the NRC
would unnecessarily delay regulatory decision making for perchlorate. Therefore, EPA is not, at present, planning to request
additional NRC review of issues related to perchlorate. Instead, EPA is issuing this notice and seeking comment on a broad
range of alternative approaches to the interpretation of the scientific data relevant to a regulatory determination for perchlorate
in drinking water. However, EPA requests comment upon whether further review by the NRC is warranted. EPA also notes that
if the Agency were to make a final determination to regulate perchlorate, the Agency, in accordance with the SDWA, would
seek review by the Science Advisory Board prior to proposal of any maximum contaminant level goal and national primary
drinking water rule.[FN2]

In issuing this supplemental notice, EPA is not making a final regulatory determination for perchlorate nor are we changing
the Interim Health Advisory Level of 15 μg/L. EPA will consider comments on the information received on this notice, as well
as those received on the October 10, 2008, FR notice, and those received on the peer review of supporting documents before
completing its regulatory determination for perchlorate. EPA may also revise the Interim Health Advisory as part of this process.


III. Alternative Approaches To Analyzing Scientific Data Related to Perchlorate in Drinking Water
EPA is requesting comment on key issues related to the regulatory determination for perchlorate in drinking water. EPA is now
considering a broader range of alternatives for interpreting the available data on: the level of health concern, the frequency
of occurrence of perchlorate in drinking water, and the opportunity for health risk reduction through a national *41885
primary drinking water standard. These alternative interpretations may impact the Agency's final regulatory determination for
perchlorate. Therefore, EPA seeks comment on these issues and the alternative approaches the Agency is considering.


A. Interpretation of the Physiologically-Based Pharmacokinetic (PBPK) Modeling

1. EPA's PBPK Modeling Analysis in the October 2008 FR Notice
The NRC (NRC, 2005) found that the inhibition of iodide uptake by the thyroid should be used as the basis for a perchlorate
risk assessment. In the October, 2008, FR notice, EPA describes a Physiologically-Based Pharmacokinetic (PBPK) modeling
analysis prepared by the Agency utilizing a series of papers (e.g., Clewell et al., 2007) discussing PBPK models that estimated
the effect of perchlorate on iodide uptake for the pregnant woman and fetus, the lactating woman and neonate, and the young
child. EPA used the PBPK modeling analysis to estimate the iodide uptake inhibition for these sensitive life stages consuming
food containing perchlorate at mean levels, and drinking water containing perchlorate at an HRL of 15 μg/L at the 90th percentile
consumption rate.

EPA found that the predicted radioactive iodide uptake (RAIU) inhibition for all subgroups was comparable to, or less than, the
RAIU at the no observed effect level (NOEL) selected by the NRC. Based on this outcome, EPA concluded that by protecting
the fetus of the hypothyroid or iodide-deficient woman from the effects of perchlorate on the thyroid, all other life stages and
subgroups would be protected.

EPA requested comment on the model in the October 2008 FR notice in addition to conducting a peer review on the application
of the model to non-adult life stages.


2. What Were the Key Scientific Issues Raised by Commenters




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Many of the public comments EPA received on the PBPK model in response to the October 2008 FR notice objected to the
Agency's use of a model that had not been peer reviewed. Concurrently with the public comment period, the PBPK model
analysis underwent a rigorous peer review by eight experts. Response by the PB model analysis peer reviewers indicated that
the modifications made to the model and the changes to physiological parameters were an improvement over the Clewell
model, and all reviews were generally supportive of the analysis. Based on the external peer review comments, the models and
the report entitled, “Inhibition of the Sodium-Iodide Symporter by Perchlorate: An Evaluation of Lifestage Sensitivity Using
Physiologically-Based Pharmacokinetic (PBPK) Modeling” were revised.

As previously discussed, comments were also received from four peer reviewers for the Interim Drinking Water Health Advisory
(HA) on the application of the model in identifying sensitive life stages. One HA peer reviewer noted that the use of the PBPK
model did “provide an estimate of perchlorate exposure to average weight babies of healthy breastfeeding women.” However,
this HA peer reviewer continued on to recommend that the exposure estimate be expanded to include consideration of small
birth weight and preterm infants.

Another peer reviewer recommended that the uncertainty inherent in the modeling exercise should be made more transparent
to the public. This uncertainty was linked to the modeling code, the availability of data for the many variable parameters in
the model, the combination and handling of the data selected for use in simulations, and, in particular, the lack of human data
for specific life stages including pregnant women and their fetuses, lactating women and their babies, and bottle-fed infants for
which rat data were adapted. The inability of the model to reflect iodide nutritional status also was cited by three peer reviewers
as an important limitation.

Individual peer reviewers raised two additional concerns: (1) That the use of animal data to predict human responses appears to
run counter to the NRC finding that animal data cannot be used to quantitatively predict the response of humans due to species
differences, and (2) that EPA appeared to use the PBPK model to modify the reference dose (RfD) for infants, justifying the
allowance of exposures that clearly exceeded the RfD established by the NRC.

Peer reviewers further noted that the PBPK model and the EPA assessment did not account for the activity of other compounds
with similar actions on the thyroid. This issue was also raised by EPA's Office of Inspector General (OIG) in reference to EPA's
perchlorate risk assessment (see section III.C.2 for more information). One reviewer stated that the application of the PBPK
model by the Agency as cited in the Interim Health Advisory implied an inappropriate certainty in the results that was not
warranted. This reviewer recommended confining the use of the PBPK model to exploring the impact of varying physiological
parameters and exposure data among life stages.


3. Alternative Approaches EPA Is Also Now Considering
Based on the comments received on the application of the PBPK model as described in the October 2008 notice and the Interim
HA, EPA is re-evaluating how best to incorporate the PBPK modeling analysis into its evaluation of perchlorate, if at all.

One approach might be to use the PBPK modeling analysis to explore the relative sensitivity of the various life stages of concern
to a fixed dose such as the point of departure (POD) or the reference dose (RfD). For example, EPA has examined the effect
of a dose equal to the POD on RAIU for a number of different life stages. The POD for the perchlorate risk assessment (7 μ
g/kg/day) was recommended by the NRC. The POD is the lowest dose administered in the Greer et al. (2002) clinical study,
and resulted in a “very small decrease (1.8%) in radioiodide uptake * * * well within the variation of repeated measurements
of normal subjects (NRC, 2005).” The POD used was determined by NRC to be a No Observed Effect Level (NOEL). The
NRC stated that use of a NOEL differs from the traditional approach to deriving an RfD, which bases the critical effect on an
adverse outcome, and that using a nonadverse effect that is upstream of the adverse effect is a more conservative and health-
protective approach to perchlorate hazard assessment. The NRC also recommended that EPA derive an RfD by applying a 10-
fold uncertainty factor to the POD to account for differences between healthy adults and the most sensitive population, fetuses
of pregnant women who might have hypothyroidism or iodide deficiency. When compared to the average adult, the 7-day
old breast-fed infant and the fetus of the pregnant woman at gestation week 40 were identified by EPA's analysis as the most


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sensitive subgroup with respect to percent RAIU inhibition at a dose to the lactating or pregnant women equal to the POD. (See
Table 1 for the model-predicted RAIU inhibition and relative sensitivity at the POD of different subgroups compared to the
average adult, based on EPA's modified PBPK model.)

The predicted percent RAIU inhibition is approximately 7.8-fold higher for the 7-day old breast-fed infant and 6.7-fold higher
for the fetus (at gestational week 40) than for the average adult. (Simulations at earlier gestation weeks indicate that the fetus is
more *41886 sensitive than the adult throughout pregnancy, but data available for validation of these parameters are minimal
and are considered too quantitatively uncertain to assign exact relative sensitivities.) The same analysis shows that the predicted
percent RAIU inhibition is approximately one and a half-fold higher for the bottle-fed infant (7-60 days) compared to the
average adult, and is approximately equal for the 1-2 year old child and the average adult. However, the drinking water exposure
data discussed in section III.B.3 show that infants less than six months in age generally consume five to eight times more water
than pregnant women or women of child bearing age on a per body weight basis, and so will receive a higher dose for any
given drinking water concentration.


                    Table 1—Model-Predicted Radioactive Iodide Uptake (RAIU) Inhibition and Relative Sensitivity of Different Subgroups
                  Compared to the Average Adult at a Dose Equal to the Point-of-Departure (POD) Based on the EPA's Modified PBPK Models


         Population or life stage                 Body weight (kg)              Dose i                   RAIU inhibition              Relative


                                                                              (μg/kg-d)


                                                                                                                                   sensitivity vs.


                                                                                                                                   average adult


Average Adult a                                                        70                 7 1.6%                                                      1


Woman (child-bearing age)                                              68                 7   b
                                                                                                  3.0%                                               1.8


Pregnant woman and Fetus (Gestation       Mom: 79                                         7   c
                                                                                                  6.1%
Week 40)


                                          Fetus: 3.5                                          c
                                                                                                  11% —D 3.7


Lactating woman and Breast-fed infant     Mom: 74                                         7   d
                                                                                                  2.1%
(7 d)


                                          Infant: 3.6                       Mom = 7           d,e
                                                                                                    12.5%


Lactating woman and Breast-fed infant     Mom: 73                                         7   d
                                                                                                  2.0%
(30 d)


                                          Infant: 4.2                       Mom = 7           d,e
                                                                                                    9.8%


Lactating woman and Breast-fed infant     Mom: 72                                         7   d
                                                                                                  2.0%
(60 d)


                                          Infant: 5.0                       Mom = 7           d,e
                                                                                                    7.9%


Bottle-fed infant (60 d)                  Infant: 5.0                                     7   e
                                                                                                  2.5%                                               1.5


Child (0.97 yr) g                         Child: 10                                       7   h
                                                                                                  1.7%                                               1.1




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    Child (2 yr)                  Child: 14                              7   h
                                                                                 1.7%                                     1.1


.

The modeling analysis may be used as a tool to predict the impact of different perchlorate drinking water concentrations on
RAIU across life stages. Understanding the potential impact of reducing perchlorate concentrations may be especially important
for considering bottle-fed infants for whom a major portion of the diet may consist of water used to rehydrate formula.

Another approach EPA is also considering would be to not use the PBPK modeling analysis to inform the selection of the HRL
for its regulatory determination but instead apply the RfD directly to the exposures of other sensitive life stages to develop
separate HRLs for these life stages as described in Section III.B.


4. Request for Comment on Alternative Approaches

EPA Seeks Comments on the Following Issues:
a. EPA requests comment on using the PBPK model to evaluate the relative sensitivity of the various life stages to perchlorate
exposure in drinking water.

b. EPA requests comment on the utility of the PBPK model for predicting the impact of different perchlorate drinking water
concentrations on sensitive life stages to inform HRL selection.

c. EPA requests suggestions for ways to use the PBPK modeling analysis to inform the regulatory determination for perchlorate
that are different from those described in this notice or the October 10, 2008, notice.


B. Alternative HRLs Based Upon Body Weight and Water Consumption of Other Life Stages

1. Analysis and Interpretations From the October 2008 FR Notice
In our October 2008 FR notice, EPA requested comments on an HRL of 15 μg/L to protect pregnant women and *41887 their
fetuses based upon the Agency's RfD, recommended by the NRC, and the following exposure estimates:

HRL = RfD x BW/DWI x RSC

Where:

RfD = Reference dose (0.7 μg/kg/day)

BW = Body weight (70 kg, default value)

DWI = Drinking water intake (2 L/day, default value)

RSC = Relative source contribution (62% for pregnant women)

In calculating the HRL of 15 μg/L, EPA used adult default values for both body weight (the mean body weight for men and
women, 70 kg) and drinking water intake (84th percentile, 2 L/day). The RSC is the percentage of the reference dose remaining
for drinking water after other sources of exposure to perchlorate have been considered (e.g., food). EPA used the pregnant
women's estimated 90th percentile perchlorate intake from food to determine the RSC of 62%. In past regulatory determinations
on most other noncarcinogenic contaminants, EPA has used an RSC default value of 20% for screening purposes to estimate
the HRL when it has lacked adequate data to develop empirical RSCs for those contaminants (for sulfate and sodium EPA did



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not use an RSC to determine the HRL). For the October 2008 notice, the Agency believed that sufficient exposure data were
available for perchlorate to enable EPA to estimate a better informed RSC and HRL that is more appropriate for fetuses of
pregnant women (the most sensitive life stage identified by the NRC). These exposure data include the further analysis by EPA
of the Unregulated Contaminant Monitoring Regulation (UCMR) data and the Centers for Disease Control and Prevention's
(CDC's) National Health and Nutrition Examination Survey (NHANES) biomonitoring data, as well as the Food and Drug
Administration's (FDA's) Total Diet Study (TDS) (73 FR 60269-72, October 10, 2008). The EPA analysis provided a distribution
of exposure (not just a mean) specific to almost 100 pregnant women who are not likely to have been exposed to perchlorate
from their drinking water, although it did not separate out iodine-deficient pregnant women because of data limitations. EPA
estimated that for 90% of the pregnant women, exposure to perchlorate from food is equal to, or less than, 0.263 μg/kg/day
(90th percentile). This represents nearly 38% of the RfD, leaving an RSC for water of 62%.


2. What Were the Key Issues Raised by Public Commenters?
The comments EPA received underscore the complexity of the scientific issues and many were critical of EPA's derivation of the
HRL. Of those that provided detailed comments, many were concerned about the adequacy of the HRL to address all sensitive
life stages (e.g., pre-term and full-term infants). For example, a number of commenters argued that the proposed HRL is too
high for infants because an HRL of 15 μg/L would allow daily exposures that are two to five times higher than the RfD.

One commenter cites a March 8, 2006, letter from the Children's Health Protection Advisory Committee to the EPA
Administrator. The commenter states, “* * * [T]he committee emphasized the higher exposure of infants to perchlorate and
greater susceptibility to serious negative effects associated with perchlorate exposure. Neither of these issues, however, was
given adequate consideration in the Preliminary Determination.”

Another commenter addresses EPA's use of default values in deriving the HRL stating, “* * * EPA continues to use the obsolete
default of 70 kg for body weight and 2 L/day of water consumption when these values certainly do not apply to pregnant
women. These defaults are specifically intended for the population in general, and should be superseded by more specific and
appropriate values when risk assessment is being conducted for a defined subpopulation (U.S. EPA, 2004, 2005).”


3. Alternative Approaches for Calculating HRLs
EPA agrees that reassessing exposure assumptions and other life stages warrants further consideration. The NRC (2005)
identified “the fetuses of pregnant women who might have hypothyroidism or iodide deficiency” as “the most sensitive
population,” but also identified infants and developing children as additional “sensitive populations.” Infants and young children
have greater exposure to contaminants in food and water because of greater consumption of food and water on a per unit body
weight basis. Therefore, these life stages may be the most vulnerable populations when their relative exposure is considered.
Therefore, EPA is considering alternative approaches to deriving HRLs by evaluating exposures at different life stages. EPA is
considering alternative HRLs that are estimates of the maximum concentration of perchlorate that can be consumed in drinking
water without an individual's total perchlorate dose from food and water exceeding the RfD. EPA's Guidance on Selecting Age
Groups for Monitoring and Assessing Childhood Exposures to Environmental Contaminants (USEPA, 2005) recommends the
following 10 age groups be considered in exposure assessments for children.

• Less than 12 Months old: birth to < 1 month, 1 to < 3 months, 3 to < 6 months and 6 to < 12 months.

• Greater than 12 months old: 1 to < 2 years, 2 to < 3 years, 3 to < 6 years, 6 to < 11 years, 11 to < 16 years, and 16 to < 21 years.

EPA's Guidance for Risk Characterization (USEPA, 1995) recommends that when considering exposure to use both high end
(i.e., 90th and 95th percentile) and central tendency (average or median estimates) descriptors to convey the variability in risk
levels experienced by different individuals in the population.




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Table 2 arrays the alternative HRLs at the average 90th and 95th percentile drinking water ingestion rates for each of the 10
childhood life stages (as well as for pregnant women and women of child-bearing age, 15 to 44). The table uses the life stage
specific drinking water intake data that are adjusted to account for the body weight of the individual. EPA's Child-Specific
Exposure Factors Handbook (USEPA, 2008f) recommends values for drinking water ingestion rates for each of recommended
children's life stage based on a study of drinking water ingestion of the U.S. population by Kahn and Stralka (2008). The study
reports ingestion estimates for “all individuals” and for “consumers only.” Estimates reported for “all individuals” include
all survey participants regardless of whether they consumed water during the 2-day survey period. Ingestion estimates for
“consumers only” are generated from only the respondents who reported ingestion of drinking water from a community water
system during the survey period. The authors report that this group is often the primary focus in analyses of risk due to ingestion
of water that may be contaminated. Consequently, this is the only group presented in Table 2.

In addition to identifying infants and developing children as sensitive life stages, as noted previously, the NAS identified the
fetuses of iodide deficient pregnant women as the most sensitive population (or life stage). To address concerns that the default
weight and ingestion rates provided in the October 2008 notice do not apply to this group, EPA has included an alternative HRL
for *41888 this life stage in Table 2. This value is calculated based on body weight and drinking water ingestion information
specifically from pregnant women (USEPA, 2004).

EPA notes that for six life stages in Table 2 (birth to < 1 month, 1 to < 3 months, 3 to < 6 months, 16 to 18 years and 18 to 21
years and for pregnant women), the sample size used to estimate some of the drinking water ingestion rates (denoted in Table 2
by foot note [FNc]) do not meet the minimum data requirements as described in the “Third Report on Nutrition Monitoring in
the United States” (LSRO, 1995). However, these are the best available data to characterize drinking water ingestion for these
specific life stages. EPA also notes that these data clearly show the trend that drinking water mean ingestion rate on a per body
weight basis increases as the life stage age decreases. To address this potential concern regarding sample size for some of these
drinking water ingestion rates, EPA also aggregated the three youngest recommended age groups into one category on Table
2 (birth to < 6 months) based on data from EPA (USEPA, 2004). To address women of childbearing age, EPA presents HRLs
calculated based upon drinking water ingestion data for women ages 15 to 44.

To estimate dietary exposure to perchlorate and to calculate RSCs, EPA used data available from two studies previously
described by EPA, the FDA's Total Diet Study (Murray et al., 2008) and the NHANES-UCMR Analysis (73 FR 60269-73,
October 10, 2008). In cases where these studies did not provide a dietary exposure estimate for one of the recommended child-
specific life stages/age groups, EPA applied the RSC calculated for the age group closest to the age group of interest. This
meant that the RSCs for the age groups between birth and 6 months, 59%, were based on the mean dietary exposure estimate
for infants ages 6 through 11 months, 0.29 μg/kg-day, derived from FDA's Total Diet Study. We understand that infant diets
vary significantly between birth and age 11 months and that the TDS mean dietary perchlorate exposure estimates for ages 6
through 11 months consider consumption of baby foods that are not consumed by younger infants (see http:// www.fda.gov/
Food/FoodSafety/FoodContaminantsAdulteration/ChemicalContaminants/Perchlorate/ ucm077615.htm). Researchers from the
CDC (Schier et al., 2009) recently published a study in which they estimated exposures to perchlorate from the consumption of
infant formula. For infants age 1 month, the researchers' central tendency estimate of perchlorate daily dose from consumption
of bovine milk-based infant formula with lactose (the type of formula with the highest concentrations of perchlorate) was also
0.29 μg/kg-day, corresponding to an RSC of 59%. Thus, EPA's RSC for young infants, 59%, is supported through two different
estimates of central tendency infant dietary perchlorate exposure.


                        Table 2—Alternative HRLs at the Average, 90th and 95th Percentile Drinking Water Ingestion Rates for Various Life Stages


        Life stage                  RfD             RSC a             Mean           Alt HRL              90th             Alt HRL                 95th   Alt HRL


                                (μg/kg-day)


                                                  (percent)




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                                                                   ingestion


                                                                    rate d


                                                              (mL/kg-day) b


                                                                                     (μg/L)


                                                                                                             Percentile


                                                                                                       ingestion rate d


                                                                                                           (mL/kg-day) b


                                                                                                                                 (μg/L)


                                                                                                                                                         Percentile


                                                                                                                                                   ingestion rate d


                                                                                                                                                       (mL/kg-day) b


                                                                                                                                                                             (μg/L)


Birth to < 1 month                   0.7             59                        137            3   c
                                                                                                      235                                 2   c
                                                                                                                                                  238                                 2


1 to < 3 months                      0.7             59                        119            3   c
                                                                                                      228                                 2   c
                                                                                                                                                  285                                 1


3 to < 6 months                      0.7             59                         80            5                            148            3   c
                                                                                                                                                  173                                 2


Birth to < 6 months                  0.7             59                         95            4                            184            2                            221            2


6 to < 12 months                     0.7             59                         53            8                            112            4                            129            3


1 to < 2 years                       0.7             44                         27        11                                56            6                            75             4


2 to < 3 years                       0.7             44                         26        12                                52            6                            62             5


3 to < 6 years                       0.7             60                         24        18                                49            9                            65             6


6 to < 11 years                      0.7             71                         17        29                                35        14                               45         11


11 to < 16 years                     0.7             84                         13        45                                26        23                               34         17


16 to < 18 years                     0.7             80                         12        47                                24        23      c
                                                                                                                                                  32                              18


18 to < 21 years                     0.7             80                         13        43                                29        19      c
                                                                                                                                                  35                              16



Pregnant Women e                     0.7    c
                                                62        c
                                                              14                          31      c
                                                                                                      33                              13      c
                                                                                                                                                  43                              10


Women Ages 15-44                     0.7             80                         15        37                                32        18                               39         14




*41889 4. Request for Comments



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EPA Seeks Comments on the Following Issues:
a. EPA requests comment on whether the alternative HRLs described in this notice appropriately take into account specific
and appropriate exposure values for all potentially sensitive life stages, including infants, children and the fetuses of pregnant
women (rather than the 70 kg body weight and 2 liter per day consumption used for past regulatory determinations).

b. EPA requests comment on the alternative HRLs in Table 2 and which of these values would be appropriate levels of health
concern against which to compare the levels of perchlorate found in public water systems.

c. EPA requests comment on whether EPA used the best available and most appropriate data to estimate alternative HRLs in
Table 2. EPA specifically requests comment on the drinking water ingestion rates in Table 2 (denoted by footnote [FNc]) where
the sample size does not meet the minimum data requirements as described in the “Third Report on Nutrition Monitoring in
the United States” (LSRO, 1995). Does aggregating life stages (birth to 6 months, and women ages 15-44) address sample size
limitation and still provide an accurate representation of the exposure to the most vulnerable life stages?

d. EPA requests comment on the merits of the approach described here of deriving HRLs for sensitive life stages based on
the RfD combined with the life stage specific exposure data and whether there are other approaches that may be useful for
deriving HRLs.


C. Occurrence Analysis

1. Occurrence Analysis in the October 2008 Federal Register Notice
In the October 2008 FR notice, EPA presented information on the drinking water occurrence of perchlorate. The data source
was EPA's UCMR 1 and the samples were collected between 2001 and 2005. A total of 34,331 samples were collected from
3,865 public water systems. EPA found that 1.9% of the samples (637 out of 34,331) had perchlorate at, or above, the minimum
reporting level (MRL = 4 μ g/L) and that 4.1% of the systems (160 out of 3,865 systems) reported perchlorate at, or above,
the MRL in at least one sample. The average perchlorate concentration among systems that detected perchlorate was 9.85 μg/
L and the median was 6.40 μg/L.

Table 3 presents EPA's estimates of the population served by water systems for which the highest reported perchlorate
concentration was greater than various threshold concentrations ranging from 4 μg/L (MRL) to 25 μg/L. The fourth column
presents a high end estimate of the population served drinking water above a threshold. This column presents the total population
served by those drinking water systems in which at least one sample was found to contain perchlorate above the threshold
concentration. EPA considers this a high-end estimate because it is based upon the assumption that the entire system population
is served water from the entry point that had the highest reported perchlorate concentration. In fact, many water systems have
multiple entry points into which treated water is pumped for distribution to their consumers. For the systems with multiple
entry points, it is unlikely that the entire service population receives water from the one entry point with the highest single
concentration. Therefore, EPA also is providing a less conservative estimate of the population served water above a threshold
in the fifth column in Table 3. EPA developed this estimate by assuming the population was equally distributed among all entry
points. For example, if a system with 10 entry points serving 200,000 people had a sample from a single entry point with a
concentration at or above a given threshold, EPA assumed that the entry point served one-tenth of the system population, and
added 20,000 people to the total when estimating the population in the last column of Table 3. This approach may provide either
an overestimate or an underestimate of the population served by the affected entry point. In contrast, in the example above, EPA
added the entire system population of 200,000 to the more conservative population served estimate in column 4, which is most
likely an overestimate. EPA noted that the population estimates in Table 3 are for people at all life stages and estimated that at
any one time, 1.4 percent of the population in Table 3 are pregnant women based upon data from the U.S. Census Bureau.


                       Table 3—UCMR 1 Occurrence and Population Estimates for Perchlorate Above Various Thresholds




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   Thresholds   a      PWSs with at least 1 detection        PWS entry or sample           Population served by                   Population
                           > threshold of interest           points with at least 1            PWSs with at least 1
                                                            detection > threshold of      detection > threshold of

                                                                              b
                                                                   interest

                                                                                                                 c
                                                                                                      interest


                                                                                                                               estimate for entry
                                                                                                                               or sample points


                                                                                                                               having at least 1


                                                                                                                                  detection >


                                                                                                                                 threshold of

                                                                                                                                              d
                                                                                                                                   interest


4 μg/L                4.01%                             2.48%                          16.6 M    e
                                                                                                     —D 5.1 M.


                      (155 of 3,865)                    (371 of 14,987)


5 μg/L                3.16%                             1.88%                          14.6 M                         4.0 M.


                      (122 of 3,865)                    (281 of 14,987)


7 μg/L                2.12%                             1.14%                          7.2 M                          2.2 M.


                      (82 of 3,865)                     (171 of 14,987)


10 μg/L               1.35%                             0.65%                          5.0 M                          1.5 M.


                      (52 of 3,865)                     (97 of 14,987)


12 μg/L               1.09%                             0.42%                          3.6 M                          1.2 M.


                      (42 of 3,865)                     (63 of 14,984)


15 μg/L               0.80%                             0.29%                          2.0 M                          0.9 M.


                      (31 of 3,865)                     (44 of 14,987)


17 μg/L               0.70%                             0.24%                          1.9 M                          0.8 M.


                      (27 of 3,865)                     (36 of 14,987)


20 μg/L               0.49%                             0.16%                          1.5 M                          0.7 M.


                      (19 of 3,865)                     (24 of 14,987)


25 μg/L               0.36%                             0.12%                          1.0 M                          0.4 M.


                      (14 of 3,865)                     (18 of 14,987)




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 *41890 The Agency also evaluated supplemental drinking water monitoring data for perchlorate in California and
Massachusetts. EPA believes these States' monitoring results are generally consistent with the results collected by EPA under
UCMR 1. Perchlorate occurrence analysis from California and Massachusetts can be found online at: http:// www2.cdph.ca.gov/
certlic/drinkingwater/Pages/Perchlorate.aspx and http:// www.mass.gov/dep/water/drinking/percinfo.htm# sites respectively.


2. What Were the Key Issues Raised by Commenters?
EPA received comments on the proposed decision not to regulate perchlorate based on the population exposed above the HRL.
Some comments objected to the Agency's proposed HRL as being “inappropriately high” thereby “greatly reducing the size
of the population predicted to be exposed at a level of public health concern * * * and significantly minimizing the need for
regulation of perchlorate from an occurrence standpoint.”

One commenter believes that, “Approximately 4% of public water supplies serving 17 million Americans would be in
exceedance of an HRL between 2 and 6 μ g/L. This is 15 million more at risk individuals than currently estimated by the Agency.”

Another commenter believes that at an HRL of 2 μg/L, 16.6 million would be exposed, and another commenter states that if
EPA set the HRL at 5 μg/L, then 5-7 times more individuals would be exposed above the HRL than at 15 μg/L.

However, one commenter points out that, “An MCL of 2 μg/L could impact approximately 4% of public water systems
nationally. At this level, regional impacts in California and Texas would be greater due to the higher geographical concentration
of detections in those states. Yet it should be noted that water systems in Massachusetts, New Jersey and California have already
established regulatory limits of 2 μg/L, 5 μg/L and 6 μg/L respectively, thereby capping the population exposure potential from
community drinking water sources in those States.”


3. Numbers of Systems and Populations That Would Be Exposed at Levels Exceeding the Alternative Approaches the
Agency Is Considering
EPA plans to use the UCMR 1 perchlorate data to conduct analyses to estimate the number of systems and populations served
by systems that would be exposed to the various alternative HRL concentrations of perchlorate. Estimates will be made of
the populations served by systems for which the highest reported perchlorate concentration exceeds the various threshold
concentrations ranging from 1 μg/L to 25 μg/L. One limitation to the UCMR 1 data is that the perchlorate analytical method
MRL is 4 μg/L; only perchlorate sample detections greater than or equal to 4 μg/L can be dependably quantified and reported.
Any perchlorate sample concentration with a value between 0 and 4 μg/L is recorded in the UCMR 1 data as a “non-detection.”
Therefore, to estimate perchlorate occurrence relative to concentrations both above and below the MRL of 4 μg/L, while fully
using all perchlorate detection and non-detection data, it is necessary to estimate occurrence using modeling techniques

EPA is considering using a Bayesian hierarchical model (a form of probabilistic model that uses maximum likelihood estimation
techniques) to estimate perchlorate occurrence and to estimate the uncertainty and variability of those occurrence estimates.
For this modeling effort, EPA could use the basic assumption that the national distribution of perchlorate sample concentrations
can be modeled as a lognormal distribution. The lognormal distribution is a fundamental probability distribution that is used
commonly and effectively to characterize environmental contaminant occurrence. The basic characteristic of a lognormal
distribution is that the logarithms of the values being evaluated (in this case, the perchlorate concentrations of UCMR 1 samples
of drinking water) are normally distributed. One property of the lognormal distribution that makes it particularly well-suited
to describing phenomena like environmental contaminant occurrence data is that it is bounded by zero on the low end and it
reflects a “right-skewed” distribution—that is, it has a tail in the upper end—that is consistent with having a small proportion
with relatively high values.

The Bayesian model could estimate the number of public water systems, and populations served by systems, with at least one
estimated sample detection greater than 1, 2, 3, 4, 5, 7, 10, 12, 15, 17, 20, and 25 μg/L. EPA notes that systems or entry/sample
points with at least one detect above the threshold may not expose the population to this level at all times. At any particular time,


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perchlorate levels may be lower or higher than the highest estimated sample detection. However, EPA believes this approach
more closely reflects the short term exposure during life stages of concern (i.e., fetuses, pre-term newborns, infants and young
children) than does the estimated mean concentration of perchlorate at a system. EPA underscores the fact that the estimated
total population exposed at thresholds that lie below the perchlorate MRL of 4 μg/L would be equal to, if not greater than, the
corresponding high end estimate of 16.8 million people. To estimate the portion of the total population that is at a childhood
life stage potentially exposed at these thresholds, EPA could use U.S. Census data as it did in the October 2008 FR notice to
estimate the number of pregnant women potentially exposed above the HRL and could also estimate the number of infants and
children potentially exposed above the HRL

Perchlorate monitoring data from the State of Massachusetts could be used to help characterize the distribution of very low
perchlorate concentration occurrence. Massachusetts monitoring uses a modified version of the EPA laboratory analytical
method for perchlorate that has a MRL of 1 μg/L. This is the only known, state-wide monitoring program that uses an analytical
method with an MRL lower than 4 μg/L. Bayesian hierarchical modeling can use the Massachusetts data to improve the model
estimates in the lower concentration ranges.


*41891 4. Request for Comment on Alternative Approaches

EPA Seeks Comments on the Following Issues:
a. EPA requests comment on the potential use of a Bayesian model to estimate the number of public water systems, and
populations served by such systems, with at least one estimated sample detection greater than 1, 2, 3, 4, 5, 7, 10, 12, 15, 17,
20, and 25 μg/L.

b. EPA requests comment on using U.S. Census data to estimate the portions of the population that are in the sensitive life
stage at any one time.

c. EPA requests comment on how the Agency should account for the variation of perchlorate levels over time in public water
systems. EPA believes that estimating the number of systems, entry points and populations with at least one detection above the
HRL is appropriate for the perchlorate regulatory determination because a single quarterly or semi-annual sample more closely
reflects the short term exposure during life stages of concern (i.e., fetuses, pre-term newborns, infants and young children).
However, EPA requests comment on whether the Agency should consider other approaches such as estimating the number of
systems, entry points and populations with two or more detections above HRL or some other approach.


IV. Consideration of Studies Published Since EPA Adopted the NAS RfD for Perchlorate
EPA's preliminary regulatory determination is based on NRC's (NRC, 2005) recommendation to use data from the Greer et al.
(2002) study as the basis for the perchlorate RfD/risk assessment.

Since the publication of the NRC report, researchers have investigated perchlorate occurrence in humans by analyzing for
perchlorate in urine and breast milk—such biomonitoring data has the potential to better inform EPA's analysis of exposure to
perchlorate through food and water and to provide insight into the possible interactions of other physiologic conditions (e.g.,
iodine deficiency) with perchlorate ingestion. EPA's preliminary regulatory determination described the consideration of these
studies, many of which were published after the NRC report (including, but not limited to, Blount et al. (2006 and 2007),
Steinmaus et al. (2007), and Amitai et al. (2007)) (73 FR 60267-68, October 10, 2008).

CDC researchers published two biomonitoring papers using CDC's 2001-2002 NHANES data—the first study measured
perchlorate in urine (Blount et al., 2006) and the second examined the relationship between urinary perchlorate and thyroid
hormone levels (Blount et al., 2007). In the urinary biomonitoring study, the authors found perchlorate in all samples tested
(2,820 survey participants ages six and older) and estimated a total daily perchlorate dose for adults (doses for children were
not calculated). The median dose was about one tenth (0.066 μg/kg/day) of the RfD, while the 95th percentile dose was



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about one third of the RfD (0.234 μg/kg/day). In the second study, which examined the relationship between urinary levels
of perchlorate and blood serum levels of thyroid hormones, Blount et al. (2007) found that for women with low iodine levels
(urinary iodide levels less than 100 μg/L) urinary perchlorate is associated with a decrease in (a negative predictor for) T4
levels and an increase in (a positive predictor for) thyroid stimulating hormone levels. The perchlorate exposures at which this
association was observed are lower than anticipated based on other studies. The study authors indicated that further research
needs to be performed to confirm these findings. The subsequent Steinmaus (2007) analysis of the same NHANES 2001-2002
epidemiological data concluded that thiocyanate in tobacco smoke and perchlorate interact in affecting the thyroid function in
low-iodine women. The Amitai et al. study assessed thyroid hormone (thyroxine) values in newborns in different perchlorate
exposure groups (low, high and very high) and found no significant differences.

In studies analyzing breast milk for perchlorate, Pearce et al. (2007) and Kirk et al. (2005, 2007) all found perchlorate in
study samples. The objective of the Pearce et al. (2007) study was “to determine whether breast milk iodine concentrations in
Boston-area women are adequate for infant nutrition, and whether breast milk iodine concentrations may be associated with
environmental perchlorate or cigarette smoke exposure.” Pearce et al. (2007) did not find a significant correlation with either
breast milk perchlorate or urinary perchlorate levels with breast milk iodine concentrations. The objective of the Kirk et al.
(2005) study was to determine the amount of perchlorate to which children are exposed by measuring perchlorate and iodide
levels in cow and human breast milk and then comparing these numbers to corresponding levels of perchlorate in drinking
water in the area. Kirk et al. (2005) did not find a correlation between the levels of perchlorate in breast milk and perchlorate
in drinking water, but speculated that there was a correlation between higher levels of perchlorate and lower levels of iodine in
breast milk. The objective of the Kirk et al. (2007) study was to determine the variability of perchlorate, thiocyanate, and iodide
in breast milk in serially collected samples (6 samples on each of the 3 study days) involving 10 women. The authors concluded
that “Iodine intake may be inadequate in a significant fraction of this study population. Perchlorate and thiocyanate appear to
be common in human milk. The role of these chemicals in reducing breast milk iodide is in need of further investigation.”

Blount et al. (2007) suggested breast milk as an excretion pathway and Dasgupta et al. (2008) compared a woman's daily intake
of iodine and perchlorate with the concentrations of each in her breast milk. The Dasgupta et al. study found that a higher
proportion of perchlorate enters the breast milk compared with a small proportion of iodine.

Of those commenters that provided detailed comments to the October 2008 FR notice, many commenters believe that EPA's
RfD is not adequately protective of human health. One commenter stated that “[T]he EPA reference dose for perchlorate is
based on data from Greer et al. (2002) that observed the inhibition of radioiodide uptake. Ginsberg and Rice (2005) identified
several problems with the Greer et al. study that suggest the need for reevaluation of the value that serves as the foundation
for regulatory decision-making,” and that, “* * * the results of the Blount study more closely reflect our understanding of the
biological and toxicological processes pertaining to thyroid homeostasis, both in terms of thyroid hormone variability and the
role of iodine.” The commenter “[S]trongly recommends that the CDC data analyzed in the study of Blount et al. (2006) and
Blount et al. (2007) be used as the basis for the derivation of a new reference dose.”

Other commenters agree, stating that the use of the Greer et al. (2002) study “* * * is based on a limited clinical study of
short duration and small sample size not representative of the variability in the human population,” and the “[U]se of these
limited data to calculate a regulatory trigger level has been widely criticized as inadequate * * * and no longer reflects the
best available data.”

Another commenter believes that “[A]dditional important data on pregnant women and their offspring *41892 have become
available since the time of development of the EPA RfD in 2005 which would necessitate a reconsideration of the existing value
* * * in addition EPA has discussed other data relevant to deriving an updated RfD in this Federal Register notice including
Amitai et al., 2007, Blount et al., 2006, and studies discussing PBPK models.”

One commenter concludes by stating, “* * * [T]hat EPA has based its argument for not regulating perchlorate contamination
in public water systems on a literature that is both limited and ill focused. We believe that EPA has not performed a sufficiently



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‘thorough review’ of the literature, that it has omitted important information, and that it has failed to perform its due diligence
in the interpretation and analysis of the information that it did present. To correct this, EPA must employ the CDC study (Blount
et al., 2006a) as the point of departure for RfD determination, and must focus on the neonate and infant as the most sensitive
population.”

One commenter does not believe that additional analysis is warranted and that EPA should issue a final determination as soon
as possible, stating that “EPA has an extraordinary wealth of comprehensive, authoritative scientific information relating to
perchlorate's health effects, supplemented by extensive occurrence and exposure data. The Agency is therefore exceptionally
well-positioned to issue a well-considered regulatory determination.” The commenter continues by stating,

* * * EPA has ample scientific and technical data to make a final determination on or before the planned date of December 2008
* * *. [P]erchlorate is one of the most well[hyphen]studied chemicals with detailed information on the mechanism of action,
dose[hyphen]response, and health effects. This issue also is not new. EPA released its first draft risk assessment on perchlorate
in 1998, followed by a second in 2002. The 2005 NAS report was a comprehensive review of the science. The animal and
human studies that have been published since the NAS report reduce the uncertainty and reinforce the NAS panel's finding that
there will not be any adverse health effects from perchlorate at environmentally[hyphen]relevant concentrations.

New studies published since the NAS report increase the weight of evidence that the current RfD protects human health including
the most sensitive members of our population. In addition, testimony by Congressional members and witnesses alike have
discussed the lengthy amount of time that EPA has spent studying the health effects, urging the agency to issue a determination
as soon as practicable. We join them in urging EPA to issue the final determination promptly.

An additional key scientific issue was raised by EPA's OIG in the report released for public comment “OIG Scientific Analysis
of Perchlorate (External Review Draft)” (EPA, 2008g). The report states,

The OIG Analysis concludes that a single chemical risk assessment of perchlorate is not sufficient to assess and characterize
the combined human health risk from all four NIS stressors, (i.e., thiocyanate, nitrate, perchlorate and lack of iodide) and that
* * * Only a cumulative risk assessment can fully characterize the nature and sources of risk affecting this public health issue.
Furthermore, a cumulative risk assessment allows an informed environmental decision to be made on how to mitigate the risk
effectively.


The report goes on to say,
Potentially lowering the perchlorate drinking water limit from 24.5 ppb to 6 ppb does not provide a meaningful opportunity
to lower the public's risk. By contrast, addressing moderate and mild iodide deficiency occurring in about 29% of the U.S.
pregnant and nursing population appears to be the most effective approach of increasing TIU [total iodide uptake] to healthy
levels during pregnancy and nursing, thereby reducing the frequency and severity of permanent mental deficits in children.

The draft report, and comments submitted by EPA's Office of Water and Office of Research and Development, can be found
in the Docket to this notice.

EPA agrees that additional important data have become available since the RfD was derived in 2005. However, EPA has
evaluated the new data and has decided to make the regulatory determination based upon the current RfD. EPA will continue
to evaluate any new perchlorate data to determine its relevance to the regulatory determination in accordance with the SDWA.


V. Next Steps
The Agency will consider the information and comments submitted in response to this supplemental notice, as well as comments
received on the October 10, 2008, FR notice, and all peer review comments before issuing a final regulatory determination for




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perchlorate and intends to do so as expeditiously as possible. EPA believes that the alternative analyses presented in this notice
could lead the Agency to make a determination to regulate perchlorate.


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Dated: August 5, 2009.

Peter S. Silva,

Assistant Administrator, Office of Water.



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                                                           Footnotes


1      On November 12, 2008, EPA extended the comment period for 15 days regarding EPA's preliminary regulatory
       determination for perchlorate.

2      The requirement for national drinking water regulations are in SDWA Section 1412. EPA's Web page describes
       the regulatory development process (see http://www.epa.gov/safewater/standard/setting.html). SDWA section 1412.e
       requires that EPA request comment from the Science Advisory Board prior to proposal of a maximum contaminant level
       goal and national primary drinking water regulation.

       a The body weight (70 kg) for the average adult is the default weight used by EPA for past regulatory determinations.
       All other body weights are generated by the model.

       b Maternal body weight was held at the value defined at the start of pregnancy (BW = 67.77 kg), and the “average adult”
       urinary clearance values as published by Merrill et al. (2005) were used.

       c Results are based on using the maternal urinary clearance as published in Clewell et al. (2007), which equal about
       half of the average adult clearance.

       d Results are based on setting the maternal clearance rates of both perchlorate and iodide during lactation equal to that of
       the average adult. Clewell et al. (2007) used an iodide clearance rate equal to that of an average adult, but a perchlorate
       rate only half that of the average adult.

AIU e
inhibition
given
for the
infant
is
provided
based
upon a
value
of
urinary
clearance
scaled
from
the
adult
by BW
2/3 to
approximate
surface-
area
scaling,
and
then
multiplied



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by a
rising
fraction
vs. age
based
on data
(DeWoskin
and
Thompson,
2008)
to
reflect
the
reduction
in
glomerular
filtration
rates.
Clewell
et al.
(2007)
scaled
urinary
clearance
by BW
0.75,
rather
than
adjusting
based
on
GFR
AIU f These
inhibition
values
are
based
on an
internal
dose
to the
breast-
fed
infant
of 7
μg/kg-
day,
the
same
as for
the
other
subgroups.
Maternal
dose
rates
lower
than


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the
POD
are
needed
to
provide
7 μg/
kg-day
to the
infant
as
shown
in the
table.
These
doses
differ
due to
changes
in
body
weights
and
other
PK
factors
with
age
        g Because EPA typically uses a 10 kg child as a default assumption for its drinking water health advisories, the model
        was run for a child at 0.97 yr, the age at which the model-simulated body weight for a child is 10 kg.

       h Results were obtained by setting urinary clearance constants for the older child equal to the average adult (Merrill
       et al., 2005) and scaling by BW 1.

       i The dose equal to the POD is 7 μg/kg-day which is 10-fold greater than the RfD. The predicted RAIU inhibition at
       the RfD would be less than those shown in Table 1.

       a RSC calculated for nearest age range based on the mean dietary intake from TDS (see Table 5 at 73 FR 60275, October
       10, 2008), RSC for pregnant women and women ages 15-44 based on the 90th percentile dietary intake from NHANES-
       UCMR analysis (see Table 6 at 73 FR 60276, October 10, 2008).

       b Drinking Water Ingestion Rates for consumers only in Community Water Systems taken from EPA's “Child-Specific
       Exposure Factors Handbook” (USEPA, 2008e). Except for values for infants from birth to 6 months, which are taken
       from Tables 5.2.A2 of EPA's “Estimated Per Capita Water Ingestion and Body Weight in the United States—An
       Update” (USEPA, 2004), and for Pregnant Women and Women Ages 15-44 which are taken from Table 6.2.A2 of EPA's
       “Estimated Per Capita Water Ingestion and Body Weight in the United States—An Update” (USEPA, 2004).

       c The sample sizes for the estimates of ingestion rates for these life stages do not meet the minimum data requirements
       as described in the “Third Report on Nutrition Monitoring in the United States” (LSRO, 1995).

       d Ingestion rate is adjusted for the self-reported body weights from the CFSII.

       e The most sensitive population identified by the NRC are the fetuses of pregnant women who might have
       hypothyroidism or iodide deficiency.

Footnotes:


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      a All occurrence measures in this table were conducted on a basis reflecting values greater than the listed thresholds.

       *41890 b The entry/sample-point-level population served estimate is based on the system entry/sample points that had
      at least 1 analytical detection for perchlorate greater than the threshold of interest. The UCMR 1 small system survey
      was designed to be representative of the nation's small systems, not necessarily to be representative of small system
      entry points.

      c The system-level population served estimate is based on the systems that had at least 1 analytical detection for
      perchlorate greater than the threshold of interest.

      d Because the population served by each entry/sample point is not known, EPA assumed that the total population
      served by a particular system is equally distributed across all entry/sample points. To derive the entry/sample point-
      level population estimate, EPA summed the population values for the entry/sample points that had at least 1 analytical
      detection greater than the threshold of interest.

      e This value does not include the population associated with 5 systems serving 200,000 people that measured perchlorate
      at 4 μg/L in at least one sample because the table only shows population estimates greater than each of the thresholds
      in the first column.


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            Ist Session                     SENATE                          104-169




            SAFE DRINKING WATER AMENDMENTS ACT
                           OF 1995



                                        REPORT
                                             OF THE

                            COMMITTEE ON
                   ENVIRONMENT AND PUBLIC WORKS
                        UNITED STATES SENATE
                                               ON


                                           S. 1316




                   [Including cost estimate of the Congressional Budget Office]




                           November 7, 1995.-Ordered to be printed



                               U.S. GOVERNMENT PRINTING OFFICE
          29-010                       WASHINGTON ! 1995




                                                                          ADD 0060
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           SAFE DRINKING WATER -AMENDMENTS ACT OF 1995



                        .NOVEMBER 7, 1995.-Ordered to be printed



           Mr. CHAFEE, from the Committee on Environment and Public
                         Works, submitted the'following


                                    REPORT
                                 [To accompany S. 1316]
            The Committee on Environment and Public Works, to which
        was referred the bill (S. 1316) to reauthorize -and amend title XIV
        of the Public Health Service Act (commonly known as the "Safe
        Drinking Water Act"), and for other purposes, having considered
        the same, reports favorably thereon with amendments and rec-
        ommends that the bill do pass.
                                GENERAL STATEMENT
        Objectives of the Legislation
             The outbreak of Cryptosporidiosisin Milwaukee in the Spring
        of 1993 focused the Nation's attention on the Safe Drinking Water
        Act and dramatically highlighted the fundamental problem with
        the Act as it is currently written and- implemented. Although the
        Environmental Protection Agency- (EPA) developed a research plan
        to improve our understanding of Cryptosporidium over a decade
        ago, the research has not been completed and Cryptosporidium re-
        mains unregulated today. The problem is that the Safe Drinking
        Water Act unintentionally discourages EPA from concentrating its
        resources on regulating contaminants that pose the highest health
        risks. Instead, the Safe Drinking Water Act requires EPA to regu-
        late a long list of contaminants, regardless of the seriousness of the
        threat they pose to public health and regardless the frequency with
        which they occur in drinking water.
             The bill addresses the legitimate concerns that have been
        raised regarding current law and provides important mid-course
           29-010




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         Small Systems
              Many small public water systems have difficulty complying
         with Federal drinking water regulations, in some cases due to a
         lack of technical expertise and financial resources for treatment
         and monitoring.
              As with most public utilities, there are significant economies of
         scale in drinking water supply. EPA and the Congressional Budget
         Office have published estimates indicating that systems serving
         more than 10,000 people experience costs that average less than
         $20 per household per year to comply with the current require-
         ments of the Safe Drinking Water Act. By way of comparison, the
         average annual incremental household cost to comply with the re-
         quirements of the Safe Drinking Water Act for systems serving 25
         to 100 persons is $145. Costs for some systems may be much high-
         er than these national averages.
              In addition to the loans and grants available through the new
         SRF program discussed above, S. 1316 will reduce the burdens
         faced by small systems in several ways:
              " States are authorized to grant variances to small systems
                that cannot afford to comply with national primary drinking
                water regulations;
              " States are to adopt capacity development strategies to assist
                small systems in attaining the technical, financial and mana-
                gerial capacity that will make it possible to comply with the
                Act;
              " a portion of the SRF funds may be set aside for technical as-
                sistance to small systems and the cost of training operators
                may be included in the SRF grant or loan;
              * States may reduce monitoring requirements for many con-
                taminants by 75 percent for small systems that do not detect
                a contaminant in the first test of a quarterly series; and
              " the standard for radon (that will affect mostly small systems
                served by ground water sources) is set at 3000 pCi/L rather
                than 300 pCi/L as proposed by EPA in 1991.
          Selection of Contaminantsfor Regulation
               Because EPA had failed to take action to set national stand-
          ards for contaminants that were of public health concern, the 1986
          Amendments listed 83 specific contaminants and required EPA to
          set standards for these substances by 1989. That legislation also di-
          rected EPA to set standards for an additional 25 contaminants
          every 3 years beginning in 1991.
               This single provision of the Safe Drinking Water Act has pro-
          voked more critical comment than virtually any other element of
          environmental law. Some of the 83 contaminants for which stand-
          ards are required occur so infrequently in public water systems
          that the costs of monitoring (for a substance not present) far out-
          weigh any health benefit that could be realized at the few systems
          that may detect the contaminant. In other cases, the available
          science is so uncertain that standards incorporate extravagant
          margins of safety (30,000-fold for one contaminant) making it im-




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       possible to assert that expenditures to implement the regulation
       are a public health necessity. Finally, the mandate that EPA set
       standards for an additional 25 contaminants every 3 years regard-
       less of the threat posed by these contaminants in drinking water
       is for many the quintessential example of an arbitrary Federal law
       imposing burdens on consumers and the taxpayers of other govern-
       ments with no rational relationship to the public benefits that
       might be realized.
            Governor George Voinovich of Ohio clearly stated this view at
       the Committee's hearing on October 19, 1995:
                  'The Safe Drinking Water Act is a perfect example of an
            arbitrary environmental statute in dire need of reform. After
            all, the very essence of the bill is a requirement that EPA pro-
            mulgate 25 new contaminants every 3 years that communities
            must test for, regardless of whether or not they actually occur
            in the region's drinking water.
                  "At this untenable pace local communities could have to
            monitor as many as 161 contaminants by 2001. Instead of
            prioritizing health risks and providing the means to address
            them, the current law is a one-size-fits-all program. It forces
            our water quality experts to spend scarce resources searching
            for dangers that often do not exist rather than identifying and
            removing real health risks from our drinking water."
            S. 1316 repeals the requirement that EPA regulate an addi-
       tional 25 contaminants every 3 years replacing it with a new selec-
       tion process that gives EPA the discretion to identify contaminants
       that warrant regulation in the future. The selection process has
       several elements including:
            " every 5 years EPA is to publish a list of high priority con-
              taminants that should receive additional study;
            " EPA may require monitoring at public water systems for up
              to 20 unregulated contaminants to gather information on the
              occurrence of contaminants in public water systems;
            " EPA is to maintain a national occurrence database including
              information on regulated and unregulated contaminants;
            " decisions made by EPA under the Act are to be guided by
              new principles for sound science;
            " EPA is to set aside $10 million from the annual appropria-
              tion for SRF grants to conduct health effects research on con-
              taminants that are candidates for regulation; and
            " every 5 years EPA is to make regulatory decisions for at
              least 5 contaminants announcing whether they warrant reg-
              ulation or not.
       Standard Setting
            Under current law, EPA establishes drinking water standards
       through a two-step process. First, the Administrator identifies the
       maximum contaminant level goal (MCLG) reflecting a concentra-
       tion of the contaminant in drinking water at which no adverse ef-
       fects to the health of persons will occur. Second, the Administrator




                                                                ADD 0064
